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        EXHIBIT A
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                                  Defendants

  Aaliyah Greenwood          Abdula Randle              Adam Hanna
  Aaliyah Petty              Abdullah Thalji            Adam Holzer
  Aaliyah Sampson            Abdullahi Hagi             Adam Jaramillo
  Aaro Lautamo               Abdulrahman Ulel           Adam Martinez
  Aaron Brown                Abel Hernandez             Adam Means
  Aaron Bugge                Abel Leonard               Adam Padilla
  Aaron Cain                 Abel Tovar                 Adam Sartain
  Aaron Caldwell             Abhimanyu Jain             Adam Shanta
  Aaron Carolina             Abiezer Chavez             Adan Martinez
  Aaron Castro               Abigail Avendano           Adan Mendoza
  Aaron Cordell              Angeles                    Ade Giwa
  Aaron Dade                 Abigail Becerra            Adele Favro
  Aaron Ellis                Abigail Gomez              Adelia Fonseca
  Aaron Fink                 Abigail Jimenez            Adeus Berry
  Aaron Fleming Jr           Abigail Membreno           Adeyosola
  Aaron Gaston               Abigali Cabrera            Ogunmowo
  Aaron Gibson               Abisai Mendez              Adilene Ocampo
  Aaron Gomez                Abraham Giron              Adolfo Garcia
  Aaron Jones                Abrar Malik                Adonis Bryant
  Aaron Marshall             Absel Garcia               Adonis L. France Ii
  Aaron Moore                Abshir Farah               Adrean Togia
  Aaron Ouch                 Acop Kalayjian             Adria Navarro
  Aaron Pedrotti             Adalberto Delatorre        Adrian Arias
  Aaron Perez                Adalberto Gonzalez         Adrian Avila
  Aaron Rozell               Adalhi Velasco             Adrian Bernal
  Aaron Salas                Adam Alvord                Adrian Buruca
  Aaron Williams             Adam Cazarez               Adrian Caling
  Aaronique Norwood          Adam Cobos                 Adrian Gutierrez
  Abby Harkins               Adam Cunningham            Adrian Huerta
  Abdelwahab Bechiri         Adam Curtis                Adrian Lopez-Diaz
  Abderrahman Halli          Adam Dinaully              Adrian Ochoa
  Abdul Hashi                Adam Edwards               Adrian Rangel
  Abdul Khan                 Adam Eyster                Adrian Rodriguez
  Abdul Muhammad             Adam Hall                  Adrian Smith
  Abdul-Gafar Bello          Adam Hamilton              Adrian Torres
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  Adrian Valdivia            Ahmad Price                Alan Arceo
  Adrian Virgilio            Ahmad Zubair               Alan Hamm
  Adrian Wooldridge          Hussaini                   Alan Hong
  Adriana Contreras          Ahmand Richardson          Alan Passman
  Adriana Garcia             Ahmed Almoraissi           Alan Robison
  Adriana Lofton             Ahmed Elmehey              Alan Scrivener
  Adriana Motiei             Aida Martirosian           Alan Thomas Iii
  Adriana Osorno             Aida Mathias               Alan Tsai
  Adriana Reza               Aida Murgia                Alan Wiggins
  Adriana Scott              Aidan Marmion              Alana Criddell
  Adriana Tejada-            Aileen Torres              Alana Flores
  Sanchez                    Aimee Baeza                Alana Townsend
  Adrianna Flores            Aimee Rosales              Alana Waters
  Adrianna                   Aireona Henderson          Alana Wilson
  Henderson                  Aisha Garrison             Alantae
  Adrianna Hunt              Aisha Holden               Hemmingway
  Adrianna Johnson           Aisha Mcbride              Alasha Campbell
  Adrianna Melton            Aisha Wilson               Alaundra Charles
  Adrianna Silva             Aixa Clemente              Alayna Myers
  Adrien Zepeda              Aja Jordan                 Alaysha Sessoms
  Adrienne Shepard           Ajanay Crawford            Alaze Massingale
  Adriyana Edwards           Ajania Zawadi              Albert Aguilar
  Afari Moore                Ajay Gupta                 Albert Arauz
  Afsheen Olyaie             Ajon Brodie                Albert Gaytan
  Aginae Clyburn             Akeia Robinson             Albert Hearvey
  Agustin Pargas             Akiala Jefferson           Albert Jimenez
  Agyei Holland              Akilah Patterson           Albert Luna
  Ahanna                     Akisha Fontenot            Albert Morrell
  Oparaenyeazu               Akosua Sapara-             Albert Mou
  Ahcheri Ramsay             Grant                      Albert Peraza
  Ahlam Jubran               Akseniya                   Albert Rivera
  Ahlan Martinez             Keremidchieva              Albert Roberts
  Ahmad Hassan               Al Jomar Sarmiento         Albert Stirl
  Ahmad Moodie               Alaa Maroun                Albert Vorontsov
  Ahmad Nawshad              Alabaje Francis            Alberto Garcia

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  Alberto Luca               Alejandro Ramos            Alex Stewart
  Alberto Reynoso            Alejandro Sigala           Alex West
  Alberto Ruiz               Alejandro Torres           Alexa Duarte
  Alberto Valencia           Aleksandr Bekker           Alexa Noya
  Alcides Gonzalez           Aleksandr Seyranov         Alexandar Hull-
  Aldonia Wylie              Alen Davood                Richter
  Aldwyne                    Eshagh Mavaneh             Alexander Alger
  Camangian                  Alena Easter               Alexander Bass
  Alec Kratzer               Alena Mendoza              Alexander Bonilla
  Alec Ortega                Alese Bailey               Alexander Diaz
  Alec Weinstock             Alessandra Kaiser          Alexander Duarte
  Alecia Butler              Alessandra Reza            Alexander
  Alegra Hewitt              Alessandria Perez          Galicinao
  Aleiya Martin              Alesya Shaw                Alexander Kennard
  Alejandra Alberto          Aletha Jones               Alexander Landeros
  Alejandra Arriaga          Alethea Robinson           Alexander Paz
  Alejandra Cheshire         Alex Acevez                Alexander Pinto
  Alejandra Gomez            Alex Acosta                Lopez
  Alejandra Paz              Alex Bailon                Alexander
  Alejandra Torres           Alex Chaidez               Prokhorov
  Alejandra Vasquez          Alex Dominguez             Alexander Rauens
  Alejandro Castillo         Alex Frankreich            Alexander
  Alejandro Cervantes        Alex Fraser                Richardson
  Alejandro Del Rio          Alex Gales                 Alexander Sherman
  Tale                       Alex Garduno               Alexander Sosa
  Alejandro Garcia           Alex Johnson               Alexander Zendejas
  Alejandro Gonzalez         Alex Lee                   Alexandra Arellano
  Alejandro                  Alex Lomeli                Alexandra Bassett
  Henriquez                  Alex Malagon               Alexandra Guertler
  Alejandro Melendez         Alex Mangyan               Alexandra Lindsay
  Jr                         Alex Panzera               Alexandra Lopez
  Alejandro Meza             Alex Rosas                 Alexandra Martinez
  Alejandro Montes           Alex Ross                  Alexandra Stafford
  Alejandro Pineda           Alex Rush-Woods            Alexandre
  Alejandro Quintero         Alex Salem                 Abecassis

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  Alexandria Amour           Alexis Ortiz               Alia Young
  Alexandria Harm            Santana                    Aliaksandr
  Alexandria Martin-         Alexis Ortiz               Arapinovich
  Drazkowski                 Alexis Paul                Alice Cole
  Alexandria                 Alexis Peterson            Alice Gil
  Morrison                   Alexis Sandoval            Alice Hernandez
  Alexandria Papin           Alexis Shelton             Alice Jamison-
  Alexandro                  Alexis Torres              Stuart
  Dominguez                  Alexsia Brown              Alicia Aranda
  Alexandro Morales          Alexus Hardy               Alicia Bodway
  Alexi Vinnik               Alexx Ivie                 Alicia Byas
  Alexia George              Alexys Watson              Alicia Hernandez
  Alexia Putman              Aleyah Glasper             Alicia Linares
  Alexia Quintanilla         Alfa Castanon              Alicia Martinez
  Alexia Reyes               Alfonso Felix              Alicia Mendez
  Alexios Markakis           Alfonso Maravilla          Alicia Morales
  Alexis Arreola             Alfonso Rojas              Alicia Parker
  Alexis Bell                Alfonzo Farfan             Alicia Starr
  Alexis Berry               Alfred Atkins              Alicia Twyman
  Alexis Blacksher           Alfred Bob                 Alicia Vigil
  Alexis Bracamontes         Alfred Garza               Alicia Wei
  Alexis Calderon            Alfred Jaimes              Alina Bacha
  Alexis Crosby              Alfred Maiz                Alina Flores
  Alexis Del Rico            Alfred Martin              Alina Jemerson
  Alexis Domenzain           Alfred Pendleton           Alireza Sanayei
  Alexis Ford                Alfredo Guzman             Alisa Jones
  Alexis Garcia              Alfredo Lopez              Alisha Ayala
  Alexis Jones               Alfredo Marcel             Alisha Cheeseboro
  Alexis Jordan              Alfredo Salazar            Alisha Fountain
  Alexis Lee                 Alfredo Sesma              Alisha Moore
  Alexis Mclaurin            Alfredo Walters            Alisha Thomas
  Alexis Morraz              Alfrey Atoe                Alison Hernandez
  Alexis Mott                Ali Cesur                  Alison Thalhammer
  Alexis Newberry            Ali Esmaeilshirazi         Alison Thomas
                             Ali Ruban                  Alissa Meagher

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  Aliya Noelle               Alondra Gomez              Alyssa Lee
  Aliyah Riddick             Romero                     Alyssa Leischer
  Alize Jackson              Alondra Rosales            Alyssa Mendoza
  Alize Powell               Alonso Franco              Alyssa Montoya
  Alla Zhik                  Alontrill Pickett          Smith
  Allan Dodge                Alonzo Anchondo            Alyssa Rose
  Allan Godoy                Alonzo Gibson              Alyssa Shugarts
  Allan Goodman              Alphonso Moore             Alyssa Urquiza
  Allan Hernandez            Alquon Long                Alyssa Venturelli
  Allan Whiting              Altangerel Sukhdorj        Alyssa Verjan
  Allasandria Pillado        Alton Luke                 Amadea Botel
  Alleigh Dunbar             Altraneisha Lee            Amand Ferrell
  Allen Chao                 Alvaro Garcia              Amanda Aguilar
  Allen Crosby               Alvaro Prada               Amanda Barone
  Allen Randle               Alvern Lopez               Amanda Broussard
  Allen Williams             Alves Cardoso              Amanda Bruckner
  Allie Messineo             Alvin Alarcon              Amanda Carrillo
  Allison Bazemore           Alvin Corpuz               Amanda Chapman
  Allison Brooks             Alvin Guzman               Amanda Condon
  Allison Pearce             Alvin Howard               Amanda Dunn
  Allison Posey              Alycia Evens               Amanda Eastabrook
  Allison Risner             Alysa Nelson               Amanda Easterling
  Allison Torrance           Alysabeth Martin           Amanda Estrada
  Allison Tudor              Alyse Bowie                Amanda Evans
  Allison Wyant              Alysha Darby               Amanda
  Allura Stewart             Alysha Stockton            Greenwood
  Allyson Aranda             Alyssa Alcala              Amanda Khouninn
  Alma Arce                  Alyssa Braden              Amanda Lewis
  Alma Guzman                Alyssa Castorena           Amanda Lopez
  Alma Juarez                Alyssa Elguea              Amanda Martinez
  Alma Mendoza               Alyssa Espinosa            Amanda Mcdonald
  Almar Pascua               Alyssa Fries               Amanda Narcisse
  Almeda Stewart             Alyssa Garza               Amanda Peek
  Almjermyn Mccray           Alyssa Guadarrama          Amanda Penalva
  Aloha Biacan               Alyssa Harrison            Amanda Ponce

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  Amanda Stephens            Ameenha                    Ana Cuellar
  Amanda Turner              Washington                 Ana Garcia
  Amanda Viola               Ameer Al Humairi           Ana Guardado
  Amanda White               Ameerah Hasan              Ana Montes
  Amanda                     Amefil Nicolas             Ana Ortiz
  Wojciechowski              Amelia Gomez               Ana Paula Jimenez
  Amanda Womack              America Medina             Ana Portillo
  Amandeep Singh             Amie Foy                   Ana Reyes
  Amani Lyles                Amie Parkhill-             Anabel Ulloa
  Amari Sweet                Stofer                     Anabelen Avalos
  Amarina Pina               Amin Lewis                 Anada Grayes
  Amauri Thomas              Amin Mohandesi             Anais Barajas
  Amayrani Landeros          Amir Barazandeh            Analicia Gonzalez
  Rivera                     Amir Rezazade              Anamaria Keels
  Amber Allen                Amir Shinwari              Anarosa Vazquez
  Amber Borja                Amirali Dahi               Anastasia Yakovlev
  Amber Brewer               Amire Saturne              Anastaysia Galaviz
  Amber Brown                Amisadai Higuera           Anayeli Lopez
  Amber Carmichael           Amitoj Randhawa            Anderson Pulliam
  Amber Dantonio-            Ammie Robinson             Andrae Perry
  Rios                       Amonieka Stewart           Andre Carter
  Amber Diaz                 Amont Rivers               Andre Edwards
  Amber Douglas              Amor Baeza                 Andre Gift
  Amber Hattley              Amrit Batth                Andre Greene
  Knox                       Amritpal Badwal            Andre Jones
  Amber Houser               Amy Adams                  Andre Kelly
  Amber Lacount              Amy Aleman                 Andre Martinez
  Amber Ledet                Amy Bolton                 Andre Powell
  Amber Maxie                Amy Dunn                   Andre Roman
  Amber Raclin               Amy Gulasarian             Andre Weeks
  Amber Roberts              Amy Haeussler              Andre Wright
  Amber Townsend             Amy Krapiva                Andrea Baker
  Amber Trovatore            Amy Ramos                  Andrea Bennett
  Amber White                Amy Suarez                 Andrea Diaz
  Amber Wilson               Ana Bojorquez              Andrea Dingman

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  Andrea Ends                Andrew Avila               Andrew Phung
  Andrea                     Andrew Ayon                Andrew Pierce
  Hollingsworth              Andrew Barker              Andrew Raney
  Andrea Jones               Andrew Branham             Andrew Reveles
  Andrea Jump                Andrew Bulman              Andrew Ridley
  Andrea Laguna              Andrew Candler             Andrew Ropp
  Andrea Mack                Andrew Cash                Andrew Rosas
  Andrea Magallanes          Andrew Catalan             Andrew Selbie
  Andrea Mahe                Andrew Celaya              Andrew Shaw
  Andrea Morrill             Andrew Chandler            Andrew Simon
  Andrea Rembert             Andrew Chen                Andrew Telles
  Andrea Reyes               Andrew                     Andrew Torres
  Andrea Rocha               Cobarrubias                Andrew Videau
  Andrea Sage                Andrew Cormier             Andrew Wenker
  Andrea Sitarski            Andrew Devera              Andrew Zubia
  Andrea Thompson            Andrew Dongell             Andrey Maruha
  Andrea Ulrich              Andrew Driscoll            Andreyna
  Andrea Vargas              Andrew Finley              Baldenegro
  Andrea Widjaja             Andrew Flores              Andria Bryant
  Andrea Ximena              Andrew Folks               Andrinesha Dickson
  Córdoba                    Andrew Gulmatico           Andruw Aguilar
  Andrea Yamaguchi           Andrew Ham                 Andry Gunawan
  Andreea Rosales            Andrew Hernandez           Andy Carmona
  Andreenna Duarte           Andrew Hinkle              Andy Fabel
  Andres Alatorre            Andrew Huitink             Andy Jones
  Andres Alfaro              Andrew Lerma               Andy Spring
  Andres Dominguez           Andrew Lide                Andy Vasquez
  Andres Magana              Andrew Magallanes          Aneesha Shabazz
  Andres Martinez            Andrew Mckay               Aneisa Ramey
  Andres Nunez               Andrew Mena                Anessa Esparza
  Andres Perez               Andrew O’Donnell           Anessa Rankins
  Andres Ramirez             Andrew Patron              Anette Burch
  Andres Winokur             Andrew Pawluk              Anfernee Williams
  Andrew Adams               Andrew Peters              Angat Pannu
  Andrew Avalos              Andrew Petrella            Angel Atwood

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  Angel Geronimo             Angela Phillips            Angelina Hitchcock
  Angel Gonzalez             Angela Pinner              Angelina Leyva
  Angel Jimenez              Angela Pleasants           Angelina Richmond
  Angel Jones                Angela Quintero            Angelina Stabolito
  Angel Kleiner              Angela Rodriguez           Angelina Vasquez
  Angel Lopez                Angela Sembrano            Angeline Amparo
  Angel Luna                 Angela Singleton           Angeline Nam
  Angel Marmolejo            Angela Sutton              Angelique
  Angel Montano              Angela Tello               Bongiovanni
  Angel New                  Angela Thompson            Angelique Prevost
  Angel Nieves               Angela Wightman            Angelita Gibson
  Angel Novelo               Angela Willingham          Angelito Fiel
  Angel Rivera-              Angela Winston             Angellica Hilton
  Herrera                    Angeli Grace               Angelo Alvarez
  Angel Roberts              Cervania                   Angelo Hernandez
  Angel Shaver               Angelica Carter            Angelo Minner
  Angel Soto                 Angelica Flores            Angelya Pomar
  Angel Vasquez              Angelica                   Angie Higuera
  Angel Velasco              Magallanes                 Angilique Rowe
  Angela Aloisio             Angelica Motley            Angus West
  Angela Arias               Angelica Robinson          Anibal Rubio
  Angela Bonner              Miller                     Anila Nisar
  Angela Bribiesca           Angelica Rodriguez         Anisha Gandhi
  Angela Cornejo             Angelica Torres            Anissa Eve
  Angela Cotton              Angelica Valencia          Anita Miller
  Angela Davidson            Angelica Vasquez           Anita Newman
  Angela Duncan              Angelica Venable           Anita Whittington
  Angela Garcia              Angelica Williams          Anitra Hall
  Angela Johnson             Angelica-Mae               Anitra Simmons
  Angela Latiolait           Corral                     Anjanette Givens
  Angela Lawrence            Angelicia Galvez           Anjeanette Thomas
  Angela Miller              Angelina Ashley            Anjela Derderian
  Angela                     Angelina Cortez-           Anjure Johnson
  Montgomery                 Sanchez                    Anna Arteaga
  Angela Moon                Angelina Galindez          Anna Cabrera

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   Anna Deanda                Anthony Bautista           Anthony Lucio
   Anna Eglash                Anthony Bejarano           Anthony Malbrough
   Anna Heaslet               Anthony Beltran            Anthony Mayorga
   Anna Jimenez               Anthony Bolton             Anthony Mcconnell
   Anna Johnson               Anthony Cajuelan           Anthony Mejia
   Anna Meyer                 Anthony Carreno            Anthony Mills
   Anna Torres                Anthony Castillo           Anthony Morales
   Annabel Alvarez            Anthony Cazares            Anthony Munguia
   Annaeliss Gonzalez         Anthony Chapa              Anthony Murphy
   Annamarie Riberio          Anthony Conchas            Anthony
   Anne Morrison              Anthony Day                Niederberger Juarez
   Anne Ryle                  Anthony Dekle              Anthony Norwood
   Annette Escobar            Anthony Díaz               Anthony Paredes
   Annette Koomthong          Anthony Edwards            Anthony Parker
   Annette Rudd               Anthony Esquivel           Anthony Pinero
   Annette Wright             Anthony Estrada            Anthony Poshepny
   Annick Chung               Anthony Fitzgerald         Anthony R Jones Jr.
   Annie Altamirano           Anthony Flowers            Anthony Raines
   Annie Funk                 Anthony Garcia             Anthony Ramsey
   Annie Hepfner              Anthony Garland            Anthony Robinson
   Annjetta Bolden            Anthony Gonzalez           Anthony Robles
   Anntoinette Lyons          Anthony Grady              Anthony Sanchez
   Smoots                     Anthony Guerrero           Anthony Seacombe
   Anntonette                 Anthony Harris             Anthony Shepherd
   Robinson                   Anthony Hildebrand         Anthony Sheridan
   Anshul Singh               Anthony House              Anthony Sikes
   Anslem Jones               Anthony                    Anthony Simien
   Anson Reynolds             Hutchinson                 Anthony Sosa
   Anthony Aguel              Anthony James              Anthony Specioso
   Anthony Aguilar            Anthony Juarez             Anthony Stewart
   Anthony Arnold             Anthony                    Anthony Thayer
   Anthony Bada               Karagiannopoulos           Anthony Thompson
   Anthony Bamberg            Anthony Lee                Anthony Trahan
   Anthony Banales            Anthony Little             Anthony Vasquez
   Anthony Baptista           Anthony Lizarraga          Anthony Wright

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   Antionette Williams        Antwone Harris             Arena Evans
   Antoine Chandler           Anudari Batulzii           Aretta Speck
   Antoine Epperson           Anyhony Llorens            Argishth
   Antoine Gilbert            Apolo Parra Tovar          Ratavoosian
   Antoine Ross               April Adams                Ariana Elizondo
   Antoine Smith              April Fontenot             Ariana Hankins
   Antoineshia Simms          April Johnson              Ariana King
   Antoinette Gutierrez       April Jone                 Ariana Martinez
   Antoinette Martinez        April Koeberle             Ariana Williams
   Antoinette Torres          April Martin               Arianalynn Zari
   Antoinette White           April Perry                Ariane Moreno
   Antoinette Wright          April Ramirez              Arianna Fulton
   Antoinique Gray            April Thompson             Arianna Hamilton
   Anton Ordjonikidze         April Torres               Arianna Nicasio
   Antonette Lianoz           April Vega                 Arianna Sanchez
   Antoniette Guerrero        April Williams             Ariel Coleman
   Antonina Weisman           Aprilynn Patterson         Ariel Fenster
   Antonio Avina              Apriyah Thornabar          Ariel Ferrer
   Antonio Becerril           Apsara Harter              Ariel Maldonado
   Antonio Bernal             Aquwanicci Brown           Ariel Ortiz
   Antonio Bonilla            Ara Armain                 Ariel Parhm
   Antonio Chavez             Ara Grigoryan              Ariel Peterson
   Antonio Fisher             Araceli Ayala              Ariel Rowland
   Antonio Gonzalez           Araceli Echeverria         Ariel Taylor
   Antonio Knox               Araceli Gonzalez           Ariell Walker
   Antonio Martinez           Arad Srman                 Ariella Candal
   Antonio Ortiz              Aragad Abramian            Arielle Aguilar
   Antonio Renteria           Araik Keioglian            Arielle Fodor
   Antonio Sanchez            Arais Teimoorian           Arielle George
   Antonio Vallejo            Aramis Carson              Arielle Gilinsky
   Antonio Watkins            Aramis Hegler              Arielle Loveless
   Antonio White              Aranza Verduzco            Arieyale Willis
   Antonique Gantt            Arash Barmaan              Arion Rogers
   Antony Jones               Arash Ghajar               Arlean Smith
   Antwannet Allen            Arbi Enjilian              Arlena Wiggins

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   Arlene Haig                Arsenio Varnado            Ashem Robinson
   Arlene Sanabria            Arshan Komaie              Ashle Miller
   Arlene Starling            Arta Shemghatan            Ashlee Alicea
   Arman Simonyan             Arteen Mozafari            Ashlee Graves
   Armand Stevens             Artem Aysagaliev           Ashlee Wallace
   Armando Astorga            Artez Bailey               Ashleigh Funches
   Armando Catter             Arthea Johnson             Ashleirae Velasquez
   Armando Correa             Arthur Butler              Ashley Abney
   Armando Duran              Arthur Cofield             Ashley Alaina
   Bernal                     Arthur Falcon              Avery
   Armando Figueroa           Arthur Roper               Ashley Alston
   Armando Gonzalez           Arthur Welshland           Ashley Ayala
   Armando Islas              Arti Kapoor                Ashley Baugh
   Armando Luquin             Artrice Leonard            Ashley Beuhler
   Armando Pulido             Artrisee Franklin          Ashley Blattenberg
   Armeka Iford               Artur Poghosyan            Ashley Brandsen
   Armel Patrick              Arturo Gonzalez            Ashley Crenshaw
   Takoudjou Fonkou           Arturo Llamas              Ashley Deleon
   Armen Georgian             Arturo Lomeli              Ashley Diemer
   Armen Kalents              Arturo Salazar             Ashley Elias
   Armin Khangaldi            Arturo Villasenor          Ashley Escobar
   Armin Kouchaki             Arvilla Redington          Ashley Espitia
   Armin Motamedi             Arya Adibi                 Ashley Gadison
   Armond Bazikian            Aryanah Faulkner           Ashley Garrison
   Armond Rostamians          Arzel Lingad               Ashley Graves
   Arnette Parker             Asa Scott                  Ashley Gutierrez
   Arnitha Lewis              Asani Myers                Ashley Hearn
   Arnol Villamar             Asani Thomas               Ashley Heisler
   Arnold Hernandez           Asaret Hurtado             Ashley Ibarra
   Arnold Pauley              Aschle Wake                Ashley Jaime
   Arnold Zipagan             Ashanae Bedford            Ashley Johnson-
   Aron West                  Ashelie Knowles-           Mckeown
   Arpan Rai                  Dixon                      Ashley Jordan
   Arrick Blair               Ashely Arvizu              Ashley Martinez
   Arrin Harris               Ashely Presley             Ashley Massarene

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   Ashley Mays                Asia Hull                  Austin Lupercio
   Ashley Mcclain             Asia Jimenez               Austin Quick
   Ashley Mcdonald            Asia Patterson             Austin Rietsch
   Ashley Mckale              Asrar Ghani                Austin Sanden
   Ashley Mendes              Assad Choudhry             Austin Skaggs
   Ashley Morrison            Astrid Hernandez           Austin Walker
   Ashley Mosley              Astrid Luna                Auston Strickland
   Ashley Nicholls            Atela Olsen                Autiana Minor
   Ashley Plummer             Athena Boubouglias         Autumn Turner
   Ashley Rang                Athena Smith               Autumn Walker
   Ashley Rinker              Athiane Campos             Auty Williams
   Ashley Roberts             Atlai Cruz                 Avais Morris
   Ashley Robinson            Atour Younan               Aveen Hassan
   Ashley Romero              Atousa Dinyari             Avelicia Terry
   Ashley Ross                Attila Dobranyi            Avenir Usmonov
   Ashley Shaw                Aubrianna Love             Avery Pike
   Ashley Stamets             Audrey Arguello            Aves Najjar
   Ashley Stampley            Audrey Azera               Avetis Koshkaryan
   Ashley Vannaman            Audrey Bongato             Avis Mcgurt
   Ashley Vetere              Audrey Melvin              Avram Lieberman
   Ashley Villagran           Audrey Storm               Avy Newman
   Ashley Von Gremp           Audrey Ward                Awet Russom
   Ashley White               Audri Henderson            Awon Rahman
   Ashley Woodbridge          Augustine Chavez           Axavier Byrd
   Ashli Haynes               Augustine Ortiz-           Axl Ochoa
   Ashli Howard               Marquez                    Axtlan Zahedi-
   Ashlynn Marracino          Augustis Bell              Mitchell
   Ashlynn Micklos            Aujia Williams             Ayah Alayamini
   Ashmita Singh              Aurielle Lewis             Ayana Layfield
   Ashtin Lota                Aurilla Stevson            Ayanna Carrington
   Ashton Collins             Austin Arellano            Ayanna Shaw
   Ashton Jackson             Austin Cuicchi             Ayimen Said
   Ashwin Krishnan            Austin Hite                Ayinde Warren
   Asia Alston                Austin Jacks               Ayla Nock
   Asia Evans                 Austin Lipary              Ayleen Mendoza

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   Ayriana Hamler             Beatriz Vasquez            Bernadette Bent
   Ayrianna Keel              Beau Roberts               Bernadette
   Aysia Leapaga              Bee Kue                    Bogdanovs
   Azaam Algahim              Belinda Magana             Bernard Alva
   Azalea Gonzalez            Belynda Scurlock           Bernard Grunberg
   Azela Munguia              Ben Scott Helm             Bernice Flores
   Azjha Bailey               Ben Shani                  Bernice Stemley
   Badr Moussa                Ben Smith                  Bernie Higgins
   Bahar Heydarzadeh          Benito Canizales           Bessie Bennett
   Bailey Breech              Benjamin Beers             Beth Flannigon
   Bailey Halbreich           Benjamin Guzman            Beth Monaghan
   Bailey Hill                Benjamin Horwitz           Bethany Crooks
   Bailey Winn                Benjamin Jones             Bethany Hickey
   Bakari Wells               Benjamin                   Bethany Hood
   Banmeet Kaur               Leinweber                  Bethany Montano
   Barbara Bailey             Benjamin Nguyen            Bethene Mendoza
   Barbara Gibbs              Benjamin Norris            Betsy Montes
   Barbara Jones              Benjamin Pearlman          Betty Sanchez-
   Barbara Ramirez            Benjamin Rosado            Mallory
   Barbara Vega               Benjamin Sebastian         Bettyann Marshall
   Barbie Bowden              Benjamin Sheffield         Betzy Gonzalez
   Bardia Benyamin            Benjamin Solorzano         Beverly Reyes
   Bardia Bostani             Benjamin Steinberg         Beverly Thymes
   Barri Whittaker            Benjamin Tellez            Bianca Biagioni
   Barrinton Collins          Benjamin Wade              Bianca Lopez
   Barry Burrell              Benjamin Wilde             Bianca Luster
   Bart Bullington            Bennie Hamilton            Bianca Plust
   Basil Elqasass             Benolter Gambles           Biju Punnoose
   Basmah Mughal              Benyam Woldezghi           Billie Garcia
   Batkhuyag Batjargal        Bercem Bicimli             Billie Lockett
   Bayesha Alexander          Berend Williges            Billy Choi
   Bazel Bhatti               Berenice Garcia            Billy Chuk
   Beatrice Chavez            Berenis Padron             Billy Forte
   Beatriz King               Berke Ozoguloz             Billy Johnson
   Beatriz Rodriguez          Berlin Broders             Billy Leung

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   Billy Perry                Bradley Bidinger           Brandon Iverson
   Binh Than                  Bradley Fannin             Brandon Ivey
   Binh Tran                  Bradley Lambert            Brandon Jenkins
   Biniyam                    Bradley Wilbur             Brandon Jove
   Woldegiorgis               Brandan Nash               Brandon Kwon
   Bishara Akleh              Brandee Samples            Brandon Lasiloo
   Blaine Mace                Branden Addison            Brandon Leyva
   Blair Flemings             Branden Means              Brandon Ludlow
   Blair Robinson             Branden Shoemaker          Brandon Lukoff
   Blake Killion              Brandi Carr                Brandon Mcgrue
   Blake Owens                Brandi Ceaser              Brandon Menald
   Blake Williford            Brandi Edwards             Brandon Metzger
   Blayke Rifley              Brandi Nunn                Brandon Mitchell
   Bobbi Coleman              Brandi Taylor              Brandon Murdock
   Bobbi Conley               Brandi Voronyak            Brandon Orange
   Bobbi Richardson           Brandi Williams            Brandon Palomin
   Bobbie Milsap              Brandie Purnell            Brandon Poller
   Bobby Gonzales             Brandie Ross               Brandon Quintana
   Bobby Guard                Brandie Venerable          Brandon Reyes
   Bobby Kendrick             Brandin Richardson         Brandon Ritter
   Bobby Wilson               Brandon Abass              Brandon Rivera
   Bonisha Lea                Brandon Agtang             Brandon Sampson
   Bonnie Chu                 Brandon Baker              Brandon Schwartz
   Bonnie Levy                Brandon Barrientos         Brandon Smith
   Bonnie Ross                Brandon Beasley            Brandon Snyder
   Bonny Xayavong             Brandon Bell               Brandon Spratt
   Boris Cummings             Brandon Eldridge           Brandon Viale
   Boshian Hubbert            Brandon England            Brandon Villegas
   Brad Martin                Brandon Figueroa           Carabantes
   Brad Mott                  Brandon Gaber              Brandon
   Bradd Laurito              Brandon Greathouse         Wadlington
   Braden Martin              Brandon Greenberg          Brandon Wagstaff
   Bradleigh                  Brandon Gutierrez          Brandon White
   Johanneck                  Brandon Hall               Brandon Wingfield
   Bradley Bettis             Brandon Hazelwood          Brandons Rosler

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   Brandy Jones               Brenda Estrada             Brian Ashurst
   Brandy Mcdaniel            Brenda Garcia              Brian Bachar
   Brandy Trabilcy            Brenda Manzano             Brian Bell
   Brandyn Rhea               Brenda Martinez            Brian Brewster
   Brant Deboer               Brenda Recinos             Brian Buenaventura
   Braulio De La Paz          Brenda Serrano             Brian Carney
   Braulio Gonzalez           Brenda Vera                Brian Castaneda
   Braulio Salgado            Brenda Warren              Brian Castelan
   Braulio Valderrama         Brendan Casey              Brian Clark
   Brayden Richardson         Brendan Clarke             Brian Duzick
   Breaa Smith                Brendan Hawkins            Brian Garganta
   Breah Terry                Brendon Dampier            Brian Gipson
   Breana Burch               Breneshia Webb             Brian Herndon
   Breana Gauthier            Brent Brice                Brian Herrera
   Breana Henderson           Brent Cusimano             Brian Johnson
   Breana Orland              Brent Martin               Brian Jones
   Breana Singleton           Brent Scruggs              Brian Le
   Breann Heuss               Brent Smith                Brian Lecker
   Breann Rogers              Brently Sanders            Brian Leighton
   Breanna Contreras          Breonna Richard            Brian Lewis
   Breanna Herrera            Bresae Brown               Brian Maddock
   Breanna Le Blanc           Bret Rubalcaba             Brian Mange
   Breanna Lemus              Bret Rutledge              Brian Mccullin
   Breanna Lopez              Bret Taitch                Brian Michener
   Breanna Miller             Brett Berkey               Brian Mitchell
   Breanna Morris             Brett Evans                Brian Moreno
   Breanna Palmer             Brett Lee                  Brian Morris
   Breanna Peterson           Brett Lyman                Brian Murnane
   Breanna Russell            Brett Maida                Brian Perras
   Breanna Rutherford         Brett Scanlon              Brian Pike
   Breanne Harrisonn          Brettney Perr              Brian Pohyar
   Breezy Hirschfield         Breyanna Kellum            Brian Polanco
   Breiana Thomas             Bria Eison                 Brian Reyes
   Brenda Admendares          Bria Miller                Brian Shin
   Brenda Arriola             Bria Stewart               Brian Solan

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   Brian Thomlinson           Brianna Morrison           Brittanie Suares
   Brian Trousdale            Brianna Olivarez           Brittany Blackmore
   Brian Tyrrell              Brianna Pinkerton          Brittany Cardenas
   Brian Valdes               Brianna Ripkowski          Brittany Carter
   Brian Wahlstrom            Brianna Symonds            Brittany Chalker
   Brian Walters              Brianna Turner             Brittany Darby
   Brian Washington           Brianna Zolghadri          Brittany Fields
   Brian Wright               Briant Ibarra              Brittany Goodman
   Briana Aceves              Briauna Lovejoy            Brittany Goodwin
   Briana Baltodano           Brice Barker               Brittany Grady
   Briana Barnes              Bridelia Kelly             Brittany Green
   Briana Borden              Bridget Driscoll           Brittany Hamilton
   Briana Garcia              Bridget Henderson          Brittany Hawkins
   Briana Isaacs              Bridget Mcfarlin           Brittany Hernandez
   Briana Larence             Bridgett Carter            Brittany Herrera
   Turner                     Bridgette Fuller           Brittany Hubble
   Briana Nunez               Bridgette Jones            Brittany Hurd
   Briana Ramos               Bridgette Mcgraw           Brittany Mason
   Briana Ruggeri             Brieanna Belcher           Brittany Mendez
   Briana Simpson             Brijanae Aubrey            Brittany Molina
   Briana Williams            Briona Jones               Brittany Neal
   Briann Baltazar            Brioni Harris              Brittany Nielsen
   Brianna Barnes             Brionna Robbins            Brittany Pennell
   Brianna Blackston          Brisa Rivera               Brittany Robertson
   Brianna Burke              Brisha Cleveland           Brittany Russell
   Brianna Davia              Brishey Lewis              Brittany Simpson
   Brianna Davis              Britany Lueras             Brittany Strecker
   Brianna Decker             Britini Triggs             Brittany Thomas
   Brianna Douglas            Britney Badger             Brittany Vierra
   Brianna Fish               Britney Domine             Brittany
   Brianna Lage               Britney Fullbright         Waldenmaier
   Brianna Logan              Britney Garcia             Brittany Warden
   Brianna Manuel             Britney Tenner             Brittany Wines
   Brianna Matteson           Britney Triplett           Britteny Turman
   Brianna Mccormick          Brittani Fisher            Brittiney Vails

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   Brittne Rehrauer           Bryan Frere                Byron Stjules
   Brittney Christian         Bryan Gates                Byron Thompson
   Brittney Morse             Bryan Grimmage             B’Anka Beatty
   Brittney Parks             Bryan James                Cache Anderson
   Brittney Ruth              Bryan Jones                Caige Crampshee
   Brittny Brister            Bryan Kelly                Caisee Coleman
   Brittny Collins            Bryan Ku                   Caitlin Dalton
   Brittyn Aguilar            Bryan Medina               Caitlin Gill
   Briya Marshall             Bryan Orellana             Caitlin Haynes
   Briyona Dabney             Bryan Paredes              Caitlin Vellos
   Bri’ Ana C Breland         Bryan Perez                Cal Barnes
   Broderick Bryant           Bryan Pierre-Louis         Cal Ravana
   Broderick Purnell          Bryan Quinteros            Caleb Buenconsejo
   Brodie Collette            Bryan Stewary              Caleb Edison
   Bronson Woodall            Bryan Stranahan            Caleb Henry
   Bronte Gosling             Bryan Vazquez              Caleb Singletary
   Brook Carslake             Bryan Willey               Caleb Udeh
   Brook Sheehan              Bryann Phillips            Caley Mcgaffigan
   Brooke Mccreary            Bryanna Maya               Calista Hayes
   Brooke Will                Bryanna Rudino             Callie White
   Brooks Jones               Bryant Chackel             Calvin Cristales
   Bruce Adelsperger          Bryant Crawford            Calvin Vineyard
   Bruce Flores               Bryant Reynaga             Calyx Jenkins
   Bruce Freeman              Bryant Tellez              Cambria Salinas
   Bruce Lair                 Bryant Wallace             Cameron Brennan
   Bruce Lawson               Bryce Couture              Cameron Bryant
   Bruce Mason                Bryen Tovar                Cameron Chan
   Bryan Alexander            Bryon Hazelton             Cameron Cina
   Bryan Alivio               Brysco Baker               Cameron Cumming
   Bryan Alvarez              Bryshawne Halsey           Cameron Klein
   Bryan Barnett              Bryson Lesure              Cameron Lancour
   Bryan Brown                Buffy Hopkins              Cameron Nawaz
   Bryan Cisneros             Burnell Lymon Jr           Cameron Nichols
   Bryan Dawe                 Burton Belisle             Cameron Portillo
   Bryan Flores               Byron Pierce               Cameron Singer

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   Camila Isaza               Carissa Phelan             Carlos Rocha
   Camilla Warren             Carissa Varela             Carlos Rodriguez
   Camille Bowen              Carl Brackens              Carlos Sandoval
   Camille Chambers           Carl Hudson Ii             Carlos Santos
   Camille Cooper             Carl Legacion              Carlos Serrano
   Camille Fauntleroy         Carla Bautista             Carlos Sosa
   Camille Lennan             Carla Flowers              Carlos Van Oordt
   Camisha Handford           Carla Guerrero             Carlotta Chappel
   Candace Campbell           Carla Jackson              Carly Martinez
   Candace Catalina           Carla Kennedy              Carly Mersola
   Candace Owens              Carla Laudicina            Carmela Matthews
   Candace Reece              Carla Short                Carmella Dean
   Candace Slaven             Carla Stewart              Carmella Henderson
   Candi Taiese               Carleigh Bem               Carmelo Calingasan
   Candice Aceves             Carlie Novack              Carmen Aguirre
   Candice Booker             Carlin Edwards             Carmen Capllonch
   Candice Clark              Carlin Fiddler             Carmen Gersky
   Candice Guevara            Carline Morris             Carmisha Brewer
   Candice Jernagin           Carlos Alvarez             Carnell Burse
   Candis Blake               Carlos Barahona            Carnell Evans
   Candon Lovett              Carlos Castillo            Carol Florez
   Candy Olivera              Carlos De Luna             Carol Fowler
   Capy Jackson               Carlos Estrada             Carol Mcfarland
   Cara Dipmore               Carlos Garcia              Carol Roseman
   Caradi Martinez            Carlos Gomez               Carolina Betancur
   Cardel Moore               Carlos Guevara             Carolina Dadayan
   Carina Giardina            Carlos Jimenez             Carolina Gonzalez
   Carina Marin               Carlos Lechuga             Carolina Hernandez
   Carina Villarruel          Carlos Luz                 Carolina Townsel
   Carinda Goodall            Carlos Marquez             Caroline Gohmert
   Carissa Adams              Carlos Meneses             Caroline Mungcal
   Carissa Allen              Carlos Monge               Caroline Parker
   Carissa Hudson             Carlos Ochoa               Carolyn Gibson
   Carissa Lopez              Carlos Ragsdale            Carolyn Oshea
   Carissa Payton             Carlos Rivas               Carolyn Patton

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   Carolyn Saunders           Catherine Surina           Cesar Munoz
   Carolyn Snell              Catrina Johnson            Cesar Navarro
   Caron Woods                Ceanne Sanford             Cesar Prieto
   Carrie Medrano             Ceasar Vargas              Cesar Ramirez
   Carrie Mills               Cecilia Barraza            Cesar Sotelo
   Carrie Mumphrey            Cecilia Eusebio            Chad Engel
   Carson Ramirez             Cecilia Gallardo           Chad Guerra
   Caryshia Perkins           Cecilia Gonzalez           Chad Heliker
   Casana Caliz               Cecilia Guerrero           Chad Riley
   Casandra Romero            Cecilia Hoag               Chad Singleton
   Casaundra Endres           Cedric Clarke Ii           Chada Chiles
   Casey Duckett              Cedric Henry               Chala Kelly
   Cashley Anderson           Cedric Lousi               Chamnte Dunson
   Cassandra Cundiff          Cedric Washington          Chance Boren
   Cassandra Hatfield         Cedrik Madden              Chance Engstrand
   Cassandra Johnson          Celest Baca                Chance Hassen
   Cassandra Meyers           Celeste Chatman            Chanda Penney
   Cassandra Nava             Celeste Ferrary            Chandler Glover
   Cassandra Rabini           Celeste Galipeau-          Chandra Arbery
   Cassandra Rees             Woods                      Chandra Henke
   Cassandra Savage           Celeste Matthews-          Chandra Olazaba
   Cassandra Turner           Farfan                     Chanee Washington
   Cassandra Walker           Celeste Zavala             Chanel Labasan
   Cassandra Webb             Celia Victory              Chanel Taghdis
   Cassidi Fojas-             Celicia Sanchez            Chanel Williams
   Gomez                      Celina Edwards             Chanell Brown
   Cassidie Brace             Celina Graves              Chanelle Dorton
   Catalina Gonzalez          Celine Bastidas            Chanelle Givhan
   Catherine Craig            Cerrach Field              Chanelle Panitch
   Catherine Cyr              Cesar Aguero               Chani Weber
   Catherine Davidson         Cesar Carrera              Chanson Langit
   Catherine Hadcock          Cesar Castro               Chantel Johnson
   Catherine Haney            Cesar Grajeda              Chantell Alvarez
   Catherine Kasten           Cesar Lujan                Chantell Thompson
   Catherine Luna             Cesar Morales              Chanthal Lasso

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   Chantyle Mccalman          Charlotte Metcalf          Cherie Trammell
   Chanzell Lewis             Charlotte Snodgrass        Cherise Wilson
   Charavady Sok              Charlotte                  Cherisse Goodman
   Chardai Brown              Washington                 Cherisse Narvaez
   Charis Cunha               Charlton Fields            Cheron Lewis
   Charity Burnley            Charmika Dawson            Cherrish Scott
   Charldred Azonwu           Charmill Vega              Cherron Taylor
   Charlene Mosley            Charnelle Bethune          Cheryce Knox
   Charles Abrams             Charnika Green             Cheryl Beaumont
   Charles Barnick            Chase Mcmillon             Cheryl Brooks
   Charles Blakey             Chase Rossner              Cheryl Brown
   Charles Cardwell           Chasedy Nguyen             Cheryl Cavanaugh
   Charles Chen               Chasity Thompson           Cheryl Guarin
   Charles Dudley             Chastity Williams          Cheryl Real
   Charles Eldred             Chastity Young             Cheryl Walker
   Charles Jacobs             Chaterra Gaines            Cheryl Williams
   Charles Lewis              Chauntene Stokes           Chestnut Wayne
   Charles Martin             Chavonne Jones             Cheyann Walker
   Charles Morgan             Chayce Solchaga            Cheyenne Davis
   Charles Neal               Chelsea Bowden             Cheyenne Gonzales
   Charles Porras             Chelsea Fawcett            Cheyenne Santiago
   Charles Ruble              Chelsea King               Cheyne Ramos
   Charles Sampson Iii        Chelsea May                Chhay Chhin
   Charles Shannon-           Elacion                    Chiana Washington
   Whiteside                  Chelsey Reese              Chigozie Aririguzo
   Charles Vasquez            Chelsey Riley              Chima Chindah
   Charli Baker               Chelsie Kidd               Chimaroke Enyeazu
   Charlie Contreras          Chelyn Martin              China Artadi
   Charlie Garavito           Cherai Russell             Chinedum
   Charlie Phillips           Cheraya Evans              Emeahara
   Charlie Rascon             Cherele Brown              Chino Iruke
   Charlie Smith              Cherelle Harris            Chinue Donald
   Charlie Waters             Cherelle Jackson           Chioma
   Charlotte Bard             Cherelle Smith             Nwachukwu
   Charlotte Cole             Cheri Redington            Chloe Calvert

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   Chloe Emery                Chris Yanke                Christian
   Chloe Mckinish             Chris Ziemer               Richardson
   Chloe Miller               Chrissy Hardy              Christian Rivera
   Chloe Padilla              Christa Adeyemi            Christian Roman
   Chloe Scott                Christa Phillips           Christian Ross
   Chloe Tunson               Christal Medrano           Christian Ruiz
   Chloe Walker               Christana Forlastro        Christian Sanders
   Chlorisa Mcclain           Christel Kabandauli        Christian Steffen
   Chomnan Phok               Christian Alloway          Christian Stephens
   Chondra Phillips           Christian Arteaga          Christian Tayar
   Chotika Reepolrujee        Christian Chavez           Christian Trebon
   Chovaun Evans              Christian Cornejo          Christian Valdez
   Chozen Toney               Christian Craciun          Christian Valerio
   Chria Beltran              Christian Cruz             Christian Zamora
   Chris Adorno               Christian                  Christianna Ashley
   Chris Cardona              Dominguez                  Christie Baker
   Chris Cleere               Christian Escobedo         Christie Coleman
   Chris Cone                 Christian Foster           Christien Parello
   Chris Contopulos           Christian Gilchrist        Christina Alarcon
   Chris Fabrizio             Christian Gottwald         Christina Alvarez
   Chris Feer                 Christian Hargrove         Christina Chappelle
   Chris Hodges               Christian Islas            Christina Contreras
   Chris Jones                Christian Jemison          Christina Cucho
   Chris Lara                 Christian Lane             Zavaleta
   Chris Mcdonald             Christian Lucas            Christina Denham
   Chris Medina               Christian Martinez         Christina Ernst
   Chris Noz                  Christian Mcentire         Christina Fail
   Chris Prince               Christian Mentzer          Christina Gand
   Chris Roberts              Christian Molina           Christina Gutierrez
   Chris Saba                 Christian Moorer           Christina Guzelian
   Chris Sein                 Christian Mulherin         Christina Islas
   Chris Sherman              Christian Mullin           Christina Kanta
   Chris Smith                Christian Payton           Christina Kellstrom
   Chris Whitcomb             Christian Ponce            Christina Logan
   Chris Wollman              Christian Recinos          Christina Lopez

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   Christina Lovato           Christopher Ello           Christopher Mathis
   Christina Luna             Christopher                Christopher
   Christina Lund             Estarellas                 Mcdonald
   Christina Morales          Christopher Farrelly       Christopher
   Christina Mosquera         Christopher Flowers        Moralez
   Christina Munoz            Christopher Gambill        Christopher Moreno
   Christina Thornton         Christopher Gardner        Christopher Naputi
   Christina                  Christopher                Christopher Ondo
   Ungermann                  Goertzen                   Christopher Ortega
   Christina Vargas           Christopher                Christopher
   Christine Corrales         Hamilton                   Pacheco
   Christine Durham           Christopher Hawley         Christopher
   Christine Gaudet           Christopher Haynes         Palacios
   Christine Palomar          Christopher                Christopher
   Christine Paulus           Hernandez                  Ramirez
   Christine Rodriguez        Christopher Heston         Christopher Reyes
   Christine Saechao          Christopher Holguin        Christopher Robin
   Christopher Arnet          Christopher Jackson        Christopher Ruley
   Christopher                Christopher James          Christopher Russell
   Bearden                    Christopher                Christopher Sarabia
   Christopher                Jauregui                   Christopher
   Boscamp                    Christopher Jimenez        Scarpine
   Christopher                Christopher Justin         Christopher Sollom
   Bradsher                   Christopher Kane           Christopher Talaga
   Christopher                Christopher                Christopher Tinoco
   Bronson                    Karnopp                    Christopher
   Christopher Cabuco         Christopher                Toranzo
   Christopher Cody           Kendrick                   Christopher
   Christopher                Christopher                Urquilla
   Crawford                   Kimbrough                  Christopher
   Christopher Davey          Christopher King           Vazquez
   Christopher De             Christopher Lewis          Christopher Voelp
   Anda                       Christopher Low            Christopher Ward
   Christopher                Christopher Martin         Christopher Wilcox
   Demendoza                  Christopher Mason

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   Christopher                Cindy Sogoyan              Clifford Suva
   Wimmer                     Cinthia Huerta             Coddie Burton
   Christopher Wooten         Cinthia Suruy              Codey Ibelle
   Christopher Ybarra         Ckiesha Armstead           Codie Martin
   Christopher Zuniga         Clara Counts               Cody Boland
   Christoula                 Clara Marshall             Cody Catron
   Papaioannou                Clara Martinez             Cody Collier
   Christy Clark              Clarence Lloyd             Cody Cooksey
   Chrystal Donerson          Clarence Morgan            Cody Derr
   Chrystle Barajas           Clarence Parmer            Cody Kelsey
   Chuwan Anthony             Clarice Davis              Cody Kennel
   Chynna Johnson-            Clarissa Elliott           Cody Maitland
   Thomas                     Clarissa Gomez             Cody Neels
   Chyvonne Polidore          Clarissa Moreno            Cody Owens
   Ciara Adams                Clarita Mccormick          Cody Raleigh-
   Ciara Campbell             Clarrissa Payton           Hernandez
   Ciara Johnson              Claude Duhamel             Cody Ramirez
   Ciarra Roberts             Claudette De Rego          Cody Rodriguez
   Cielo Schaeffer            Claudia Anguiano           Cody Sanchez
   Cienna Hernandez           Claudia Barquero           Cody Santiago-
   Ciera Harrison             Claudia Cadelina           Gackle
   Ciera Rodell-              Claudia Crespin            Cody Urbina
   Mcgrew                     Claudia Guevara            Colby Thomas
   Cierra Ammons              Claudia Madueno            Cole Cable
   Cierra Flenoy              Claudia Munguia            Cole Frank
   Cierra Williams            Claudia Perez              Cole Gerson
   Cindy Alvarado             Claudia Ponce              Cole Kirkpatrick
   Cindy Cabrera              Claudia Reta               Colette Warner
   Cindy Cruz                 Claudia Rosas              Colin Coughlin
   Cindy Fajardi              Claudia Velasquez          Colin Mcneill
   Cindy Fernandez            Claudia Villegas           Colin Mendoza-
   Cindy Frazier              Clay Shamas                Mckee
   Cindy Gaitan               Clayton Peters             Colin Wood
   Cindy Le                   Clemarr Thomas             Colleen Boyd
   Cindy Nam                  Clement Italume            Colleen Glennon

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   Collett Kelly              Corwyn Pedroza             Cristian Delgado-
   Collin Mcleod              Cory Montgomery            Barrera
   Collin Page                Cory Moore                 Cristian Farcas
   Colt Ladd                  Cory Pettus                Cristian Guevara
   Concepcion Lopez           Cory Robinson              Cristian Jossue
   Connor Anderson            Cory Salazar               Cabadas Romero
   Connor Kirby               Corynne Betts              Cristian Martinez
   Connor Nolan               Cosette Senkowski          Cristian Rodrigues
   Connor Weber               Coshia Mcnair              Cristian Ruiz
   Conrad Money               Cottasha Feagans           Cristian Salvo
   Consuelo Valencia          Courdeja Molette           Cristian Santos
   Contesia Thomas            Courteney Childs           Cristian Tevendale
   Contessa Johnson           Courtlyn Foster            Cristina Aleman
   Cooper Zoch                Courtney Cole              Cristina Deets
   Cordelia Fowler            Courtney Davis             Cristina Killings
   Coresha Caldwell           Courtney Franks            Cristina Lopez
   Corey Bunch                Courtney Kelley            Cristina Ortiz
   Corey Elliott              Courtney Mccarty           Cristobal Gutierrez
   Corey Goldsmith            Courtney Odu               Cristopher Rangel
   Corey Jones                Courtney Revis             Cristopher Salgado
   Corey Luckett              Courtney Sanchez           Crystal Banuelos
   Corey Matthews             Courtney Tackett           Crystal Bley
   Corey Okamoto              Courtney Terry             Crystal Blue
   Corey Rice                 Courtney Viveiros          Crystal Bueno
   Corey Schneider            Courtney Young             Crystal Clark
   Corey Wilson               Craig Daedelow             Crystal Erwin
   Corina Alvarado            Craig Friedland            Crystal Fiehler
   Corina Baldonado           Craig Murdah               Crystal Fox-Booker
   Cornelius Boyakins         Craig Wilson               Crystal Gonzalez
   Cornelius Smith            Craig Wright               Crystal Goodman
   Cornell Girczyc-           Crescencio Ancheta         Crystal Harper
   Blum                       Cressa Thornell            Crystal Hernandez
   Cornesha Jackson           Cretanya Noa               Crystal Johnson
   Cortney Brown              Cris Anilao                Crystal Kennedy
   Corvaughn Cross            Cristal Martinez           Crystal Kent

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   Crystal Lopez              Cynthia Monroe             Dakarai Rhodes
   Crystal Lynn               Rose                       Dakarri Johnson
   Camonayan                  Cynthia Moreno             Dakkar Lee
   Crystal Morales            Cynthia Nguyen             Dakota Gallegos
   Crystal Porter-            Cynthia Poblete            Dakota Hunt
   Bazemore                   Cynthia Quinones           Dakota Niswonger
   Crystal Salinas            Cynthia Rasso              Dakota Trammell
   Crystal Soria              Cynthia Razo               Dale Gardner
   Crystal Topete             Cynthia Tinti              Dale Gatica
   Curshawn Watts             Cynthia Viramontes         Dale Hutchinson
   Curtis Strong              Cynthia Windfield          Dalina Diaz
   Curtis Vaughn              Cyron Schulthz             Dallreco
   Curtis Washington          Cyrus Naderpour            Montgomery
   Ii                         D'Markus Mohorne           Dalton Murphy
   Cyhante Brewster           Daeja Williams             Dalton Verwolf
   Cymone Florence            Daezhane Carter            Dalynna Moser
   Cymwana Levy               Dafayette                  Damaris Flores
   Cyndii Santa Cruz          Hightower                  Damaris Gandy
   Cynthia Bakker             Dahvi Richardson           Damaris Montano
   Cynthia Barnett            Daija Davis                Dameian Swan
   Cynthia Cendejas           Daijanee Gordon            Dameka Scott
   Cynthia Corona             Jones                      Damian Williams
   Cynthia Cowart             Daineashia Waters          Damica Gordon
   Cynthia Duarte             Daisy Flores               Damien Cottle
   Cynthia Falcon             Daisy Garzon               Damien Satele
   Cynthia Flores             Daisy Morales              Damien Stuart
   Cynthia Gamino             Daisy Quinonez             Damion Ward
   Cynthia Gastelum           Daisy Salaiza              Damione Yancy
   Cynthia Hernandez          Daivya Allmond             Damon Johnson
   Cynthia Leanos             Daizah Pounds              Damon Knox
   Cynthia Leon               Daizhiana Nolan            Damon Sherrod
   Cynthia Lisberg            Daja Sea                   Damon Valery
   Cynthia Luevano            Dajon Battle               Damon Vartan
   Cynthia Matthews           Dajon Clay                 Damonise Martin
                              Dajona White               Dan Binns

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   Dan Bushey                 Daniel Cowardin            Daniel Pulka
   Dan Pereira                Daniel Cui                 Daniel Rinehart
   Dan Young                  Daniel Diaz                Daniel Robinson
   Dana Baker                 Daniel Dobbs               Daniel Rodriguez
   Dana Canchola              Daniel Forrer              Daniel Shadkam
   Danae Brown                Daniel Fries               Daniel Tannan
   Danata Thomas              Daniel Garrison-           Daniel Tillgren
   Danaya Phillips            Paschal                    Daniel Torres
   Danayah Griffin            Daniel Glicker             Daniel Vazquez
   Dandre Washington          Daniel Golden              Daniel
   Dane Davis                 Daniel Guzman              Venturajacobo
   Dane Landau                Daniel Hanna               Daniel Walker
   Danesha Bowman             Daniel Harvey              Daniel Warner
   Dangelo Galindo            Daniel Hubbard             Daniel Williamson
   Dani Sabas                 Daniel Jaquez              Daniel Wilson
   Daniel Abel                Daniel Johnson             Daniel Withers
   Daniel Aguilar-            Daniel Karapetyan          Daniel Yang
   Coronado                   Daniel Keeling             Daniel Yasharel
   Daniel Aguilar             Daniel King                Daniela Garcia
   Daniel Alfaro              Daniel La Rose             Daniela Gobellan
   Daniel Alper               Daniel Lopez               Daniella Shadd
   Daniel Anguiano            Daniel Maloon              Danielle Ackenheil
   Daniel Aparicio            Daniel Maneloveg           Danielle Anderson
   Daniel Baker               Daniel Marquez             Danielle Belton-
   Daniel Barrionuevo         Daniel Mendez              Hatter
   Daniel Beasley             Daniel Milev               Danielle Carter
   Daniel Bernal              Daniel Mills               Danielle Causey
   Daniel Bitton              Daniel Moore               Danielle Clack
   Daniel Blitch              Daniel Orozco              Danielle Conley
   Daniel Calinaya            Daniel Ortega              Danielle Craig
   Daniel Campos              Daniel Overstreet          Danielle Hancox
   Daniel Castillo            Daniel Pena                Danielle Hendon
   Daniel Cohen               Daniel Pepples             Danielle Hoss
   Daniel Cole                Daniel Phillips            Danielle
   Daniel Colohan             Daniel Pitts               Hudsonbaney

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   Danielle Hypolite          Dante Winston Ii           Darren Theard
   Danielle                   Dantrail Chatman           Darrian Alcorn
   Lagomarsino                Danuel Zapata              Darrion Wright
   Danielle Lee               Daphne Jacobson            Darron Anderson
   Danielle Paris             Daphne Mcalister           Darron West
   Danielle Poth              Darcy De La O              Darry Brown
   Danielle Pryor             Daren Davis                Darryl Johnson
   Danielle Ramsey            Darian Spears              Darryl Jones
   Danielle Santos-           Dariana Singleton          Darryl Ponce
   Dorsey                     Darien Hall                Darryl Terry
   Danielle Scott             Darien Richardson          Darryl Toliver
   Danielle Shaw              Dario Guerrero             Darshon Ware
   Danielle Smith             Dario Gurrola              Darvaye Davis
   Danielle Stevens           Dario Mcconnie-            Darwin Butler
   Danielle Thorpe            Saad                       Daryl Howard
   Danielle Tovar             Daris Johnson              Daryl Littleton
   Danielle Wright            Darius Olson               Dashia Jones
   Danika Mccray              Darleen Vega               Dathan Devore
   Danisha Kenney             Darlene Ayala              Daunya Smith
   Danisha Strange            Darlene Duran              Dave Prince
   Danishia Williams          Darlene Hanner             Davette Moyal
   Danita Taylor              Darlene Jones              David Abou-Halaka
   Danny Aryan                Darlene Maddox             David Alarid
   Danny Crumble              Darlene Travis             David Allphin
                              Darlene Veloz              David Arellano
                              Darlicia Betton            David Avery
   Danny Gonzalez             Darnell Dumas              David Babtkis
   Danny Lopes                Darnell Harrelson          David Barajas
   Danny Louangxay            Darnell Pugh               David Barry
   Danny Purvis               Darnell Waters             David Becerra
   Danny Quezada              Darren Gaertner            David Benbeneck
   Danny Soeech               Darren Johnson             David Briner
   Dante Delacroix            Darren Littlejohn          David Brooks
   Dante Juliano              Darren Rockwell            David Burke
   Dante Vignali              Darren Rojas               David Butler

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   David Camacho-             David Marr                 Davud Butler
   Snyder                     David Mataalii             Davy Borja
   David Cannon               David Mcdonnell            Dawaun Lucas
   David Clarke               David Mcmahon              Dawayne Stepter
   David Collings             David Medrano              Dawn Avila
   David Colvin               David Miles Miles          Dawn Livingston
   David Coppola              David Moss                 Dawn Peters
   David Cruz                 David Nguyen               Dawn Russell
   David Davis                David Northrop             Dawn Sparks
   David Del Campo            David Olivarez             Dawn Toral
   David Dorety               David Olivas               Dawnielle Desensi
   David Duar                 David Pho                  Dawson Stauffer
   David Duarte               David Rangel               Dax Taylor
   David Duong                David Reed                 Dayamalika Phillips
   David Elie                 David Rich                 Dayana Sanchez
   David English              David Rodriguez            Dayna Boik
   David Escalante            David Romanski             Dayna Gonzalez
   David Gardner              David Sanchez              Dayna Tartt
   David Garner               David Shomer               Daysy Vazquez
   David Graham               David Smith Jr             Dazie Acevedo
   David Grigoryan            David Solis                Da’Sha Mccall-
   David Gulliford            David Soto                 Smith
   David Haliburton           David Tennis               De Juan Gatling
   David Hampton              David Thompson             Deadra Marzett
   David Hargis               David Torres               Deamona Stewart
   David Harris               David Valencia             Dean Bazo
   David Hernandez            David Velez                Dean Dunbar
   David Herrera              David Washington           Dean Pessin
   David Holzboog             David Wellman              Dean Ramm
   David Irizarry             David Whitaker             Dean Raven
   David Kamens               David Whitesell            Dean Wright
   David Kirkland             Davion Archie              Deana Carter
   David La                   Davis Cuen                 Deandere Brown
   David Loyola               Davon Crawford             Deandre Johnson
   David Lund                 Davonna Watkins            Deandre Richards

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   Deanna Burton              Deja Calhoun               Demiyah Williams
   Deanna Felix               Deja Greene                Demond Taylor
   Deanna Hotchkiss           Deja Peoples               Dena Johnson
   Deanna Jimenez             Deja Williams              Dena Jones
   Deanna Meza                Dejah Chadwick             Denecia January
   Deanna Phakeovilay         Dejanae Marshall           Denel Aguilar
   Deanna Thompson            Dejanae Robles             Denero Legrande
   Deanndra Pee               Dejon Stephens             Denicia Lewis
   Deanne Gooden              Dejon Taylor               Denis Anguillet
   Debbie Bianchi             Dejuan Copeland            Denis Grigorov
   Debbie Salazar             Dejuan Stevens             Denise Cabeza-
   Debby Wannawong            Dejuandra Grant            Rivers
   Deborah Brandon            Delanious Tillis           Denise Curtis
   Deborah Dunbar             Delanna Gonzalez           Denise Griffis
   Deborah Hall               Delenna Young              Denise Guerrero
   Deborah Luna               Delesha Wydermyre          Denise Johnson
   Deborah Monette            Delicia Marshall           Denise Lewis
   Deborah Ryan               Della Walter               Denise Madrigal
   Deborah Self               Delores Smith              Denise Marra
   Debra Berardini            Delton Mills               Denise Miller
   Debra Farmer               Demari Kawasaki            Denise Obregon
   Debra Miller               Demetri Walker             Denise Reyes
   Debra Oakes                Demetria Wilson            Denise Rios
   Debra Padua                Demetriss Manning          Denise Stoica
   Debra Smith Smith          Demetrius Brinson          Denise Zurn
   Debra Spears               Demetrius Dunbar           Denisha Moore
   Decarla Clark              Demetrius Fair             Denishay Smith
   Dede Ogbueze               Demetrius Gates            Denishia Medina
   Dedric Allen               Demetrius Jackson          Dennis Carrier
   Dedrick Pitts              Demetrius Potter           Dennis Fultz
   Deion Hart                 Demetrius Robinson         Dennis Hunter
   Deion Shallenberger        Demetrius Thomas           Dennis Kohut
   Deirdre Randall            Demetrius Wright           Dennis Leffew
   Deitria Levine             Demi Gilbert               Dennis Reel
   Deja Armstrong             Demisha Sneede             Dennis Rivera

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   Dennis Romero              Desean Bailey              Destiny Mcneal
   Dennis Rooney              Deshaun Landers            Robinson
   Dennis Saicocie            Deshaun Wilson             Destiny
   Dennis Worku               Deshauna Ealey             Montgomery
   Denver Cude                Deshawn Brown              Destiny Moore
   Denver Fuller              Deshawn Riely              Destiny Richardson
   Deona Mata                 Deshay Belton              Destiny Sutherland
   Deondra Lagrone            Deshay Soil                Destiny Velazquez
   Deonjanea Dickens          Deshun Harris              Destiny Villagomez
   Deontra Gaston             Desi Lora                  Detra Mckinney
   Dequandra                  Desirae Miller             Detra Willis
   Williams                   Desiray Knox               Detreonna Jones
   Derek Anujuo               Desirea Palmerin           Detwinique Perry
   Derek Diedrich             Desiree Abundis            Devan Darby
   Derek Fujitsubo            Desiree Avila              Devan Padilla
   Derek Goldflam             Desiree Blair              Devante Sharpe-
   Derek Jackson              Desiree Buck               Shropshire
   Derek Johnson              Desiree Dufresne           Deven Campbell
   Derek Krmpotich            Desiree Ferguson           Devere Rogers
   Derek Odierno              Desiree Gonzales           Devin Clements
   Derek Sinock               Desiree Herreria           Devin Curtis
   Derek Southa               Desiree Jimenez            Devin Hynes
   Derek Tullis               Desiree Ligman             Devin Mcsharr
   Derrick Airitam            Desiree Pore               Devin Merritt
   Derrick Beyenka            Desiree Sisneros           Devin Omar
   Derrick Blakes             Desiree Thornton           Devin Parker
   Derrick Coleman            Desseree Harvey            Devin Williams
   Derrick Edwards            Destinee Hill              Devina Garcia
   Derrick Gordon             Destiney Jackson           Devina Sloan
   Derrick Halton Jr.         Destini Townsell           Devon Blankenship
   Derrick Hogan              Destiny Coleman            Devon Houston
   Derrick Jull               Destiny De Luna            Devon Ryder
   Derrick Lee                Destiny Fifer              Devon Sherman
   Derrick Mcway Jr           Destiny Lucio              Devon Steffens
   Derrick Pugh                                          Devon Williams

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   Devon Womack               Dianne Searles             Djuana
   Devonne Owens              Diasha Goins               Cunningham
   Devonte Chattman           Diego Aleman               Dmitri Neskormnyi
   Devonte Johnson            Diego Castro               Dmitry Diskantov
   Devyn Burt                 Diego Garcia               Dolores Correa
   Devyn Fowler               Diego Garzon               Domeeka
   Dewaine Torregroza         Diego Murguia              Samuelson
   Dexter Arledge             Dieter Michaels            Domenic Limon
   Dexter White               Diew Tut                   Domingo Avalos
   Deyjonae Major             Dijea Mccuen               Dominic Cordova
   Dhani Carter               Dijonaye Avery             Dominic Mattera
   Dhestiny Orozco            Dijone Mcdonald            Dominic Pellegrino
   Diamond Bishop             Dijonna Hunter             Dominic Pita
   Diamond Durst              Dijonnaine                 Dominic Reynolds
   Diamond Hill               Meekins-Gordon             Dominic Tovar
   Diamond Romano             Dillon Benavides           Dominic Trevino
   Diamond Stanley            Dillon Smith               Dominica Robinson
   Diamond Valentine          Dimitri Long               Dominick Brock
   Diamonte Wiggins           Dina Elsahn                Dominique Abbott
   Dian Cota                  Dina Ousa                  Dominique
   Diana Abarca               Dina Posada                Alexander
   Diana Alcaraz              Dini Situmeang             Dominique Bennett
   Diana Barahona             Dinisha Howard             Dominique Foulks
   Diana Bibanco              Dinishia Jackson           Dominique Gillis
   Diana Bostan               Dinnah Feingold            Dominique Jackson
   Diana Franklin             Dino Tamburo               Dominique James
   Diana Gesner               Dion Hopkins Jr            Dominique Johnson
   Diana Maya                 Dion Ingram                Dominique
   Diana Romero               Dion Smith                 Lawrence
   Diana Solis                Dionel Felix               Dominique Levye
   Diana Ulsh                 Dionne Longino             Dominique Mcinnis
   Diana Yong                 Diontrell Burrell          Dominique Peace
   Dianna Cedeno              Diron Thomas               Dominique Silburn
   Dianna White               Ditanyol Fluker            Dominique Stanley
   Dianne Balneg              Djian Salgado              Dominique Warren

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   Dominque Hatchett          Donovan Gonzalez           Dsean Coward
   Domonique Barkey           Donovan Harvey             Dtiongae Harris
   Domonique Giles            Donsaneka Poole            Duane Hayes
   Domonique Harris           Donta Halbert              Dubois Jones
   Don Gillett                Dontae Willis              Duc Nguyen
   Donald Barry               Dontay Davis               Duncan Barton
   Donald Bowman              Donte Pleasant             Duran Davis
   Donald Brown               Dontey Ollie               Duriyah Baaree
   Donald Burrell             Donyea Richardson          Dustin Pellegrino
   Donald Castine             Donyell Williamson         Duy Vuong
   Donald Conkrite            Dooley Jonathan            Dvin Zargarian
   Donald Cook                Dophie Collazo             Dwayne Dugas
   Donald Elterman            Doreen Malinoski           Dwayne Mason
   Donald Grigsby             Dorian Dickerson           Dwight Lay
   Donald Runnels             Dorian Dudley              Dwight Welch
   Donald Salaam              Dorian Graham              Dwight Wyman
   Donald Tarver              Doris Melamed              Dylan Bell
   Donald Vann                Dorothea Brinson           Dylan Carter
   Donald Vernon              Dorothea Winn              Dylan Farmer
   Donald Winder              Dorothy Cartwright         Dylan Greer
   Donald Zhang               Dorothy Gonzalez           Dylan Haight
   Doni Elmer                 Dorothy Schenk             Dylan Kurz
   Donick Slaick              Dorothy Turner             Dylan Mabin
   Donielle Reasco            Dosha Wagner               Dylan Maharaj
   Doniyah Johnson            Doug Rickard               Dylan Miller
   Donjaye Roary              Douglas Miller             Dylan Miranda
   Donna Caffey               Drake Evans                Dylan North
   Donna Fontenot             Drake Irvine               Dylan Reece
   Donna Howe                 Dramain Culver-            Dylan Reese
   Donna Turner               Dupre                      Dylan Robinson
   Donnah Acosta              Drew Barnett               Dylan Stewart
   Donnell Peace              Drew Echols                Dyllan Williams
   Donnell Smith              Drew Kyler                 Dzaire Dallas
   Donny Wise                 Drew Luke                  D’Angelo Asberry
   Donovan Baxter             Drusilla Sanchez           Ealisa Beasley

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   Earl Daniel                Eduardo Becerra            Edwin Braggs
   Earl Moore                 Eduardo Castellanos        Edwin Cervantes
   Earl W James               Eduardo Cervantes          Edwin Deleon
   Earnest Lockhart           Eduardo Diaz               Edwin Hood
   Ebone Hendrix              Eduardo Figueroa           Edwin Hopkins
   Eboney Outlaw              Eduardo Flores             Edwin Jara
   Eboni Collins              Eduardo Kanter             Edwin Palacios
   Eboni Littlefield          Eduardo Lopez              Edwina Davis
   Ebonie Young               Eduardo Luna               Edwina Wheatley
   Ebonii Batiste             Eduardo Mellado            Effie Reynolds
   Ebony Frazier              Eduardo Ramirez            Efrain Colon
   Ebony George               Eduardo Rangel             Efrain Gonzalez
   Ebony Johnson              Eduardo Rosales            Bonifacio
   Ebony Mancha               Eduardo Vargas             Efrain Torres
   Ebony Spencer              Edwar Ferry                Efrem Bryant
   Eddie Cason                Edward Anson               Efren Navarra
   Eddie Chavez               Edward Argueta             Eghosa Ogbebor
   Eddie Ortiz                Edward Babayan             Eileen Alvarez
   Eddie Swain                Edward Brekhus             Eileen Chu
   Eddie Wheeler              Edward Davis               Eileen Torres
   Edgar Akopyan              Edward Estrella            Eileen Wilson
   Edgar Gonzales             Edward Galles              Eiram Espino
   Edgar Lopez Viva           Edward Gonzalez            Eisha Smith
   Edgar Lopez                Edward Harris              Elaine Parker
   Edgar Monterrosa           Edward Harrison            Elaine Tagoai
   Edgar Rios                 Edward Keemp               Elaine Yang
   Edgar Sandoval             Edward Lujan               Elan Lewis
   Edgardo Diaz               Edward Mardirosian         Elaura Hicks
   Edgardo Vista              Edward Mendez              Elawna Brown
   Edith Galvez               Edward Nunez Jr            Elbert Warner
   Edmund Michelin            Edward Rhambo              Elbert Williams
   Edmund Turner              Edward Schreiner           Eleana Melcher
   Edmund Wilson              Edward Stout               Eleanore Des
   Edson Valenzuela           Edward Valenzuela          Rosier-Fernandez
   Eduardo Alejo              Edward Varley              Elena Castro

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   Elena Gomez                Elizabeth                  Elliot Dennis
   Elena Miller               Bommarito                  Elliot Norberg
   Elena Ozhitskaya           Elizabeth Clausen          Ellis Norris
   Elexus Hunter              Elizabeth De La            Ellizar Abalos
   Eli Stewart                Torre                      Elmer Acevedo
   Elia Romero                Elizabeth                  Elsa Valdez
   Eliadar Cabrera            Dominguez                  Elsien Juarez
   Elias Argaw                Elizabeth Ellis            Elsworth Thompson
   Elias Fulmer               Elizabeth Escamilla        Elvia Chavez
   Elias George               Elizabeth Fina-            Elvia Madrigal
   Elias Kwafo                Jump                       Elvia Montano
   Elias Mendoza              Elizabeth                  Ely Wahba
   Eliel Banuelos             Gurumdzhyan                Elyas Nahavandi
   Eligio Reyes               Elizabeth Guzman           Elysia Cordero
   Elijah Brown               Elizabeth Kalmus           Emad Aiash
   Elijah Crutchfield         Elizabeth Lara             Emandy Helmer
   Elijah Fernandez           Elizabeth Lopez            Emanuel Arellano
   Elijah Langley             Elizabeth                  Emanuel Christian
   Elijah Mills               Maldonado                  Emanuel Hernandez
   Elijah Nawrot              Elizabeth Mason            Emanuel Sevilla
   Elijah Reyes               Elizabeth Mcallister       Emelia Armstead
   Elijah Shelton             Elizabeth Pena             Emely Reyes-
   Elijah Stavely             Elizabeth Rodriguez        Martinez
   Elisa Aguirre              Elizabeth Schroeder        Emer Mauldin
   Elisa Gonsalves            Elizabeth Seibert          Emet Block
   Elisa Vazquez              Elizabeth Vanesian         Emil Brown
   Eliseo Magana              Elizabeth Vigovskiy        Emilee Smith
   Eliseo Monclova            Elizabeth Williams         Emilia Gonzales
   Elisia Ramirez             Woods                      Emilio Duran
   Elissa Smith               Elizabeth Willson          Emilio Jimenez
   Elitza Lozada              Elizangela Guillen         Newgard
   Elizabeth Alsbury          Ella Criselda Luna         Emilio Orellana
   Elizabeth Bernard          Ella Fialkoff              Emily Andrews
   Elizabeth Blair            Ellen Abelar               Emily Andrewson
                              Ellesse Johnson            Emily Deleon

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   Emily Delos Santos         Eric Abolian               Erica Newport-
   Emily Friesen              Eric Alarcon               Hewitt
   Emily Hein                 Eric Burch                 Erica Richard
   Emily Lyons                Eric Camacho               Erica Silvas
   Emily Mccartney            Eric Castruita             Erica Stpierre
   Emily Mcpeters             Eric Causey                Erica Thompson
   Emily Mena                 Eric Chang                 Erica Wu
   Emily Mosqueda             Eric Crumes                Erich Knittel
   Emily Proctor              Eric Durbin                Erick Arellano
   Emily Saunders             Eric Echeverria            Erick Arriaza
   Emily Sicklesteel          Eric Fortier               Erick Flores
   Emily Skubik               Eric Gomez                 Erick Gallinar
   Emily Stevens              Eric Hughes                Erick Jensen
   Emily Torres               Eric Kelly                 Erick Martinez
   Emily Wakeling             Eric Liang                 Erick Mendez
   Emily Walker               Eric Lopez                 Erick Romero
   Emma Koffroth              Eric Murphy                Erick Ruiz
   Emma Sanchez               Eric Ochoa                 Ericka Frazier
   Emmalee Inlow              Eric Pearson               Ericka Malone
   Emmanuel Elendu            Eric Pierson               Ericka Poe
   Emmanuel Ledesma           Eric Pless                 Ericka Velasco
   Emmanuel Marquez           Eric Quezada-              Erik Anguiano
   Emmitt Daniels             Jackson                    Erik Bailey
   Emoni Jahsway              Eric Rivas                 Erik Gaudur
   Emrah Music                Eric Saenz                 Erik Gomez
   Eneka Cummings             Eric Wilkinson             Erik Inglada
   Eno Ekong                  Eric Wong                  Erik Iwashika
   Enrique Diaz               Eric Wright                Erik Orellana
   Enrique Equihua            Erica Barnett              Erik Ramirez
   Enrique Garcia             Erica Dawson               Erik Ruiz
   Enrique Leyva Jr           Erica Gray                 Erik Sanchez
   Enrique Mireles            Erica Ham                  Erik Tomblyn
   Enrique Ortega             Erica Jimenez              Erik Torres
   Eraline Terrones           Erica Mendoza              Erik Varho
   Erfan Ardestani            Erica Murray               Erika Andrade

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   Erika Ceja                 Esmerald Antunez           Eva Mouradian
   Erika Cruz                 Esmeralda Duenes           Evan Duerrstein
   Erika De Orellana          Esperanza Salado           Evan Halloran
   Erika Diaz                 Esperanza Vizoso           Evan Lewis
   Erika Gonzalez             Essence Lewis              Evan Mccormack
   Erika Harrington           Essence Wilson             Evan Pedri
   Erika Harris               Estefani Rojas             Evan Sidor
   Erika Jackson              Estefania Jimenez          Evan Snyder
   Erika Martinez             Estefany Olguin            Evan Thickstun
   Erika Pedroza              Estella Santos             Eve Gatewood
   Erika Romero               Estephania Melgoza         Eve Shafer
   Erin (Fen) Alankus         Estevan Guerrero           Evelece Hurskainen
   Erin Beck                  Esther Agwu                Evelin Echeverria
   Erin Berumen               Eswin Lopez                Evelyn Castro
   Erin Bourne                Ethan Baranowski           Evelyn Gutierrez
   Erin Burgess               Ethan Benavides            Evelyn Herrera
   Erin Dean                  Ethan Benelyahu            Evelyn Reams
   Erin Hicks                 Ethan Bowen                Evelyn Santos
   Erin Kelsaw                Ethan Fowler               Everton
   Erin Michele Soto          Ethan Mcvey                Cunningham
   Erin Murphy                Ethan Reznik               Evia Anderson
   Erin Pettitt               Ethan Schaller             Evon Martinez
   Ernanda Bendtsen           Etta Allen                 Ewart Battick
   Ernest Garcia              Eugene Aubrey              Exzavis Wilson
   Ernest Mota                Eugene Diaz                Ezekiel Gutierrez
   Ernesto Molina             Eugene Jackson             Ezequiel Alvizar
   Ernesto Viramontes         Eugene Reece               Ezequiel Olvera
   Ernie Guisande             Eugene Robinson            Fabian Chavez
   Ernie Todd Jr              Eugene Withrow             Fabian Gonzalez
   Errin Johnson              Eugene-Andrew              Fabian Knowles
   Erwin Hernandez            Sarmiento                  Fabian Salinas
   Erwin Portillo             Euriel Espinoza            Fabianne Theodule
   Erynn Kinch                Euriel Garcia              Fabio Magnelli
   Eshan Tan                  Eustace Bibby              Fabio Mendoza
   Eshuna Wilson              Eva Gosnell                Fabricio Vielmo

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   Faith Elliott              Felioe Cozachevici         Florinda Nava
   Faith Hill                 Felipe Carbajal            Floyd Sutherland
   Faith Viramontes           Felipe Mis                 Francene Jensen
   Farah Washington           Castaneda                  Frances Johnson
   Faraz Talab                Felipe Suarez              Frances Larranaga
   Farbod Rouhi               Felisha Calhoun            Frances Navarro
   Farhad Solati              Felisia Horton             Francesca
   Farhan Ali                 Felita Hammond             Montenegro
   Faris Memon                Felix Mendoza              Francia Barrera
   Farley Granger             Fern Miro                  Francine Zapanta
   Farnush Danesh             Fernando Alvarez           Francis Golokeh
   Faro Fernandez             Fernando Apodaca           Francis Hocke
   Faron Haggler              Fernando Barboza           Francis Zapanta
   Fatih Eyupoglu             Fernando Barrios           Francis Zaragoza
   Fatima Esquivel            Fernando Calderon          Francisco Casillas
   Fatima Fontenot            Fernando Martin            Francisco Cervantes
   Fatima Gil                 Del Campo                  Francisco Cleveland
   Fatima Radai               Fernando Miranda           Francisco Cortez
   Fatima Valdez              Fernando Salgado           Francisco Estrada
   Fatima Velasco             Fernando Sanchez           Francisco Garcia
   Fatimah                    Feyisola Ekisola           Francisco Guerra-
   Abdulraheem                Fidel Lepe                 Speer
   Faytavia Harris            Filash Sthapit             Francisco
   Feahoaki Tapopo            Fili Rodriguez             Hernandez
   Federico Barreiro          Filiberto Luis             Francisco Herrera
   Federico Sanchez           Fin Ortega                 Francisco Mccrary
   Felecia Johnson            Finn Rulofs-Jones          Francisco Medina
   Felicia Gunnell            Fiona Sharkey              Francisco Noguer
   Felicia Lee                Firsttest Troxeltest       Francisco Noguera
   Felicia Mello              Fitzum Beraki              Francisco Padilla
   Felicia Salazar            Flavio Campos              Francisco Perez
   Felicia Sanders            Fleshia Grigsby            Francisco Sepeda
   Felicia Sigala             Flor Gonzalez              Francisco Yepez
   Felicia Williams           Flor Sanchez               Francisco Yu
   Felieshea Coryell          Flor Tellez                Frank Alexander

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   Frank Bermudez             Freedom Tripodi            Gabrielle Dodaro
   Frank Brown Iv             Fuad Ahwal                 Gabrielle Gastelo
   Frank Bryant               Furmanni Little            Gabrielle Harris
   Frank Carbajal             Fusun Karabiyik            Gabrielle Madden
   Frank Chavez               Gabe Perkins               Gabrielle Ramos
   Frank Cotton               Gabi Brenes                Gal Ankri
   Frank Cristobal            Gabriel Airapetian         Galina Coleman
   Frank Hernandez            Gabriel Araya              Galya Miess
   Frank Lee                  Gabriel Ayala              Gamal Jinham
   Frank Lovato               Gabriel Ayanian            Ganeva Carroll
   Frank Miranda              Gabriel Ceja               Gannon Condon
   Frank Nunez                Gabriel Delapena           Garegin Sarkisian
   Frankie Buckley            Gabriel Gomez              Gariner Beasley
   Frankie Eileen             Gabriel Gonzalez           Garland Wady
   Gonzalez                   Gabriel Holguin            Garrett Bradley
   Frankie Gomez              Gabriel Johnson            Garrett Hughes
   Frankie Ridder             Gabriel Marquez            Garrett Johnson
   Franklin Carrasco          Gabriel Meacham            Garrett Kirk
   Franklin Yi                Gabriel Morales            Garrett Macmillan
   Fred Cantu                 Gabriel Nofuente           Garrett Sharp-Craig
   Fred Turner                Gabriel Tagnani            Garrett Souza
   Freddie Alexander          Gabriel Wolf               Garrick Velazquez
   Freddie Bluitt             Gabriela Arroyo            Garth Scott
   Freddie De Leon            Gabriela Czapek            Gary Akiona
   Freddie Fleming            Gabriela Gaspar            Gary Berryhill
   Freddie Patrick            Gabriela Gomez             Gary Crockett
   Freddy De Leon             Gabriela Gresham           Gary Dillon
   Freddy Espinoza            Gabriela Hernandez         Gary Hernandez
   Freddy Fernandez           Gabriela Mejia             Gary James Ii
   Freddy Moya                Gabriela Morfin            Gary Miner
   Frederick Boone            Gabriela Toscano           Gary Paulino
   Frederick Chambers         Gabriela Velasquez         Gary Vanleeuwen
   Frederick Hawkins          Gabriella Padilla          Gary Williams
   Frederick King             Gabriella Ridenour         Gashom Muhwezi
   Fredrick Staves            Gabrielle Bertolozzi       Gauranga Anthony

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   Gavin Dendy                Gerald Cager               Gilbert Perez
   Gavin Glenn                Gerald Choyce              Gilbert Reynoso
   Gavin Sanchez              Gerald Dorsey              Gilbert Rodriguez
   Gayane Avetisyan           Gerald Smith               Gilbert Ruiz
   Gayle Robinson             Gerald Stallings           Gilbert Sabalza
   Gayratjon                  Gerald Van Doren           Gilberto Ferreira
   Makhmudov                  Gerard Marmolejo           Gilberto Hernandez
   Gelanie Gonzalez           Aguilar                    Gilberto Morales
   Gelsyn Lopez               Gerard Miranda             Gillian Shaughnessy
   Genaro Morales             Gerard Rivera              Gillianne Zens
   Gene Fugate                Gerardo Barriga-           Gimante Nichols
   Gene Lee                   Tovar                      Gina Campagna
   Genesa Griffin             Gerardo                    Gina Cervantes
   Genesis Rojas              Bracamontes                Gina Hussamy
   Genesis Wester             Gerardo Cruz               Gina Jewell
   Genevieve Salazar          Gerardo Macias             Gina Martinez
   Genina Quezon              Gerardo Renteria           Gina Salcido
   Genny Morales              Gerardo Samayoa            Gino Perez
   Gensi Molina               Gerica Jones               Giovanni Branaugh
   Geoff Pughe                Gerika Odom                Giovanni Castillo
   Geoffrey Frank             Gerld Fain                 Giovanni Dal
   Geoffrey                   Germaine Blsdes            Bianco
   Kovacevich                 German Velasquez           Giovanni Estrada
   Geonelle Rose              Gerson Cardenas            Giovanni Khuri
   George Anthony             Gerson Ramirez             Giovanny Arriaga
   Garcia                     Gervon Simmons             Giovanny Cevallos
   George Atalla              Getachew Bekele            Giovonni Jackson
   George Gillette            Gevorg Asoyan              Gisela Barroso
   George Gonzalez            Ghani Sloan                Giselle Hernandez
   George Holliday            Giana Salinas              Giselle Portillo
   George Quinney             Giana Wright               Giselle Rivera
   George Siler               Giancarlo Vargas           Giselle Urbina
   Georgina Guzman            Gianell Nunez              Giselle Washington
   Gerad Patterson            Gilbert Gomez              Givens Estes
   Gerald Bogan               Gilbert Lopez              Gladys Largaespada

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   Gladys Stephens            Gregory Robledo            Haif Ali
   Glenford Gentle            Gregory Seiler             Hailee Martinelli
   Glenn Wilson               Gregory Silveira           Hakeem Hopkins
   Glennton Jones             Gregory Turner             Hakeem Turner
   Glodean Mimiko             Gregory                    Hakop Derbeshyan
   Gloria Flores              Washington                 Haley Burns
   Gloria Hernandez           Griffin Kaup               Haley Cruz
   Gloria Quevedo             Griselda Martinez          Haley Dipalma
   Gloria Stone               Griselle Ochoa             Haley Keller
   Gloria Ysaguirre           Guadalupe Acevedo          Haley Kruithoff
   Glory Granado              Guadalupe Arballo          Haley Labbee
   Gonzalo Gonzales           Guadalupe Martinez         Haley Savin
   Gordian Harris             Guadalupe Saucedo          Hamad Elshorbagi
   Gordon Hastings            Guadalupe Tenorio          Hamidah Ali
   Grace Begg                 Guadalupe Trejo            Hank Boone
   Gracemir Romeo             Guillermo Lavenant         Hanna Hernandez
   Grachya Oganesyan          Guillermo Martinez         Hanna Van Noland
   Graciela Mariscal          Guillermo Pantoja          Hannah Clower
   Graham Winchester          Guliette Bernard           Hannah Hale
   Graig Mitchell             Gumersindo                 Hannah Hastings
   Grant Broadway             Hernandez                  Hannah Nance
   Gray Amposta               Gunner Sexton              Hannah Schoenfield
   Greg Allen                 Gustavo Acuna              Hannah Widman
   Greg Farris                Gustavo Avelar             Hans Sanchez
   Greg Pinto                 Gustavo Gradilla           Hanz Sambo
   Greg Souza                 Gustavo J Torres           Hardeep Singh
   Gregor Zupanc              Gustavo Negrao             Harinder Sira
   Gregorgy Cormier           Gustavo Paredes            Harlan Burnett
                              Gustavo Reyes              Harley Lehrke
   Gregorio Frias             Guy Wojtanowski            Harmony Gerber
   Gregory Bandemer           Wojtanowski                Harmony Okeh
   Gregory Beavers            Gwendolyn Banks            Harold Gomez
   Gregory Belan              Gwenivere Maxwell          Harold Hogue
   Gregory De Vera            Hafid Smghar               Harpreet Kaur
   Gregory O’Connell          Haidee Gomez               Harris Payeah

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   Harris Shaikh              Hector Avila               Heshimu Arreguine
   Harrison Cameron           Hector Cortes              Hiba Khalid
   Harry Diaz                 Hector De La Paz           Hidy Chui
   Harut Khachikyan           Villalpando                Hien Huynh
   Hasan Alkhafaji            Hector Flores              Hillary Kahn
   Hasan Asrar                Hector Gagliardi           Hiram Altamirano
   Hasham Ahmed               Hector Martinez            Hiram Johnson
   Hasibullah Khan            Hector Montes              Hiram Mendoza
   Hassan Geele               Hector Sherman             Hoc Tiet
   Hassan Russell             Heidi Runyon               Hollie Hudson
   Hassan Stephens            Heidi Spencer              Holly Darrow
   Hatshepsut Krystal-        Heidi Valentine            Holly Nelson
   Kennon                     Heidy Castaneda            Holly Olvera
   Hayley Fouke               Heidy Peña                 Wilcox
   Hazel Carrillo             Heinrich Siedentop         Holly Shindledecker
   Hazel Thomas               Hektor Martinez            Holly Sisson
   Hazel Vivas                Helen Hunt                 Holy Leang
   Hazzel Figueroa            Helena Hines               Honest Omenai
   Heath Barnes               Helena Lucky               Honneshia Dees
   Heather Camacho            Henderson Donis            Hope Tannehill
   Heather De Vries           Henry Del Toro             Horacessa Robinson
   Heather Mansfield          Henry Duffy                Horacio Bermudez
   Heather Martinez           Henry Guevara              Horecee St.Cyr
   Heather Mcgovern           Henry Harris               Hosael Rivera
   Heather Mund               Henry Hermosillo           Hossein Pirouzian
   Heather Murphy             Henry Rivera               Hossein Sabouni
   Heather Nitto              Henry Roun                 Hovanes Petrosyan
   Heather Paavola            Henry Wilbur               Hovsep
   Heather Ridgill            Heriberto Nunex            Kamalmazyan
   Heather Scott              Heriberto Renteria         Howard Barnes
   Heather Shelton            Herman Wilson              Howard Gabe
   Heather Sinclair           Hernan Rivera-             Howard Kim
   Heather Ybarra             Gutierrez                  Howard
   Heaven Washington          Hero Tip                   Washington
   Heberte Oliveira           Hershey Carter             Hugo Alvarez

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   Hugo Del Aguila            Ilci Sanchez               Isaac Girley
   Hugo Martinez              Ildiko Nwaigwe             Isaac Lewis
   Hugo Mota                  Ileana Contreras           Isaac Lopez
   Hugo Rivas                 Iliana Cruz                Isaac Padilla
   Humberto Padilla           Iliana Fischer             Isaac Rae
   Hunter Thomas              Imad Jebril                Isaac Ramirez
   Hussain Obad               Iman Mivehi                Isaac Robinson
   Hyomi Eum                  Imani Mcdonald             Isaak Abreu
   Hyuk Ho                    Imani Shabazz              Isabel Bravo
   Hyworth Rutanhira          Imari Hill                 Isabel Hernandez
   Ian Brandt                 Imari Marin                Isabel Montiel
   Ian Crann                  Imari Mcclain              Isabel Soto
   Ian Farmer                 Imhotep Rasshan            Isabell Meza
   Ian Garcia                 India Mynatt               Isabella Fernley
   Ian Gearhart               India Wagoner              Isabella Garcia
   Ian Hendries               Indya Wade                 Isabelle Swanson
   Ian Liu                    Ingrid Berrio              Isai Hernandez
   Ian Padilla                Ingrid Finkle              Isaiah Davenport
   Ian Quill                  Ingrid Loiseau             Isaiah Hall
   Ian Taylor                 Irene Cervantes            Isaiah Henderson
   Ianna Weatherby            Irene Rodriguez            Isaiah Jackson
   Ianosha Peterson           Irene Sanders              Isaiah Magee
   Ibrahim Uren               Irene Solomon              Isaiah Shelby
   Ibtehaz Utsay              Iridiana Reza              Isaic Gonzalez
   Ida Abebe                  Irina Trusu                Isaih Kidd
   Idania Tapia               Iris Camacho               Islam Mugalli
   Idania Zuniga              Iris Ellington             Israel Barrios-
   Iesha Ghanem               Irma Vasquez               Bahena
   Ignacio Garcia             Irrne Quinata              Israel Chan
   Ignacio Vasquez            Irvine Ramos               Israel Estrada
   Ignatius Richardson        Irwin Arreguin             Israel Perez
   Igor Morozov               Isaac Acevedo              Israel Powe
   Ike Williams               Isaac Barrios              Issack Vaid
   Ilaisaane Latu-Afu         Isaac Castaneda            Isuru Muthumala
   Ilana Dingwall             Isaac Danhoff

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   Itaty Figueroa             Jackie Bustamante          Jacon Mccallister
   Arroliga                   Jackie Griffin             Jacquelin Williams
   Itzel Vargas               Jackie Kivranyan           Jacqueline Badua
   Ivan Lopez                 Jackie Mahassine           Jacqueline Castro
   Ivan Meza                  Jackie Nova                Jacqueline
   Ivan Morelos               Jackie Olague              Desmond
   Ivan Navarro               Jackson Stetson            Jacqueline Ingram
   Ivan Samoza                Jackson Theuer             Jacqueline Kregler
   Ivan Tapia                 Jacky Abichat              Jacqueline Pintily
   Iveryana Bufford           Jaclyn Bedford             Jacqueline Reotutar
   Ivett Gama                 Jacnei Thomas              Jacqueline Reyes
   Ivette Beckford            Jacob Ariaz                Jacqueline Stockton
   Ivette Ramirez             Jacob Cabrera              Jacqueline Talavera
   Ivon Mendez                Jacob Cooper               Jacqueline Turner
   Ivona Icochea              Jacob Donaldson            Jacqueline Vasquez
   Ivonne Arriaga             Jacob Goldstein            Jacqueline Warner
   Ivy Sinjur                 Jacob Gonzalez             Jacquelyn Dillon
   Ivy Wells                  Jacob Gutierrez            Jacquelynn Sears
   Iyahna Kelley              Jacob Halela               Jacquenette Johnson
   Iyare Ahanmisi             Jacob Hansen               Jacques French
   Iyaunti Yancey             Jacob Hawkins              Jacquetta Hurts
   Izzy Miranda               Jacob Hershey              Jacquie Pacheco
   J. Maria Putt              Jacob Leffler              Jaculyn Brown
   Jabari Gabriel             Jacob Lucas                Jada Bass
   Jack Gerrard               Jacob Lunbeck              Jada Layne
   Jack Kelley                Jacob Mccabe               Jada Wilson
   Jack Morgan                Jacob Mclaughlin           Jada Woodward
   Jack Rinderknecht          Jacob Mize                 Jade Charles
   Jack Stephenson            Jacob Radochonski          Jade Collins
   Jack Tankersley            Jacob Sanchez-             Jade Edmondson
   Jack Thurman               Paulsen                    Jade Howard
   Jack Tracy                 Jacob Sarryeb              Jade Mason
   Jack Travis                Jacob Sarryeh              Jade Ramirez
   Jackeline Mendoza          Jacob Weaver               Jade Reyes
   Jackelyne Garcia           Jacob Yarletz              Jade Stevens

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   Jade Worthington           Jakiyah Cabell             James Downard
   Jadeada Callis             Jakob Durante-             James Emory
   Jadelyn Rodriguez          Sunderland                 James Everett
   Jadie Stodomingo           Jakob Katchem              James Felix
   Jady Tyrell                Jakob Saucedo              James Fletcher
   Jae Matsumoto              Jakob Wolfe                James George
   Jah-Real Morris-           Jalani Benton              James Gibson
   Mills                      Jalen Placide              James Green
   Jahbryll Shelton           Jalin Warren               James Hanson
   Jahn Shelton               Jalynn Roane               James Hargrove
   Jahonna Bradford           Jamaal Beard               James Hill
   Jahrell Scott-Lang         Jamaal Hicks               James Knight
   Jahve Smith                Jamaal Martin              James Kotleba
   Jai Wilburn                Jamaal Starks              James Linzy
   Jaieree Barnes             Jamae Sims                 James Macfarlane
   Jaime Carrasco             Jamaica Brooks             James Magayanes
   Jaime Hayes                Jamal Martinez             James Malbrough
   Jaime Lopez                Jamal Rashid               James Mark
   Jaime Pope                 Jamana Lenoir              James Maxey
   Jaimi Glover               Jamar Bryant               James Mullins
   Jaimie Sanderson           Jamar Jenkins              James Naatz
   Jainetra Burgo             Jamar Nelson               James Neff
   Jairo Beltran              Jamari Welch-              James Nolte
   Jairo Gonzalez             Mccullough                 James Obrien
   Jairo Maravilla            Jamed Townsend             James Pedley
   Jairon Lingad              Jamela Callum              James Quijano
   Jairus Holt                Jamella Perkins            James Reeder
   Jaivonte Logan             Sorko-Ram                  James Romero
   Jake Kenny                 James Ascencio             James Rose
   Jake Torrence              James Baqleh               James Rozell
   Jake Yun                   James Border               James Sanabria
   Jake Zalenski              James Butler Iii           James Sylvers
   Jake Zamira                James Contreras            James Tran
   Jakell Wright              James Czech                James Unsinn
   Jakiea Taylor              James Desatoff             James Vergara

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   James Von Spiegel          Jammy Gutierrez            Janriel Lobaton
   James Ward                 Jamonnie Price             Jantae
   James Watlington           Jamye Wallace              Weatherspoon
   James Welch                Janae Young                Japheth Chin
   James West                 Janay Briscoe              Japheth Craig
   Jamesha Fitzpatrick        Janay Guerrero             Jaquala Hairston
   Jamey Steely               Jandie Weber               Jaquan Madyun
   Jami Bowie                 Jane Goncharova            Jaquan Washington
   Jamichael Mays             Jane Sims                  Jaquaya Hall
   Jamie Bender               Janean Dehart              Jaqueline
   Jamie Brackett             Janel Marcelo              Hernandez
   Jamie Cavoulas             Janel Sandoval             Jaqueline Rivera
   Jamie Clark                Janelle Allen              Jaquelyn Jessup-
   Jamie Clarke               Carson                     Pulver
   Jamie Davidson             Janelle Busch              Jared Brown
   Jamie Dennis               Janelle Rodarte            Jared Carroll
   Jamie Groesbeck            Janelle Thomas             Jared Doi
   Jamie Howard               Janeska Francisco          Jared Green
   Jamie Johnston             Janet Hu                   Jared Raun
   Jamie Lemon                Janet Turner               Jared Stoltzfus
   Jamie Liebenberg           Janete Avila               Jarett Pedroza
   Jamie Mercurio             Janeva Perry               Jarid Kazemier
   Jamie Redmond              Jani Polk                  Jaron Degen
   Jamie Scott                Jania Jackson              Jaron Onorati
   Jamie Wilson               Janice Naranjo             Jarone Nash
   Jamie Wood                 Janika Wilborn             Jarrett Alarcon
   Jamika Johnson             Janila Joseph              Jarrett Blankenship
   Jamil Brewer               Janina Lynch               Jarrett Brown
   Jamil Gray                 Janine Lafrontiere         Jarrett Pruitt
   Jamil West                 Janine Lamont              Jarrod Mcclellan
   Jamila Smith               Janis Peterson             Jarrod Weber
   Jamila Williams            Janita Mcneal              Jarvis Lewis
   Jamila Wright              Jannessie Solis            Jarvis Upshaw
   Jamilya Taylor             Jannet Lawrence            Jarya Mack
   Jammal Edwards             Jannette Fuentes           Jascinth Bogle

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   Jasha Williams             Jasmine Pittman            Jason Henriquez
   Jashawnah Ha               Jasmine Pollard            Jason Higginson
   Jashell Smith              Jasmine Ramirez            Jason Ingalsbe
   Jashon Roque               Jasmine Ruiz               Jason Jennings
   Jasmen Perkins             Jasmine Saba               Jason Kim
   Jasmiene Wallace           Jasmine Sevilla            Jason Leon
   Jasmim Daniels             Jasmine Shelton            Jason Marlow
   Jasmin Fields-Perez        Jasmine Sims               Jason Marshall
   Jasmin Gutierrez           Jasmine Snow               Jason Martir
   Jasmin Norman              Jasmine Trice              Jason Mccall
   Jasmin Santana             Jasmine Valencia           Jason Messinger
   Jasmine Agee               Jasmine Whitley            Jason Mitchell
   Jasmine Brown              Jason Alonso               Jason Mizutani
   Jasmine Caldwell           Jason Atkinson             Jason Oschin
   Jasmine Cephas             Jason Barrera              Jason Russo
   Jasmine Cherry             Jason Batista              Jason Scheel
   Jasmine Chovan             Jason Bing You             Jason Schultz
   Jasmine Davis              Jason Black                Jason Sedillos
   Jasmine Dobbins            Jason Boggs                Jason Simmons
   Jasmine Dy                 Jason Bourgeois            Jason Stachowiak
   Jasmine Espinoza           Jason Brodsky              Jason Tibaquira
   Jasmine Esquivel           Jason Calhoun              Jason Trainor
   Jasmine Flewellen          Jason Carter               Jason Tu
   Jasmine Gates              Jason Crain                Jason Turgeon
   Jasmine Givens             Jason Day                  Jason Watson
   Jasmine Habelt             Jason Dayap                Jason Youniacutt
   Jasmine Holiday            Jason Faustino             Jasper Wilde
   Jasmine Howard             Jason Floyd                Jassmin Morales
   Jasmine Jauregui           Jason Foster               Jauan Blueford
   Jasmine Johnson            Jason Gibbs                Javae Valentine
   Jasmine Keyes-             Jason Golani               Javier Carrillo
   Galdamez                   Jason Gontarek             Javier Estrada
   Jasmine Martin             Jason Greenhill            Javier Longoria
   Jasmine Mccurty            Jason Gutierrez            Javier Magana
   Jasmine Navarrete          Jason Heman                Javier Meraz

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   Javier Partida             Jazmine Brokaw             Jeffery Barnes
   Javier Ponce               Jazmine Chase              Jeffery Hernandez
   Javier Ruvalcaba           Jazmine Delifus            Jeffrey Bertollini
   Javiera Aros               Jazmine Doby               Jeffrey Nevels
   Javlyn Woods               Jazmine Meyers             Jeffrey Northover
   Javon Kirk                 Jazmine Porter             Jeffrey Obrien
   Javone Coleman             Jazmine West               Jeffrey Pitman
   Javonte Cross              Jazmine Zaragoza           Jeffrey Roberts
   Jaxs Calderon              Jazminn Gabriel            Jeffrey Roninson
   Jay Brumm-                 Jazmyn Pratt               Jeffrey Rosado
   Marcucci                   Jazmyne Peters             Jeffrey Santiago
   Jay Jaramillo              Jazsmine Tuitt             Jeffrey Scott
   Jay Laurentino             Jazz Serfontein            Jeffrey Tucker
   Jay Mendoza                Jazzlyn Liggins            Jeffrey Turner
   Jay Wong                   Jazzmena Stewart           Jeffrey Wanderlingh
   Jayce Kalinkewicz          Jazzmine Atkins            Jeffrey Wharry
   Jayce Millican             Jazzmine Ewell             Jeffrey Winterbauer
   Jayce Napoles              Jazzmon Frost              Jelani Bandele
   Jaycel Medina              Jean Page                  Jemeia Hope
   Jaycob James               Jean-Michael               Jena Woodfork
   Jaydie Mendoza             Bullock                    Jenae Barber
   Jaye Minor                 Jeanette Cejudo            Jenay Brown
   Jaylan Kimbrough           Jeanette Gonzalez          Jenee Branch
   Jaylin Blannon             Jeanette Ibrahim           Jenell Aguirre
   Jaylin Walker              Jeanna Bernal              Jenetta Howard
   Jaynessa Cash              Jeanna Hibbitt             Jeni Aguirre
   Jaysean Berndt             Jeannett Schrier           Jenifer Yang
   Jaysfer Duarte             Jeannette Ephraim          Jenine Stallworth
   Jayson Bala                Jeannie Hazell             Jenna Gulla
   Jayson Palacios            Jeannie Taliaferro         Jenna Sherman
   Jayson Rose                Jecenia Trinidad           Jennie Alleyne
   Jazen Anderson             Jeff Dube                  Jennifer Adrian
   Jazionae Leverette         Jeff Foster                Jennifer Barkley
   Jazmaine Mitchell          Jeff Kamminga              Jennifer Boson-
   Jazmin Menendez            Jeff O'Toole               Harris

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   Jennifer Brown             Jennifer Myers             Jeremy Foster
   Jennifer Casanova          Jennifer Nickerson         Jeremy Gaebe
   Jennifer Clements          Jennifer Panici            Jeremy Guidry
   Jennifer Contreras         Jennifer Picha             Jeremy Jones
   Jennifer Corrales          Jennifer Price             Jeremy Marchand-
   Jennifer Dandy             Jennifer Puga              Araica
   Jennifer Dokey             Jennifer Ripoll            Jeremy Mataalii
   Jennifer Eyler             Jennifer Rodriguez         Jeremy Mitchell
   Jennifer Garcia            Jennifer Ross              Jeremy Nila
   Jennifer Gibbings          Jennifer Saucedo           Jeremy Okeson
   Jennifer Goebel            Jennifer Shanks            Jeremy Park
   Jennifer Good              Jennifer Sierra            Jeremy Payne
   Jennifer Granderson        Jennifer Smoisman          Jeremy Rivette
   Jennifer Griffin           Jennifer Sommer            Jeremy Rose
   Jennifer Guinn             Jennifer Strach            Jeremy Walkwitz
   Jennifer Guzman            Jennifer Velazquez         Jeremy Yi
   Jennifer Hanson            Jennifer Yokobori          Jerilyn Medina
   Jennifer Hawkins           Jenny Goren                Jeris Randolph
   Jennifer Herbert           Jentela Deloney            Jermaine Collins
   Jennifer Hernandez         Jercho Morales             Jermaine Harper
   Jennifer Johnson           Jerell Elder               Jermaine Smith
   Smith                      Jeremiah Beck              Jermaine Watson
   Jennifer Jones             Jeremiah Melton            Jermel Barnes
   Jennifer Koepsell          Jeremiah Pearson           Jerome Cataag
   Jennifer Lee Serna         Jeremiah Robinson          Jerome Claro
   Jennifer Lee               Jeremiah Rumias            Jerome Grimm
   Jennifer Lloyf             Jeremiah Wright            Jerome Joseph
   Jennifer Mc Manis          Jeremy Ajaebo              Jerome Mateo
   Jennifer Medina            Jeremy Castañeda           Jerome Teofilo
   Jennifer Mendez            Litz                       Jerred Berg
   Jennifer Menendez          Jeremy Crossley            Jerrel Thomas
   Jennifer Miars             Jeremy Delgado             Jerrell Jordon
   Jennifer Miles             Jeremy Faccone             Jerry Bolanos
   Jennifer Montarello        Jeremy Faraone             Jerry Brewer
   Jennifer Moser             Jeremy Farris              Jerry Gallardo

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   Jerry Ismerio              Jessen Shields             Jessica Reynolds
   Jerry Morgan               Jessica Ann                Jessica Ruley
   Jerry Mulvaney             Hollenbaugh                Jessica Sanchez
   Jerry Paniagua             Jessica Bailey             Jessica Sanders
   Jerry Villafuerte          Jessica Campbell           Jessica Schirmer
   Jeselle Tashchian          Jessica Casad              Jessica Schutz
   Jess Blighton              Jessica Castilla           Jessica Sharples
   Jess Burris                Jessica Cookson            Jessica Smith
   Jess Withey                Jessica Cortez             Jessica Solano
   Jesse Andres               Jessica Cuevas             Jessica Soto
   Jesse Barlow               Jessica Diener             Jessica Sproule
   Jesse Bourke               Jessica Duenas             Jessica Stembridge
   Jesse Cabrera              Jessica Escalona           Jessica Stockwell
   Jesse Carter               Jessica Espinoza           Jessica Velasquez
   Jesse Einhorn-             Jessica Feiler             Jessica Wiard
   Johnson                    Jessica Fuentes            Jessica Wilgus
   Jesse Escobedo             Jessica Gardner            Jessica Wolfe
   Jesse Gaxiola              Jessica Gary               Jessica Yacarini
   Jesse Gonzales             Jessica Greene             Jessica Yanez
   Jesse Guajardo             Jessica Guerra             Jessie Alvarez
   Jesse Gutterman            Jessica Hart               Jessie Echeverria
   Jesse Harris               Jessica Howe               Jessie Lograsso
   Jesse Heredia              Jessica Islas              Jessie Williams
   Jesse Herrera              Jessica Lenz               Jessy Cruz
   Jesse Jeronimo             Jessica Lizama             Jessyka Walker
   Jesse King                 Jessica Mantz              Jestina Campbell
   Jesse Lopez                Jessica Marvin             Jesus Acobes
   Jesse Moreno               Jessica Montero            Jesus Baeza
   Jesse Paz                  Jessica Moorhead           Jesus Castillo
   Jesse Ramirez              Jessica Morales            Jesus Chavez
   Jesse Ramos                Jessica Paul               Jesus Contreras
   Jesse Romero               Jessica Poppe-             Jesus Cuenca
   Jesse Runalls              Clifton                    Jesus Fernandez
   Jesse Stewart              Jessica Quintero           Jesus Gallegos
   Jesse Wallace              Jessica Reyes              Jesus Gomez

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   Jesus Gonzalez             Jimmy Phillips             Joe Hernandez
   Jesus Guerrero             Jimmy Salazar              Joe Reynolds Jr
   Jesus Martinez             Jimmy Sandoval             Joe Ryan
   Jesus Nava                 Jimmy Walton               Joe Salazar
   Jesus Norona               Jinbae Jung                Joel Bravo
   Jesus Orendain             Jing-Xi Cheng              Joel Camarena
   Jesus Peralta              Jinjoo Padilla             Joel Herrera
   Jesus Perez                Jinsheng Zhou              Joel Kiflu
   Jesus Quintero             Joaldi Diaz                Joel Majeno
   Jesus Salguero             Joan Domhoff               Joel Noprada
   Jesus Sepulveda            Joana Jimenez              Joel Saenz
   Jesus Torres               Joana Valdovinos           Joel Trout
   Jesus Trujillo             Joanna Dixon               Joel Walker
   Jesus Urrea                Joanna Ramirez             Joelle Bartkins
   Jetia Dubard               Joanna Sims                Joelle Silver
   Jetta Newton               Joanna Taylor              Joewe Low
   Jevonte Mcclease           Joanne Clark               Joey Arvizu
   Jewell Williams            Joanne Jabonillo           Joey Little
   Jewiano Turner             Joanne Westpoint           Joey Walker
   Jezarelle Lopez            Joaquin Brunie             Joh Green
   Jeze Zankich               Joaquin Moreno             Johanna Faruq
   Jhon Pol Visuete           Jocelyn Campuzano          Johanna Magnuson
   Mc Barnette                Jocelyn De Anda            Johanna Santolalla
   Jhordan Daniels            Jocelyn Jimenez            John Arroyo
   Jill Burke                 Jocinda Benjamin           John Baca
   Jill Nieto                 Jodi Kern                  John Barrero
   Jillian Armendariz         Jodi Smith                 John Calderon
   Jim Bailey                 Jodie Mach                 John Caringer
   Jim Mcerlean               Jody Golding               John Castro
   Jimae Fulton               Jody Pavon                 John Choi
   Jimmie L Stovall           Joe Alanes                 John Cina
   Jimmie Rolla               Joe Burrus                 John Clever Caluza
   Jimmy Gonzales             Joe Chavez                 John Cordova
   Jimmy Nakahara             Joe Dominguez              John Cruz
   Jimmy Orozco               Joe Harris                 John Dorsey

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   John Gannon                John Wall                  Jon Yagle
   John Geanakos              Johnathan Crouch           Jonah Cook
   John George                Johnathan Gardner          Jonah Friedman
   John Gibson                Johnathan Grimm            Jonahthan Mitchell
   John Gutterman             Johnathan Herring          Jonathan Aguirre
   John Higares               Johnathan                  Jonathan Austin
   John Hogue                 Lemmons                    Jonathan Barker
   John Holmes                Johnathan Roberts          Jonathan Beltran
   John Hooks                 Johnathan Truong           Jonathan Bird
   John Hoskins               Johnedel Chaneco           Jonathan Burgos
   John Ibe                   Johnetta Smith             Jonathan Burke
   John Laguna                Johnnae Sanders            Jonathan Burlaza
   John Larotonda             Johnnetta Fisher           Jonathan Campos
   John Lawler                Johnnie Kimberling         Jonathan Carter
   John Long Iii              Johnny Banks               Jonathan Chaj
   John Loper                 Johnny Beckham             Jonathan Coen
   John Lopez                 Johnny Garcia              Jonathan Dunn
   John Lorenz                Johnny Gonzalez            Jonathan Eta
   John Lujan                 Johnny Nicholas            Jonathan Farach
   John Mcdonie               Johnny Palmer              Jonathan Fishet
   John Minn                  Johnny Quintana            Jonathan Fisk
   John Mueller               Johnny Ray                 Jonathan Flores
   John Novoa                 Johnny Sapp                Jonathan Goins
   John Onomhen               Johnny Tajalle             Jonathan Gomez
   Iyere                      Johnny Vera                Jonathan Goodner
   John Owens                 Joi Adams                  Jonathan Green
   John Polvi                 Joi Ellis                  Jonathan Grefalda
   John Portis                Joii Munson                Jonathan Howze
   John Romano                Joke Oroye                 Jonathan Jacko
   John Shelburne             Jon Adams                  Jonathan Lechuga
   John Squires               Jon Hoffman                Jonathan Lesane
   John Stirrat               Jon Irving                 Jonathan Limon
   John Stroy                 Jon Lomeli                 Jonathan Lisan
   John Tabor                 Jon Pantel                 Jonathan Lott
   John Tucci                 Jon Qualls                 Jonathan Lubbe

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   Jonathan Lugo              Jordan Griffith-           Jorge Arreola
   Jonathan May               West                       Jorge Bellon
   Jonathan Moore             Jordan Harris              Jorge Cardenas
   Jonathan Mota              Jordan Heacock             Jorge De La Torre
   Jonathan Ortega            Jordan Heathcott           Jorge Farelas
   Jonathan Osuna             Jordan Holt                Jorge Flores
   Jonathan Pallares          Jordan Joshua              Jorge Garrido
   Jonathan Paz               Jordan Lago                Jorge Gomez
   Jonathan                   Jordan Madrid              Jorge Izquierdo
   Pichedwatana               Jordan Mcafee              Jorge Jimenez
   Jonathan Pinegar           Jordan Mcnair              Jorge Medina
   Jonathan Rocha             Jordan Menyfield           Jorge Rabago
   Jonathan Schrier           Jordan Moravec             Jorge Rios
   Jonathan Seiberling        Jordan Patrick             Jorge Romero
   Jonathan Signor            Jordan Sakovich            Jorge Vega
   Jonathan Thomas            Jordan Schaub              Jorge Velazquez
   Jonathon Freeman-          Jordan Scotti              Jose A Ledesma
   Anderson                   Jordan Square              Jose Batres
   Jonathon Lindsey           Jordan Turner              Jose Calderon
   Jonathon Moore             Jordan Uson                Jose Campos
   Jonee Johnson              Jordan Valentine           Jose Cardenas
   Jonice Williams            Jordan Vanegas             Jose Castro
   Jonise Ganaway             Jordan Watts               Jose De Leon
   Jonnie Gooding             Jordan Wilkerson           Jose Diaz
   Jontila Roberts            Jordan Wolz                Jose Esparza-
   Jordan Bracamontes         Jordin Hammud              Marquez
   Jordan Butler              Jordin Mayes               Jose Frazier
   Jordan Cuellar             Jordon Baker               Jose Gonzalez
   Jordan Durant              Jordon Bell                Jose Gracian
   Jordan Ellis               Jordon Doddy               Jose Gutierrez
   Jordan Esparza             Jordon Gregory             Jose Herrera
   Jordan Fierro              Jordon West                Jose Iturbe
   Jordan Friedman            Joresha Anderson           Jose Martin Zarate
   Jordan Fritz               Jorge Aguilar              Jose Mascorro
                              Jorge Alcala               Jose Negrete

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   Jose Ortega                Joseph Dosch               Joseph Sullivan
   Jose Pacheco               Joseph Fargnoli            Joseph Sze
   Jose Palma                 Joseph Grubbs              Joseph Thorne
   Jose Quintero              Joseph Hall                Joseph Torrecillas
   Jose Refugio Romo          Joseph Hamilton            Joseph Williams
   Arias                      Joseph Hedspeth            Joseph Wooldridge
   Jose Rios                  Joseph Herrera             Josephina Espinoza
   Jose Sorto                 Joseph Hopster             Josephine Carig
   Jose Sosa                  Joseph Jones               Josephine Walter
   Jose Valencia              Joseph Komolafe            Josh Abrams
   Jose Valentin              Joseph Leach               Josh Fisher
   Jose Varela                Joseph Lee                 Josh Gutierrez
   Jose Villagomez            Joseph Leon-               Josh Jones
   Jose Zarate                Guerrero                   Josh King
   Josean Posey               Joseph Lira                Josh Oconnor
   Josef Warto                Joseph Mangiardi           Josh Ramirez
   Josefina Hernandez         Joseph Martin              Josh Rea
   Joselyn Carias             Joseph Mayo                Josh Russaw
   Joseph Alexander           Joseph Mcclendon           Josh Wallace
   Joseph Alfresco            Joseph Mcconico            Joshua Auger
   Joseph Anguiano            Joseph                     Joshua Becket
   Joseph Baker               Montesclaros               Joshua Cade
   Joseph Barra               Joseph Navarro             Joshua Campbell
   Joseph Beasley             Joseph Nunez               Joshua Carle
   Joseph Black               Joseph Pallares            Joshua Carter
   Joseph Blocker             Joseph Parra               Joshua Chang
   Joseph Bradley             Joseph Payan               Joshua Cosenza
   Joseph Bryant              Joseph Piernas             Joshua Davis
   Joseph Calmelat            Joseph Poblano             Joshua Drake
   Joseph Camacho             Joseph Riggs               Joshua Duaine
   Joseph Carr                Joseph Rinaldi             Joshua Dunlap
   Joseph Chavez              Joseph Santiago            Joshua Fimbres
   Joseph Collings            Joseph Scales              Uriarte
   Joseph Corrales            Joseph Starick             Joshua Frakes
   Joseph D Gonzales          Joseph Suk                 Joshua Gonzalez

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   Joshua Hawkins             Joshua Waxman              Juan Gama
   Joshua Hough               Joshua Younessian          Juan Gomez
   Joshua Jeffers             Joshuadaniel               Juan J. Jr Najar
   Joshua Jimenez             Livingston                 Juan Juarez
   Joshua Kohler              Josiah Ochoa               Juan Laureano
   Joshua Labovitz            Josphat Gathwara           Juan Lujan
   Joshua Lampley             Josue Alas                 Juan Markos
   Joshua Leibowitz           Josue Rodriguez            Juan Meraz
   Joshua Lopez               José Luis Cruz             Juan Mercier
   Joshua Marshall            Joua Yang                  Juan Navarro
   Joshua Mcghee              Journie Johnson            Juan Niebla
   Joshua Minor               Jovanna Delara             Juan Pablo Morales
   Joshua Moore               Jovi Panes                 Juan Rangel
   Joshua Morris              Jovon White                Juan Rios
   Joshua Nila                Joy Brown                  Juan Rueda
   Joshua Oneal               Joy Kennelly               Juan Salvador
   Joshua Ortega              Joy Norwood                Juan Vidal
   Joshua Overbey             Joyce Fransson             Juan-Carlos
   Joshua Park                Joyce Perkins              Villasenor
   Joshua Poole               Joyce Salt                 Juana Del Villar
   Joshua Raketich            Joyce Tagoai               Juana Garcia
   Joshua Reyes               Joynoel Elett              Juana Lopez
   Joshua Richardson          Joys Gutierrez             Juanisha Jury
   Joshua Rodriguez           Json Wigley                Juanita Mckinstry
   Joshua Rossi               Juan Anaya                 Juanita Ramos
   Joshua Santor              Juan Armijos               Juannette Ross
   Joshua Smith               Juan Ayala                 Jude Garcia
   Joshua Solla               Juan Cardoso               Judith Aimable
   Joshua Suchovsky           Juan Carlos Chavez         Judith Carr
   Joshua Suhaimi             Garcia                     Judith Vargas
   Joshua Swogger             Juan Chavez                Judy Dagostino
   Joshua Torres              Juan David Alvarez         Judy Fisher
   Joshua Villegas            Juan De Leon               Julene Lindsey
   Joshua Vincent             Juan Espinoza              Julia Alfaro
   Joshua Ward                Juan Felix                 Julia Almeida

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   Julia Dietrich             Julie Koenig               Justin Briggs
   Julia Fetter               Julie Luis                 Justin Bryant
   Julia Mccurdie             Julie Macias               Justin Buckner
   Julia Rivas                Julie Nguyen               Justin Caffier
   Juliah Lee                 Julie Taylor               Justin Chambers
   Julian Banks               Julie Vukovich             Justin Chapman
   Julian Bonfiglio           Julieann Fegan             Justin Chupo
   Julian Burres              Julien Obregon             Justin Dyer
   Julian Castillo            Julien Preuss              Justin Ford
   Julian Fields              Juliet Hernandez           Justin Foy
   Julian Godines             Juliette Robinson          Justin Gilson
   Julian Hacquebard          Julio Lara                 Justin Holman
   Julian Herrera             Julio Rivera               Justin Hutsona
   Barajas                    Julio Sanchez              Justin Ibarra
   Julian Hurst               Julio Segura               Justin Intal
   Julian Mccrann             Julis Horn                 Justin Johnson
   Julian Ramirez             Julis Howard               Justin Jophryn
   Julian Sanders             Julisa Davis-              Justin Katayama
   Julian Shimizu             Moreno                     Justin Kim
   Julian Ufano-Leon          Julissa Castro             Justin Lankford
   Julian Villanueva          Julius Giles               Justin Leonard
   Julian Villegas            Jullianne Tolentino        Justin Ly
   Julian Watts               June Mccord                Justin Mabini
   Julian Wright              June Tyler                 Justin Mcdonald
   Juliana Kodz               Juneanne Mitchell          Justin Napier
   Julianita Orozco           Jungho Song                Justin Olson
   Juliann Fritz              Junia Fields               Justin Perkins
   Julianna Burrows           Junior Perez               Justin Quintana
   Julianna La Fon            Junior Rocha               Justin Saavedra
   Julie Aguilar              Juray Sessions             Justin Salamanca
   Julie Baxter               Justice Jones              Justin Selig
   Julie Cruz                 Justin Ashouri             Justin Sharp
   Julie Darbouze             Justin Auguste             Justin Simmons
   Julie Gamiochipe           Justin Bataclan            Justin Stapleton
   Julie Harris               Justin Bradish             Justin Stokes

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   Justin Trinh               Kain Gamble                Kandice O_Neal
   Justin Turner              Kaira Jatan                Kaneetria Parker
   Justin Warnick             Kaithlyn                   Kaneisha Grim
   Justin Wested              Huntington                 Kanesha Duffie
   Justin Williams            Kaitlin Cano               Kanesha Williams
   Justin Yun                 Kaitlin Kidder             Kanisha Mcclain
   "Justin Zaragoza,"         Kaitlyn Chan               Kaniya Johnson
   Justine Bevans             Kaitlyn Jackson            Kapricia Calloway
   Justis Royster             Kaitlyn Jeffries           Kara Bruynell
   Justus Ramos               Kaitlyn Padilla            Kara Smith
   Juvenal Salgado            Kaitlynn Carmell           Karan Wadhwa
   Cordova                    Kaitlynn Sargent           Kareem Brown
   Juwan Boswell              Kaley Brown                Karen Deville
   Jwaun Griffin              Kaley Klaiber              Karen Gomez
   Ka Lani White              Kalifa Madden              Karen Grisham
   Kaalel Sommons-            Kalihya Hayes              Karen Irving
   Geddins                    Kalina Mccreery-           Karen Kelly
   Kaaterine Diaz             Navis                      Karen Medina
   Sanchez                    Kaliroi Papoutsis          Karen Sarkisian
   Kacey Henning              Kalon Mikle                Karen Scott
   Kacey Soriano              Kalu Ekeh                  Kari Moore
   Kacy Oard                  Kalyle Williams            Karina Agadjanova
   Kadar Pierre               Kalyn Daffrey              Karina Beeler
   Kade Massey                Kalyn Scanlan              Karina Lira
   Kadee Cotton               Kalynn Miles               Karina Monteagudo
   Kadeem Pearson             Kalysta Mayer              Karina Salgado
   Kaden Atyim                Kamal Nagra                Karissa Delgado
   Kaela Weathers             Kamar Reese                Karissa Smith
   Kahdijah Jihad             Kamela Nichols             Karissa Williams
   Kai Hamill                 Kamia Riley                Karl Farris
   Kai Williams               Kamilah Singleton          Karla Ayala
   Kai Yeung Chan             Kamilla Itskan             Karla Barbosa Del
   Kaichaun Preyer            Kamille Floyd              Roble
   Kailah Gallegos            Kamryn Chin                Karla Cook
   Kailahn Omar               Kamure Kizart              Karla Escamilla

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   Karla Magana               Kathryn Ash                Kayla Baik
   Karla Quintero             Kathryn Koshenina          Kayla Boykin
   Karla Williams             Kathryn Maldonado          Kayla Cole
   Karlyn King                Kathryn Parker             Kayla Haynes
   Karsten Wethington         Kathryn Valle              Kayla Johnston
   Karyn Federico             Kathy Consul               Kayla Larson
   Karyn Richardson           Kathy Maier                Kayla Miles
   Kasdon Massey              Kathy Tatick               Kayla Miller
   Kasey Brandt               Katie Callen               Kayla Rosado
   Kasha Bussell              Katie Dunn                 Kayla Schaible
   Kasha Covington            Katie Jackson              Kayla Scott
   Kashka Washington          Katie Loftin               Kayla Shriver
   Kassandra Cordero          Katie Mcintyre             Kayla Thornton
   Kassandra                  Katie Moore                Kayla Williams
   Escarcega                  Katie Orozco               Kaylahh Willis
   Kassidy Long               Katie Ryan                 Kaylease Marquez
   Kate Rosales               Katie Youngers             Kayleen Smith
   Katelynn Jones             Katlyn Young               Kaylen Poole
   Katelynn Meyer             Katlynn Fagan              Kayley Salla
   Katelynn Ortiz             Katriece Miskowicz         Kaylin Orr
   Katharine Guzenski         Katrina Ealy               Kaytlin Jackson
   Katharine Lawson           Katrina Moore              KD Beebe
   Katherine Bautista         Katrina Quiroz             Keanu Henry
   Katherine Blunt            Katrina Sarkisian          Kearia Asberry
   Katherine Cerna            Katy Ford                  Kearra Hess
   Katherine                  Kaurie Notzon              Keegan Simkins
   Hernandez                  Kavanah                    Keenan Ocansey
   Katherine Lamb             Montgomery                 Keetonia
   Katherine                  Kaveh                      Richardson
   Oganesyan                  Hosseinzadeh               Kefentse Karim
   Katherine Sloan            Kavin Lee                  Kehau Naope
   Kathleen Flores            Kawaquana West             Kehinde Oshodi
   Kathleen Kelley            Kay Petr                   Kehyona Johnson
   Kathleen Kettering         Kayesha Allen              Keiaikekai Harris
   Kathlynn Duncan            Kayl Jones                 Keianna Zuniga

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   Keidre Wilson              Kelly Cronin               Keneshia Johnson
   Keiera Butler              Kelly Jones                Kenisha Halcromb
   Keillan Goyenaga           Kelly Mendoza              Kennasia Clark
   Keione Brenson             Kelly Paxton               Kennay Fuller
   Keira Fernandez            Kelly Ross                 Kenneth Bell
   Keisha Alfred              Kellyn De La Torre         Kenneth Chu
   Keisha Gabourel            Kelsey Loo                 Kenneth Clarida
   Keisha Henry               Kelsie Richter             Kenneth Dowd
   Keisha White               Kelsy Becktol              Kenneth Gant
   Keith Britton              Kelty Walker               Kenneth Hetfield
   Keith Buie                 Kelvin Malone              Kenneth Hobden
   Keith Corsi                Kelvin Rhodes              Kenneth Kirkland
   Keith Locario              Kelvin Washington          Kenneth Levy
   Keith Machart              Kemah Duopu                Kenneth Santillan
   Keith Nesbitt              Kemyia Smith               Kenneth Thomas
   Keith Pastorino            Ken Belangel               Kenneth Watson
   Keith Powell               Ken Robinson               Kenneth Williams
   Keith Wells                Ken Schilbrack             Kenneth Young
   Keith Wiggins              Kendall Jensen             Kennith Brown
   Keith Wright               Kendall Smith              Kenniya Fairley
   Kejleb Demaniow            Kendall Willis             Kenny Bowers
   Kejohn Coleman             Kendra Currie              Kenny Rowe
   Kellan James               Kendra Guzman              Kenny Tran
   Kellan Rhude               Kendra Hopkins             Kenora Posey
   Kellen Belisle-            Kendra Jamersom            Kenrick Haylock
   Lamoureux                  Kendra Pulliam             Kensha Secrease
   Kelley Castleberry         Kendra Swartz              Kent Burrell
   Kelley Perez               Kendra Wiggins             Kentoya Mitchell
   Kelley Snyder              Kendra Wilkerson           Kenya Carter
   Kelli Domenici             Kene Dd'S A                Kenya Hudson
   Kelli Olson                Gibson                     Kenya Miller
   Kelli Stephenson           Keneisha Sandeford         Kenya Moore
   Kellie Baldonado           Kenesha Davis              Kenya Pacheco
   Kellie Wilborn             Keneshia                   Kenya Tay
   Kellisha Magee             Funkhouser                 Kenyale Houston

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   Kenyatta Clemons           Kevin Gonzalez             Keyante
   Kenyette Frison            Kevin Grazel               Christopher
   Keon Ellison               Kevin Guild                Keyarra Dunn
   Keona Calhoun              Kevin Hapes                Keyilah
   Keondre Perry-Solis        Kevin Hernandez            Zimmerman
   Keonni Railey              Kevin Hunter               Keyron Hillard
   Keonte Usher               Kevin Jong                 Keyron Sykes
   Keri Valentine             Kevin Juarez               Keyshawn Willis
   Kerly Joseph               Kevin Kaiser               Keytiana
   Kerouac Geffroy-           Kevin Key                  Hempstead
   Kearley                    Kevin Leath                Kezemia Jaictin
   Kerri Sumner               Kevin Marin                Keziah Reyes
   Kerry Mcmanemy             Kevin Martin               Khachatur
   Kesewin                    Kevin Mcnall               Oganesyan
   Firethunder                Kevin Melgar               Khaleilah
   Keshia Newman              Kevin Mendoza              Trepagnier
   Keshia Terry               Kevin Moreno               Khalen Stensby
   Kesslyn Beverly            Kevin Nash                 Khalid Sultany
   Keuntea Vance              Kevin Oseinimo             Khalilah Ramirez
   Kevin Babayan              Kevin Peters               Khang Tran
   Kevin Bartlett             Kevin Phan                 Khari Lobin
   Kevin Burney               Kevin Rodriguez            Khayle Flores
   Kevin Carmona              Kevin Ruano                Khaza Faisal
   Kevin Castro               Kevin Segovia              Khelan Stovall
   Kevin Clancy               Kevin Siles                Khet Saechao
   Kevin Collins              Kevin Simmons              Khieon Woodard
   Kevin Conahan              Kevin Stokes               Khristian Domio
   Kevin Cornelius            Kevin Stoumbaugh           Khristian Rodriguez
   Kevin Crockett             Kevin Vieyra               Khristina Vega
   Kevin Croom                Kevin Wilson               Khyri Gray
   Kevin Davis Sr             Kevin Wormley              Kia Charles
   Kevin Duy Do               Kevin Xiao                 Kia Wilcox
   Kevin Firethunder          Kevina Dubose              Kiairra Wilder
   Kevin Gonzalez             Keyana Royce               Kiairra Winchester
   Figueroa                                              Kiana Escobar

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   Kiani Clissold             Kimberly                   Kirill Skolpen
   Kiania Fields              Hernandez                  Kirim Boys
   Kianna Costa               Kimberly Jackson           Kirin Washington
   Kianna Lankford            Kimberly Johnson           Kirk Johnston
   Kianni Dunn                Kimberly Lindsey           Kirk Smart
   Kiarash Kiani              Kimberly Mcdaniels         Kirsten Johnson
   Kiauni Ogren-              Kimberly Mckenzie          Kirsten Ortega
   Nakamura                   Kimberly Monroe            Kirsty Orr
   Kibibi Robinson            Kimberly Moore             Kirt Baker
   Kieana Foster              Keller                     Kisha Ferrell
   Kieran Abraham             Kimberly Newport-          Kisha Williams
   Kierra Mccaa               Hewitt                     Kishar Coleman
   Kierra Rodgers             Kimberly Perry             Kit Wu
   Harris                     Kimberly Ramirez           Kiyera Simpson
   Kiev Dior Earley           Kimberly Roberson          Kiyoko Ando
   Kihana Dorsey              Kimberly Romero            Kiywani Drake
   Kiki Hawkins               Kimberly Shipman           Kobinah Dumas
   Kiley Byrum                Kimberly Smith-            Kolbin Patterson
   Kim Abbott                 Reymond                    Koreana
   Kim Branch                 Kimberly                   Muhammad
   Kim Bunn                   Thompson                   Kori Babineaux
   Kim Varela                 Kimberly Torretti          Kori Webb
   Kim-Sa Mac                 Kimberlyn Battle           Korina Kugler
   Kimberly Amador            Kimera Williams            Kory Brown
   Kimberly Barrows           Kimo Delgado               Kourtney Mapp
   Garner                     Kineika Davis              Kourtney Thomas
   Kimberly Bradley           Kinfe Gidey                Kraig Archuleta
   Kimberly Corona            King Wells                 Kraigon Smith
   Kimberly                   Kingsley Nsofor            Krista Harmon
   Daugherty                  Kingsley Oludu             Krista Powers
   Kimberly Encinas           Kingsley Oriaku            Kristan Porter
   Kimberly Fuller            Kinoshita Nicholas         Kristel Polintan
   Kimberly Griffin           Kira Mcculley              Kristen Abdo
   Kimberly Hall              Kira Piotroski             Kristen Cavender
   Kimberly Hays              Kira Sartain               Kristen Hollins

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   Kristen Jones              Kristofer Ganzon           Kurt Ross
   Kristen Lockhart           Kristoffer Hatchett        Kurtis Spiller
   Kristen Trotter            Kristofor Molson           Kushal Kharel
   Kristen Yniguez            Kristona Carlton           Kushinda Little
   Kristi Boylan              Kristopher De Anda         Kuwait Pierce
   Kristi Masters             Kristopher Malabad         Kwame Frank
   Kristian Dauria            Kristopher Manuel          Kwentonza Morris
   Kristian Harris            Kristy Gill                Kyanna Mbah
   Kristian Rodriguez         Kristy Lolmaugh            Kyla Cunningham
   Kristian Williams          Kristy Lynch               Kyla Jessen
   Kristian Young             Kristy Morua               Kyla Stockton
   Kristiana Hohler           Krysta Blandino            Kylah Thomas
   Kristin Alexander          Krystal Allen              Kyland Resor
   Kristin Bridges            Krystal Cvitanovich        Kyle Armstrong
   Kristin Cenderelli         Krystal Gastelum           Kyle Brown
   Kristin Enriquez           Krystal Knight             Kyle Carson
   Kristin Jewell             Krystal Macias             Kyle Che
   Kristin Johnston           Krystal Perezidente        Kyle Dobson
   Kristin Mccormick          Krystal Raby-              Kyle Ebrahimi
   Kristin Pennington         Mcgee                      Kyle Hartman
   Kristin Pruitt             Krystal Sandoval           Kyle Hoag
   Kristin Sanders            Krystal Sipp               Kyle Holder
   Kristin Stemberga          Krystal Thorn              Kyle Jakosky
   Kristin Vent               Krystal Vincent            Kyle Papana
   Kristin Zonarich           Krystal Zubizarreta        Kyle Pascual
   Kristina Altamirano        Krystalyn                  Kyle Peregoy
   Kristina Barbee            Wakefield                  Kyle Pizarro
   Kristina Billotti          Kryste’Au Fulcher          Kyle Rand
   Kristina Calloway          Krystie Acevedo            Kyle Reid
   Kristina Jacome            Krystle Dennis             Kyle Sanchez
   Kristina Lee               Krystle Harrison           Kyle Seavers
   Kristina Letbetter         Krystle Vega               Kyle Slade
   Kristina Moore             Kuazine King               Kyle Yoshimoto
   Kristina Rodusky           Kudus Audu                 Kyle Ziminsky
   Kristine Hull              Kurt Leveque               Kylee Storey

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   Kylie Tyler                Lakema Tate                Laquana Hatton
   Kym Nelson                 Laken Betancourt           Laquedra Edwards
   Kymberly Grove             Lakendra Neal              Laquetta Roberts
   Kyra Dino                  Laketha Pierce             Laquita Vivian
   Kyran Howard               Lakhonda Corbin            Laquita Williams
   Kyree Louis                Lakia Jones                Larby Tea
   Kyrstyn Henderson          Lakia Parker               Larell Weathers
   Kyylan Stowers             Lakinya Bess               Lariece Guignard
   La Cresha Johnson-         Lakisha Gershon            Larissa Calderon
   Keel                       Lakisha White              Larissa Garr
   La Keisha                  Lala Freeman               Larry Cotton Jr
   Jeanmarie                  Lalaine Sapida             Larry Eja
   La Wanda Bonds             Lalicia Thomas             Larry Gomez
   La'Chelle Wright           Lama Dada                  Larry Martin
   Labrandon Little           Lameisha Roberson          Larry Muhammad
   Lacey Cortez               Lamia Humphrey             Larry Phuy
   Lacey Sloan                Lamont Mcqueen             Larry Sepulveda
   Lachelle Seward            Lamont Reeves              Larry Tran
   Ladaesha Samuels           Lamonte Rogers             Larry Walker
   Ladonnis Charles-          Lana Alaniz                Laseana Davis
   Rounds                     Lana Moore                 Lashan Graves
   Laetta Brown               Lana Rodgers               Lashanae Littles
   Laheaven Jones             Lanasia Riley              Lashanda Smith
   Laila Kian                 Lance Dewberry             Lashawn Leon
   Laine Dester               Lanchester Retuya          Lashawn Lincoln
   Laine Ichiriu              Landis Carrion             Lashawnna Banks
   Lajoi James                Aponte                     Lashawntae
   Lakeah Lyons               Landon Andries             Wingfield
   Lakeesha Lyles             Landon Leblanc             Lashay Caradine
   Lakeesha Sullivan          Landry Cooper              Lashay Walker
   Lakeisha Dunmore           Landry Grant               Lashonda Hamlin
   Lakeisha Fernandez         Lane Anderson              Lastarr Williams
   Lakeisha Franklin          Lanessa Moreno             Latanya Alexander
   Lakeisha Mason             Lanetra Carpenter          Latanya Weton
   Lakeitha Lair              Laporcha Gore              Latanya Wharry

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   Latara Harris              Laura Cabero               Laurie Chaney
   Latasha Davis              Laura Enem                 Laurie Jow
   Latasha Delgado            Laura Freitas              Laurie Smith
   Latasha Dubois             Laura Goeb                 Lauryn Helaire
   Latasha Edwards            Laura Gurrola              Lauryn Masaniai
   Latasha Harris             Laura Phillips             Lavante Young
   Latasha Mcgrew             Laura Roach                Lavoshia Ivy
   Latashia Moore             Laura Robinson             Lawanda Beard
   Lateef Howard              Laura Smith                Lawrance
   Lateffeya Mccree           Lauren Anderson            Weatherall
   Lateshia Jackson           Lauren Beck                Lawrence Coley
   Latinda Ingram             Lauren Bonty               Lawrence Laviolette
   Latisha Davis              Lauren Byrum               Lawrence Maloney
   Latisha Legardy            Lauren Callahan            Lawrence Mandt
   Latisha Logwood            Lauren Clark               Lawrence Stringer
   Latisha Murdock            Lauren Each                Lawrence Venzor
   Latisha Thomas             Lauren Esquer              Lawrence Wood
   Latonda Bruins             Lauren Gerace              Lawrence Young
   Latosha Broughton          Lauren Kane                Lawrynce Wallace
   Latoya Anderson            Lauren Kiktavi             Lazaro Terrazas
   Latoya Artis               Lauren Leffler             La’Rhonda Elam
   Latoya Clark               Lauren Lightfoot           Le Tia Anderson
   Latoya Gandy               Lauren Martinez            Leah Lewis
   Latoya Leidig              Lauren Mclean              Leah-Marie Garcia
   Latoya Mcadoo              Lauren Meyering            Leandre Rawlings
   Latoya Pelmore             Lauren Morinello           Leandrew Sanders
   Latoya Wesson              Lauren Moss                Leandro Vieira
   Latoyia Smith              Lauren Rankin              Leanne Sullivan
   Latrice Dowdy              Lauren Rich                Leda Derose
   Latrice Johnson            Lauren Rivoire             Lee Enriquez
   Latrisha Taylor            Lauren Sparks              Lee Patania
   Latyia Williams            Lauren Wong                Lee Samson
   Launiu Leni                Lauri Meadows              Lee Valach
   Laura Barrera              Lauricia                   Leeanna Riggins
   Laura Burgess              Bustamante                 Leelah Gradney

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   Lehmont Maheia             Leslie Leggett             Linda Hong
   Leighton Worthey           Leslie Marks               Linda Masters
   Leilani Urrutia            Leslie Ramirez             Linda Mauldin
   Leland Mendez              Leslie Valencia            Linda Metoyer
   Lema Lynch                 Lester Jerez               Linda Miles
   Lemac Lewis-               Lester Kuykendall          Linda Miller
   Robinson                   Letecia Furgerson          Linda Pullum
   Lena Nelson                Leticia Morales            Linda Vera
   Leniben Hipolito           Leticia Rodriguez          Linda Williams
   Lenise Richardson          Leticia Romo               Lindsay Jager-
   Lennea Grissom             Letitia Mcmillan           Heaton
   Lennon Ward                Letricia Shaver            Lindsay Jenkins
   Lenore London              Levar Hutton               Lindsay Phillips
   Lenoris Louis              Levi Browne                Lindsey Maehara
   Lenzie Chao                Levi Shambaugh             Lindsey Perrott
   Lenzie Huffmon             Levonna Scott              Linette Frausto
   Leonamarie Baker           Lexus Marthel              Ling Chau Tung
   Leonard Brown              Leza Turner                Lino Molina
   Leonard Mcloyd             Liam Gleason               Linzie Fernandez
   Leonard Sackos             Lianakesi Ruffin           Lionel Mitchell
   Leonardo Cruz              Lianca Robinson            Lionheart Leslie
   Leonardo Mata              Lianna Avila               Lisa Bryantl
   Leonardo Rojas             Ligia Ruiz                 Lisa Bush
   Leonel Alvarez             Liliana Contreras          Lisa Conner
   Leoni Soleimany            Liliana Jauregui           Lisa Craig
   Lepanona Fuimaono          Lillian Nelsen             Lisa Dewitt
   Lequan Myles               Lily Florczak              Lisa Diaz
   Leroy Richard              Lily Riehm                 Lisa Dooley
   Lesleyann Pigram           Limni Hernandez            Lisa Guzman
   Leslie Almanza             Limor Perez                Lisa Heredia
   Leslie Bailey              Linda Armstrong            Lisa Hill
   Leslie Fuentes             Linda Cienfuegos           Lisa Leong
   Leslie Garcia              Linda Gonzalez             Lisa Ly
   Leslie Hurtado             Linda Gutierrez            Lisa Mcwilson
   Leslie Lara                Linda Halbrook             Lisa Queen

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   Lisa Sullivan              Lora Borba                 Lubomir
   Lisa Thornberry            Loren Gonzales             Gueorguiev
   Lisa Viramontes            Lorena Escobar             Lucas Haynes
   Lisa Walker                Lorena Laija               Lucas Jensen
   Lisa Willis                Lorene White               Lucas Marty
   Lisa Workizer              Lorenzo Brooks             Lucas Moreno
   Lissa Leopando             Lorenzo Cook               Lucas Padilla
   Lissette Roncagliolo       Lorenzo Hamilton           Lucas Riney
   Litisha Franklin           Lorenzo Hernandez          Lucas Rodenbush
   Litzy Tamariz              Lorenzo Keeton             Luchiana
   Liukura Mariman            Lorenzo Samudio            Constantin
   Liz Koven                  Lorenzo Smith              Lucia Canas
   Liz Luoma                  Lori Billberry             Lucia Kang
   Lizet Elliott              Lori Norton                Lucia Sanchez
   Lizette Castillo           Lori Taylor                Luciana Williams
   Lizette Macuil             Lori Troester              Lucinds Trujillo
   Lizzette Urquhart          Lorie Medina               Lucy Morgenstern
   LJ Benet                   Loris Amiri                Ludivina Godinez
   Llewelyn Llanera           Lorna Castillo             Ludmilla Muse
   Lloyd Spearman             Lornell Taylor             Luebutar Garcia
   Logan Coller               Lorrell Mixon              Luiggie Valdez
   Logan Harris               Lorrena Hobbs              Luigi Gutierrez
   Logan Muszynski            Lorressa Padilla           Luis Ajzac
   Logan Steinberg            Lou Coleman                Luis Almirante
   Logan Tufono               Louis Murray               Luis Alonso
   Logan Vamosi               Louis Rondone              Luis Alvarez
   Lohida Gonzales            Louis Smith                Luis Avina
   Loic Hermans               Louise Yi                  Luis Barbero
   Lola White                 Lourdes Bernardez          Luis Belasquez
   Lolita Goldman             Lourdes Gonzalez           Luis Calderon
   Lond Bass                  Lourdez Arana              Luis Castillo
   Loneshea Johnson           Lovie Allen                Luis Castro
   Lonje Aina                 Loyteyah Williams          Luis Cervantes
   Lonnae Taylor              Lsean Armatrading          Luis Chavez
   Lonnie Adams               Luan Nguyen                Luis Cruz

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   Luis De La Torre           Lynette Valencia           Magdalena Korga
   Luis Espinoza              Lynique Browning           Magen Knight
   Luis Estrada               Lynn Brownlow-             Maggie Amaya
   Luis Fernandez             Johnson                    Magin Helguer
   Luis Guerrero              Lynn Carrillo              Magnus Kim
   Rosas                      Lynn Leslie                Maha Madaien
   Luis Gutierrez             Lynn Napoli                Mahendra Ahuja
   Luis Lessire               Lynnell Hart               Mahogany Palakiko
   Luis Lope                  Lynzee Campbell            Maihan Ghafoorzai
   Luis Parada                Lysa King                  Maimoye Uku
   Luis Reyes                 Mac Rambo                  Maira Talamantes
   Luis Saldivar              Maccara Him                Maisha Garner
   Luis Sanchez               Mackenzi Bolin             Maite Mercado
   Luis Serna                 Mackenzie Goth             Maitikuerban
   Luis Serrano               Mackenzie Hall             Nueraili
   Luis Serrato               Mackenzie Shatraw          Majestic Mcconico
   Luis Villasenor            Mackenzie Shields          Makaila Whitmore
   Luiz Costa                 Mackenzie White            Makailakai Scipio
   Luke Bumpus                Mackenziw                  Makalani Hudgens
   Luke Dominick              Blaylock                   Makani Kai Payo
   Luke Howden                Madeline Stine             Makayla Reynolds
   Luke Meehan                Madelyn Ramirez            Makayla Torres
   Lulu Hernandez             Madiha Siddiqui            Malak Hussein
   Luther Copeland            Madison Babbage            Malaysia Ridgley
   Luz Tuchan                 Madison England            Malaysia Williams
   Ly Tran                    Madison Gillihan           Malcolm Key
   Lycette Magana             Madison Lopez              Malia Folaumahina
   Lydia Johnson              Madison Montano            Malik Abdulhaqq
   Lyle Graham                Madison Norris             Malik Felton
   Lynda Prado                Madison Oneil              Malik Foster
   Lyndah Pizarro             Madison Sira               Malik Nelson
   Lyndia Carter              Maegan Navarro             Malik Palmer
   Lyndsey Kaan               Maekia Wright              Malik Perryman
   Lyneice Venters            Magali Zavala              Malik Stewart
   Lynese Ollaca              Magdalena Abreu            Malinda Perez

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   Maliq Nathaniel            Marc Goodenough            Marcus Jasper
   Malique Mirze              Marc Harvel                Marcus Mason
   Malissa Barber             Marc Jackson               Marcus Mondragon
   Malissa Garcia             Marc Quiambao              Marcus Segundo
   Maliyah Johnson            Marc Sy                    Marcus Sotelo
   Mallory                    Marc Vasquez               Marcus Thompson
   Adelsperger                Marc-Anthony               Marcus Watts
   Mallory Bacon              Escobar                    Maren Panter
   Mamun Saeidah              Marcel Thomas              Margaret Baker
   Manar Ahmed                Marcel Walker              Margaret Scally
   Manases Prieto             Marcelino Vargas           Margarita Medrano
   Mandi Lopez                Marcella Lovelace          Margarita Napoles
   Mandi Reeve                Marcella Pelayo            Margo Edwards
   Manny Olguin               Marcia Pineda              Margo Swift
   Manolsa Charles            Marco Abdel-Malek          Margrette
   Manpreet Kaur              Marco Ayala                Cummings
   Manuel Corona              Marco Bettis               Marguariete Guard
   Manuel Fonseca             Marco De La Luz            Mari Ruiz
   Manuel Gijon               Marco Durant               Maria Abarca
   Manuel Lucero              Marco Escobar              Maria Alarcon
   Manuel Pulido              Marco Mo                   Maria Astor Garcia
   Manuel Ramirez             Marco Olarte               Maria Avalos
   Manuel Romero              Marco Piazza               Maria Avila
   Manuel Salazar             Marcos Arevalo             Maria Aviles
   Manuel Savinon             Marcos Lepe                Maria Beardmore
   Manuel Suarez              Marcos Palafox             Maria Chavez
   Manuel Ventura             Marcos Perez               Maria Crogan
   Manuel Vgea                Marcus Borsi               Maria Douglass
   Many Sabouri               Marcus Camorlinga          Maria Earnshaw
   Mar Estrada                Marcus Campbell            Maria Esotu
   Mara De Leon               Marcus Carter              Maria Flores-
   Mara Garcia                Marcus Cato                Viloria
   Maranda Thomas             Marcus Decoud              Maria Garcia
   Marbella Camargo           Marcus Flowers             Maria Gomez
   Marc Emerson               Marcus Hopkins             Maria Jean Louis

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   Maria Jennings             Marilyn Cortez             Marisleidy Ortiz
   Maria Laus                 Marilyn Perez              Marissa Burgess
   Maria Morales              Marina Brodsky             Marissa Fierro
   Maria Perez                Marina Martinez            Marissa Grijalva
   Maria Pruefer              Marina Osykina             Marissa Joanes
   Maria Ramirez              Marina Peralta             Marissa Lavroff
   Maria Rios                 Marina Volz                Marissa Masumitsu
   Maria Robinson             Mario Alvarez              Marissa Mecado
   Maria Rocha                Mario Benito               Marissa Oda
   Maria Roman                Mario Cerritos             Marissa Parker
   Maria Sanchez              Mario Chatman              Marissa Pessell
   Maria Staudenmeier         Mario Delacruz             Marissa Smith
   Maria Stokes               Mario E Mendez             Marissa Tanner
   Maria Varela               Mario Goins                Marissa Worthy
   Maria Villanueva           Mario Guevara              Marissa Zato
   Maria Washington           Mario Lecue                Marissa Zuniga
   Mariah Ball                Mario Lopez                Maritza Castro
   Mariah Byers               Mario Madrid               Maritza Ramirez
   Mariah Corder              Mario Montiel              Mariya Pallais
   Mariah Frederick           Mario Nobrega              Mariza Fontecha
   Mariah Harrison            Mario Nunez Calles         Mark Alvarez
   Mariah Robledo             Mario Orozco               Mark Anjou
   Mariah Williams            Mario Ortiz                Mark Anthony
   Mariam                     Mario Prato                Garrido
   Abdelrahman                Mario Quiroz               Mark Bullock
   Marian Gonzalez            Mario Salazar              Mark Capaccio
   Marianna Acevedo           Mario Vargas               Mark Cervantes
   Marianne Benassi           Mario Vazquez              Mark Davis Ii
   Maribel Grubbs             Marion Anthony             Mark Dito
   Maribel Pecina             Marion Bowens Jr           Mark Dixon
   Maricela Zamora            Marion James               Mark Dominique-
   Marie Kimberly             Marisa Maready             Tate
   Marie Morales              Marisa Marquez             Mark Espiritu
   Marie Rueda                Marisa Medina              Mark Gardner
   Marie Sanchez              Marisela Torres            Mark Gaultney

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   Mark Harris                Marlon Rosasen             Marti Medina
   Mark Hurtado               Marlouie Monserrat         Martie Jones
   Mark Isokawa               Marlyn Tovar               Martin Amador
   Mark Jackson               Marqietta Johnson          Martin Cortes
   Mark Kushnir               Marquel Booker             Martin Cota
   Mark Marcelo               Marquella Harry            Martin Gbla
   Mark Pacquiao              Marquelle Ferrette         Martin Gutierrez
   Mark Ranagan               Marques Allen              Martin Lev
   Mark Ritter                Marques Johnson            Martin Martinez
   Mark Rosenberg             Marques Jones              Martin Molina
   Mark Swagerty              Marques Peeler             Martin Ruiz
   Mark Yahuaca               Marquese Bright            Martin Trujillo
   Markayla Hardeman          Marquese Clark             Martina Jackson
   Markeshia James            Marquez Johnson            Martino Glover
   Marketia Hughes            Marquia Jones              Martisha Munoz
   Markita Martin             Marquis Darn               Marvin Aguilar
   Markita Pope               Marquis Hampton            Marvin Belisle
   Marko Reyes                Marquis Hatfield           Marvin Bowens
   Markus Moore               Marquis Powell             Marvin Brown
   Markus Pereda              Marquis Salmon             Marvin Echeverria
   Marland Williams           Marquise Smith             Vivas
   Marlen Dominguez           Marsha Hernandez           Marvin Johnson
   Marlen Sandoval            Marshal Case               Marvin Luu
   Marlen Uribe               Marshale Henry             Marvin Nelson
   Marlene Dunki-             Marshare                   Marvin Ochoa
   Jacobs                     Thompson                   Marvin Paat
   Marleny Martinez           Marshecka Rodgers          Marvin Rodriguez
   Lazo                       Martha Berumen             Marvin Walker
   Marlin Bragg               Martha Dollison            Marx Collie
   Marlon Bragg               Martha Olaguez             Mary Angus
   Marlon Hearvey             Martha Sanchez             Mary Bennett
   Marlon Morales             Martha Silva               Mary Bilbao
   Coronado                   Martha Tapleras            Mary Cortez
   Marlon Palencia            Martha Velazquez           Mary Dowsing
   Marlon Richardson          Marthel Mendoza            Mary Garnett

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   Mary Hem                   Matt Sanger                Matthew Moore
   Mary Louise Nacu           Matt Torres                Matthew Moraga
   Mary Mcelhinny             Matt Welch                 Matthew Moreira
   Mary Negron                Matthew Allen              Matthew Morrison
   Mary Randazzo              Matthew Bradley            Matthew Parker
   Mary Sutton                Matthew Brown              Matthew Payan
   Mary Theresa               Matthew Bruns              Matthew Pink
   Segura                     Matthew                    Matthew Seaman
   Mary Tokita                Carrasquillo               Matthew Sparks
   Mary Virbes Mateo          Matthew Chinitz            Matthew
   Mary West                  Matthew Chum               Swearingen
   Maryclaire Biluno          Matthew Clauzel            Matthew Vann
   Maryhelen                  Matthew Cohen              Matthew Vedin
   Kwiatkowski                Matthew Cummins            Matthew Voogd
   Marysol Perez              Matthew Di                 Matthew Wehe
   Marzella Garcia            Benedetto                  Matthew
   Juarez                     Matthew Dodd               Ziegelbauer
   Mashariki Walker           Matthew Estrada            Maureen Pierre
   Mason Koeff                Matthew Farley             Maurice Caffey
   Mason Verhees              Matthew Furr               Maurice Goens
   Masoumeh Faridi            Matthew Garay              Maurice Hull
   Gharajeh Narlou            Matthew Hansen             Maurice Juwono
   Mateo Tenzera              Matthew Hicks              Maurice Mcfarland
   Mathew Borzilleri          Matthew Hines              Maurice Mcgee
   Mathew Calderon            Matthew Huerta             Maurice Mouton
   Mathew Higham              Matthew Ignacio            Mauricio Castro
   Mathew Lopez               Matthew Jimenez            Mauricio Cuellar
   Mathew Renteria            Matthew Jones              Mauricio Mendez
   Mathis Veronica            Matthew Kanter             Mauricio Vides
   Matt Adams                 Matthew Kilimnik           Maurissa Cruz
   Matt Blankenship Jr        Matthew Koch               Mauro Michel
   Matt Gore                  Matthew Labrie             Max Mckevitt
   Matt Margiotta             Matthew Landry             Max Menzel
   Matt Roman                 Matthew Lang               Max Rinker
   Matt Sanchez               Matthew Meakin             Max Rivera

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   Maxime Mobayen             Megan Sandoval             Melissa Bustos
   Maximillian Barthel        Megan Wallace              Melissa Cantu
   Maximino                   Megan Westerlund           Melissa Carson
   Rodriguez                  Megan Wilson               Melissa Chupco
   Maximo Hernandez           Megan Woods                Melissa Cook
   May Walker                 Meggie Cherilus            Melissa Davies
   Maya Bell                  Meghan Lafleur             Melissa Gonzalez
   Maya Callender             Meghan Stretch             Melissa Green
   Maya Carter                Meiklyn Moore              Melissa Hammonds
   Maya Herzog                Mekhi Burton               Melissa Hummel
   Maya Holt                  Melanie Campos             Melissa Jauregui
   Maya Levine                Melanie Engleton           Melissa Ledesma
   Maya Phillips              Melanie Garber             Melissa Rex
   Maya Tate                  Melanie Graves             Melissa Rice
   Mayra Espino               Melanie Lewis              Melissa Sanchez
   Mckayla Girotti            Melanie Mccabe             Melissa Sarver
   Mckaylia Robinson          Melanie Ramos              Melissa Tran
   Md. Naimul                 Melanie Roeger             Melissa Valdez
   Ishtiaque                  Melanie Sanchez            Melody Ziko
   Meagan Madson              Melanie Schanley           Meloney Turner
   Meagan Schoolcraft         Melanie Yassini            Melony Stewart
   Meaghan Layden             Melesa Bryant              Meltric Hopper
   Meca Hodge                 Melia Schurig              Melva Denman
   Mechelle Brown             Melian Junius              Melvin Barnes
   Mecs Hodge                 Melina Roman               Melvin Encarnacion
   Medhanie Meshesha          Melina Salinas             Melvin Hicks
   Meeka Brown                Melinda Delacruz           Melvin Houston
   Meeker Hymes               Melinda Helms              Melvin Morrow
   Megan Carolin              Melinda Lawson             Melvin Washington
   Megan Clemmons             Melinda Monk               Jr
   Megan Cunningham           Melinda Quinine            Melyssa Cabigao
   Megan Deangelo             Melinda Sammons            Mema Ayoub
   Megan Duncan               Melinda Thompson           Menali Porchia
   Megan Martinez             Melissa Alvizo             Mennell Alkhawaja
   Megan Medina               Melissa Burris             Mercades Young

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   Mercedes Aguirre           Michael Cole               Michael Knight
   Mercedes                   Michael Coleman            Michael Lang
   Fernandez                  Michael Collier            Michael Laymon
   Mercedes Jenkins           Michael Conlee             Michael Lea
   Meredith Broussard         Michael Curiel             Michael Ledwith
   Meredith Robinson          Michael Davis              Michael Li
   Merissa Vasquez            Michael Demello            Michael Lieberman
   Mesi Salaam                Michael Donahue            Michael Luethold
   Mia Caldwell               Michael Duran              Michael Luff
   Mia Frye                   Michael Espinoza           Michael Maez
   Mia Glenn                  Michael Flamenco           Michael Maimone
   Mia Jones                  Michael Gambino            Michael Mancini
   Mia Nobles                 Estrada                    Michael Mason
   Mia Ponce                  Michael Garcia             Michael Mcclure
   Mia Williams               Michael Gebran             Michael Mcdonald
   Mianni Brown               Michael Girgenti           Michael Mcmillian
   Miara Lawson               Michael Gonzalez           Michael Meagher
   Miatra Young               Michael Gray               Michael Mendia
   Micah Avery                Michael Grey               Michael Menin
   Micah Floyd                Michael Grunwald           Michael Mincone
   Micah Mathis               Michael Guess              Michael Molina
   Michael Adame              Michael Hall Jr.           Michael Morales
   Michael Alderson           Michael Hall               Michael Muiruri
   Michael Allen              Michael Hansen             Michael
   Michael Archuleta          Michael Harden             Muldowney
   Michael Banionis           Michael Hassan             Michael Napoli
   Michael Bautista           Michael Hatten             Michael Nettles
   Michael Bourjaily          Michael Henry              Michael North
   Michael Broom              Michael Hoffman            Michael O'Connor
   Michael Burnett            Michael Howard             Michael Orosco-
   Michael Canakie            Michael Huber              Pineda
   Michael Candler            Michael Hutchins           Michael Parfenoff
   Michael Christopher        Michael Kabanas            Michael Parish
   Michael Cirocco            Michael Kees               Michael Perepelitsa
   Michael Ciurleo            Michael Kelly              Michael Peterson

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   Michael Potter             Michael                    Michelle Garza
   Michael Pulido             Washington                 Michelle Holt
   Michael Pye                Michael Watson             Michelle Humphrey
   Michael Rainey             Michael Webb               Michelle James
   Michael Rogers             Michael Whitfield          Michelle Langmaid
   Michael Rowley             Michael Wilds              Michelle Lescano
   Michael Rudolph            Michael Wolf               Michelle Magana
   Michael Russell            Michael Yee                Michelle Mathis
   Michael Saavedra           Michael Young              Michelle Mattingly
   Michael Sakamoto           Michaela Bruce             Michelle Mayers
   Michael Saldivar           Michaela Caparell          Michelle Mcarthur
   Michael Sanfeliz           Michaela                   Michelle Mcgovern
   Michael Sciandra           Carmichael                 Michelle Moulin
   Michael Scruggs            Michaeljohn                Michelle Nembhard
   Michael Shaw               Gallagher                  Michelle Perell
   Michael Silas              Michayla Bonds             Michelle Quintana
   Michael Silva              Michayla Holloway          Michelle Rayner
   Michael Simpson            Micheal Metcalf            Michelle Taylor
   Michael Smith              Micheal Quezada            Michelle Thompson
   Michael Sogof              Michele Borner             Michelle Villegas
   Michael Stearns            Michele Proctor            Michelle Welborn
   Michael Stephens           Michell Alvarez            Michelle Wise
   Michael Sweeney            Michelle Abner             Michelle Wright
   Michael Tapia              Michelle Aguilar           Mickey Hutchison
   Artavia                    Michelle                   Micky Shiloah
   Michael Tennyson           Alachappelle               Midnight
   Michael Valderrama         Michelle Aughe             Byrnedavis
   Michael Valdivieso         Michelle Cacho             Miehrit Kassa
   Michael                    Michelle Cox               Miesha Henry
   Vanderheiden               Michelle Dela Cruz         Miguel Alva
   Michael Vargas             Michelle Dornon            Miguel Arvizo
   Michael Villar             Michelle Enciso            Miguel Bernal
   Michael Walker             Michelle                   Miguel Blanco
   Michael Walters            Epamonande                 Miguel Carranza
   Michael Ward               Michelle Garcia            Miguel Figueroa

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   Miguel Flores              Milton Rodriguez           Mohamed Elgendy
   Miguel Hernandez           Milton Torres              Mohamed Oussama
   Miguel Lopez               Milton Velasquez           Benkhaled
   Miguel Martinez            Milton Woodberry           Mohammad
   Miguel Pena                Milvia Medina              Alkailani
   Miguel Plascencia          Mimi Fairfield             Mohammad Asad
   Miguel Sardinas            Mimi Green                 Mohammad
   Mika Wayne                 Min Choi                   Shaghasi
   Mikaela Miso               Minerva Duran              Mohammad
   Mikal Safiyullah           Minh (Danny) Trinh         Shariatzadeh
   Mikala Wilson              (Cheng)                    Mohammad Wasim
   Mikayla Perez              Mint Jiton                 Mohammed
   Mikayla Wayne              Miranda Farny              Mustafa
   Mike Carrillo              Miranda Hill               Mohammed
   Mike Eldredge              Miriam Ayala               Rahman
   Mike Myers                 Miriam Diaz                Mohammed
   Mike Sell                  Miriam Gutierrez           Suliman
   Mike Smith                 Miriam Rodriguez           Mohan Basnet
   Mike Tucker                Mirna Vizcaino             Mohanad Absent
   Mike Wade                  Misha Dean                 Moises Mondragon
   Mikel Perez                Misha Mayhand              Molla Enger
   Mikela Saliby              Mispa Ngo                  Molly Gillies
   Mikesha Booth              Momnougui                  Molly Ingstad
   Mikkel Weinzimer           Misrahim Morales           Monica Alexanians
   Mikla Jackson              Missael Madrigal           Monica Andrade
   Mikyong Lima               Misty Ashley               Monica Bryant
   Mikysha Lumsey             Misty Johnson              Monica Ceja
   Milani Atanante            Misty Miller               Monica Cordova
   Mildred Kesler             Misty Paulsen              Monica Evans
   Mildred Myles              Misty Torres               Monica Galvan
   Milea Trujillo             Misty Tucker               Monica Gland
   Miles Johnson              Misu Park                  Monica Hernandez
   Miles Klotz                Mitch Cadiz                Monica Hinojosa
   Millie Romans              Miya Jefferson             Monica Rivas
   Milton Carcamo             Miyana Jelks               Monica Robles

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   Monica Sandoval            Morgan Higdon              Myles Muretta
   Monica Sarabia             Morgan Mcbride             Myles Pruitt
   Monica Sedillo             Morgan Reed                Mylysha Betts
   Monica Streelman           Morgan Spikes              Mylz Brown
   Monica Trevino             Moriel Griffin             Mynisha Wells
   Monica Villegas            Morionte Roy               Myong Lee
   Monica Wilson.             Moroni Montuy              Myrna Rodriguez
   Monika Ruhial              Morteza Yousefi            Myron Gray
   Monique Frazier            Moses Alcala               Myron Nicholson
   Monique Guttilla           Moses Dickens              Myron Robinson
   Monique King               Moses Solomon              Nabil Hanna
   Monique Lopez              Moshai Dpwd                Nadia Castell De
   Monique Macias             Mothilal Rajesh            Oro
   Monique Marconi            Muhammad                   Nadia Castillo
   Monique Mccartney          Abdullah                   Nadia Kirkpatrick
   Monique Navarrete          Muhammad Rajput            Nadia Mobley
   Monique Pena               Muhammed Timbo             Nadia Ortega
   Monique Penaflor           Mukda Moolmuang            Nadie Estrada
   Monique Saenz              Muluebrhan Mengis          Bamber
   Monique Salinas            Muneef Alomaisi            Nafessah Bowier
   Monique Walthour           Munisa Khasanova           Nafiba Jeza
   Monique Webb               Herrera                    Naima Noguera
   Monique Wilson             Munkhbat Sukhdorj          Naioka Frazier
   Monisha                    Murphy Donahue             Naiomy
   Resurreccion               Mustafa Rasul              Villavicencio
   Moniya Fields              Mwanzo Mallard             Naisha Castro
   Montgomery                 Mya Biggers                Najirah Easley
   Samuelian                  Mychelle Kimble            Nakea Dent
   Monthar Abudarb            Myeisha Peters             Nakeisha Harris
   Montique Williams          Myesia Mitchell            Nakia Dillard
   Montrice Perkins           myfileslist.txt            Nakia Gage
   Montserrat Mota            Mykah Brooks               Nakisha Mc Cadney
   Moody Adli                 Mykel Durr                 Nalani Banquicio
   Moorea Jones               Mylaya Worley              Nallely Perez
   Morgan Comber              Myles Cozart               Nallely Ramos

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   Nana Griffin               Natalhe Suarez             Nathan Darrow
   Nanci Ochoa                Natali Chavez              Nathan Fane
   Molina                     Natalia Jimenez            Nathan Inverno
   Nancy Bouatay              Natalia Kimball            Nathan Martinelli
   Nancy Castillo             Natalie Ashby              Nathan Mero
   Nancy Guimaraes            Natalie Cabrera            Nathan Pitkin
   Nancy Perez                Natalie Cruz               Nathan Reddicks
   Nancy Sanchez              Natalie Deleon             Nathan Reyes
   Nancy Talledo              Natalie Demag              Nathan Sanchez
   Nancy Tirado               Natalie Donis              Nathan Tait
   Nandel Wheatle             Natalie Elseman            Nathan Timms
   Nanette Macon              Natalie Espinoza           Nathan Turner
   Nantakarn Boonsa-          Natalie Fernandez          Nathan Valva
   Ard                        Natalie Forte              Nathan Whitcomb
   Naomi Bell                 Natalie Harwood            Nathan Williams
   Naomi Butler               Natalie Johnson            Nathaneal Willis
   Naomi Cantu-               Natalie Madrigal           Nathaniel Keyes
   Valencia                   Natalie Maldonado          Nathaniel
   Naomi Duran                Natalie Morgan             Lehenbauer
   Naomi Goodman              Natalie Pocoroba           Nathaniel Pritchard
   Naomi Johnson              Natalie Tejeda             Nathaniel Ramirez
   Naomi Loera                Natalie Trejo              Nathaniel Real
   Naomi Macias               Nataline Flores            Nathaniel Sosa
   Naomi Ornguze              Nataly Larios              Nathaniel Torres
   Naomi Rogers               Natasha Bennett            Nathaniel Wold
   Nara Perez                 Natasha Collier            Nathaniel Woodson
   Narada Austin              Natasha Ryan               Navan Sizzle
   Naral Richardson           Natasha Scott              Naveen Hurtado
   Narek Zakaryan             Natashia Wright            Naveen Raja
   Narraya Sparks             Nate Starkey               Navid Khalaji
   Narvelyn Renfro            Nathan Aguilar             Navjit Singh
   Naseer Ahmed               Nathan Austin              Navpreet Grewal
   Nash Rook                  Nathan Brais               Nawdeah Lockard
   Nashaun King               Nathan Castillo            Nayelly Medina
   Nastassia Bailey           Nathan Cruz                Nazaria Campos

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   Nazario Flores             Nicholas Deleon            Nick Graub
   Nazmieh Shatnawi           Nicholas Fasoline          Nick Henderson
   Nedra                      Nicholas Flores            Nick Lavin
   Collierramsay              Nicholas Gallegos          Nick Owen
   Neftali Figueroa           Nicholas Gianini           Nick Pfeifer
   Nehemiah Bray              Nicholas Gibbons           Nick Schwindt
   Nehemiah Burnett           Nicholas Gomez             Nick Tambouras
   Neikisha Alexander         Nicholas Gutierrez         Nick Tuskewicz
   Neil Butler                Nicholas Hallin            Nick Vanderbliek
   Neil Byrd                  Nicholas Hansen            Nickey Neilsen
   Neil Coates                Nicholas Harris            Nickolas
   Neil Herrera               Nicholas Hodges            Mcgaughey
   Neil Santos                Nicholas                   Nickole Ramirez
   Neil Villamar              Koskowski                  Nicky Dioquino
   Neka Banks                 Nicholas Large             Nico Medina
   Nelson Serpas              Nicholas Loxley            Nicoe Carney
   Nelsy Valdez               Nicholas Lurye             Nicolas Gastaldo
   Nerherley Rivas            Nicholas Lutjens           Nicolas Valdez
   Nery Granados              Nicholas Martine           Nicole Boos
   Nestor Roa                 Nicholas Mcwhorter         Nicole Brown
   Ngoc Nenh                  Nicholas Morgan            Nicole Dixon
   Nhi Bui                    Nicholas Naoe              Nicole Dudley
   Niarobi Nelson             Nicholas Sims              Nicole Dunlap
   Nichelle Davis             Nicholas Toomey            Nicole Ford
   Nichelle Webb              Nicholas Torres            Nicole Joseph
   Nicholas Adams             Nicholas Vidaña            Nicole Lewis
   Nicholas Aranda            Nicholas Weiss             Nicole Long
   Nicholas Arkin             Nicholas Zellers           Nicole Looman
   Nicholas Belvedere         Nichole Ballesteros        Nicole Marer
   Nicholas Bloom             Nichole Johnson            Nicole Mcqueen
   Nicholas Bolin             Nichole Lopez              Nicole Nappi
   Nicholas Caminiti          Nichole Mccoy              Nicole Norton
   Nicholas Carpenter         Nichole Mintz              Nicole Rivas
   Nicholas Castillo          Nichole Smith              Nicole Singleton
   Nicholas Chavez            Nick Aragon                Nicole Smit

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 Nicole Stephens           Nkosinathi                 Norvell Glosson
 Nicole Suter              Robinson                   Noureddine
 Nicole Vignal             Nnaemeka                   Chakhmoune
 Nicolette Goward          Onyenedum                  Novalee Stanton
 Nicoll Walton             Nnamdi Obilor              Numair Khaled
 Niechae Leverette         Noah Harmon                Nuredean Kelebu
 Nieka Carson              Noah Hendrickson           Nuria Rendon
 Niels Cosme               Noah Katz                  Nydia Mumbi
 Nik Wilcox                Noah Reed                  Nyeve Landers
 Nike Chenevert            Noah Roistacher            Nyjae Kelso
 Nikeisha Boatner          Noah Stanley               Nyree Hester
 Nikisha Balagao           Noah Tavella               Obinna Oti
 Nikisha Mcroyal           Noah Tenney                Octavia Hill
 Nikki Ali                 Noe Chavez                 Octavia Smith
 Nikkia Tate               Noe De Avila               Odalys Rivas
 Nikko Reece Henry         Noel Alfaro                Odnamar Ikhbold
 Nikol Robinson            Noel Millan                Olalekan Ajibade
 Nikola Rajkovic           Noel Taylor                Oliver Boquin
 Nikolas Ognjan            Noel Yakubu                Oliver Daguro
 Nikolas Storck            Noelle Mendoza             Oliver Orozco
 Nikole Cataldi            Noelle Theoharis           Olivia Diaz
 Nikole Klinkhamer         Noelle Walker              Olivia Hill
 Nilan Watmore             Nohemi Fajardo             Olivia Johnson
 Nima Tamang               Nolan Balajadia            Olivia Mclaughlin
 Nina Mariscal             Nolan Jackson              Olivia Noriega
 Nina Medd                 Nona Taylor                Olivia Prink
 Nina Moore                Norbert Rodriguez          Olivia Silao
 Ninh Tran                 Noriya Crew                Olivia Soto
 Niqita Widby              Norma Eaton                Olivia Vallejo
 Nira Herrod               Norma Fuller               Olivia Woods
 Nita Nayak                Norma Letendre             Olivia Young
 Niv Brook                 Norma Palomar              Olivier Schuemperli
 Nivethaa Mohhan           Norman Tingle Ii           Oliwia Swierstok
 Nizhan Taylor             Norom Bin                  Ollie Tucker
 Nkosi Ashshakur           Norveen Brar               Oluwadare Akinbi

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 Olvayja Fleming           Oscar Lua                  Paradice Brooks
 Omar Adam                 Oscar Natividad            Paradise Wishum
 Omar Adiong               Oscar Ramirez              Paris Brown
 Omar Alvarado             Oscar Valle                Paris Harrell
 Omar Castro               Oscar Vazquez              Paris Jernigan
 Omar Macias               Oscar Zaragoza             Paris Torres
 Omar Nunez                Oscar Zepeda               Paris Zinn
 Salinas                   Oshanda Thomas             Parisa Aalami
 Omar Ocampo               Osheen Golian              Parrell Cox
 Omar Osman                Oshena Smith               Pasha Alborzi
 Omar Osorio               Osvaldo Diaz               Pat Alexander
 Omar Romani               Osvaldo Plascencia         Patience Davis
 Omar Sherwani             Oswald Villalobos          Patrice Butler
 Omar Velasquez            Othon Jimenez              Patrice Clark
 Omar Willis               Otibho Okojie              Patrice Demendoza
 Omar Wilson               Otto Arevalo               Patrice Tomlinson
 Omari Wise                Pa Xiong                   Patricia Adams
 Omeed Shaaf               Pablo Castañeda            Patricia Arteaga
 Omer Jones                Pablo Moreno               Patricia Baker
 Omid Bazaei               Page Biemans               Patricia Cunniffe
 Omid Khazari              Paige Arcadipane           Patricia Davis
 Omolara Abode             Paige Fisher               Patricia De Loa
 Onik Kavukchyan           Paige Jackson              Patricia Giron
 Orilea Gracy              Paige Mcmullen             Larios
 Orlana Mejia              Paige Nath                 Patricia Gumaer
 Orlando Diaz              Paige Noonan               Patricia Harris
 Orlando Itza              Pailin Coy                 Patricia Jones
 Orlando Morales           Paloma Salomon             Patricia Kinkade
 Oscar Alonzo              Pamela Faith               Patricia Linares
 Oscar Alvarado            Pamela Rubino              Patricia Mancilla
 Fernandez                 Pamela Tardy               Patricia Ramirez
 Oscar Bermúdez            Pamela Zazueta             Patricia Squitiero
 Oscar Diaz                Pandoria Pugh              Patricia Stallard
 Oscar Dominguez           Paola Hidalgo              Patricia Thomas
 Oscar Gonzalez            Papillion Simmons          Patricia Trevino

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 Patricia Walton           Paul Nelson                Peyton Elroy
 Patricia Wilkins          Paul Rosales               Phaedra Hill
 Patrick Alfaro            Paul Sherwood              Phaedra Jones
 Patrick Choukroun         Paul Suarez                Phil Redd
 Patrick Dooley            Paul Sunga                 Philip Bell
 Patrick Freeland          Paul Williamson            Philip Beylouni
 Patrick Haynes            Paula Banks                Philip Karlsson
 Patrick Hunter            Paula Bianca Lim           Philip Okafor
 Patrick Kondzella         Paula Shafir               Philip White
 Patrick Mbanefo           Paula Wood                 Phillip Dent
 Patrick Morris            Paula Young                Phillip Goff
 Patrick Perry             Pauline Perez              Phillip Mosher
 Patrick Riley             Paulo Abesamis             Phillip Musumeci
 Patrick Rojas             Pearl Wong                 Phillip Myton
 Patrick Rooney            Pedro Mena                 Phillip Waldchen
 Patrick Shannon           Pedro Mota                 Phillip Zavala
 Patrick Tindall           Pedro Navarro              Phillis Ayala
 Patrick Weaver            Pedro Ottenwalder          Phonexay
 Patrick Yang              Pedro Vela                 Sychareun
 Patrisa Graham            Peggy Crawford             Phong Tran
 Paul Azzolina             Penelope King              Phyllis Akwaja
 Paul Castanon             Penny Crawford             Pierce Hunter
 Paul Cimarusti            Perla Rios                 Piero Cavallini
 Paul Davis                Pernard Anderson           Pikin Mario Felix
 Paul Defeo                Perris Blackman            Hernandez
 Paul Delay                Perry Carter               Pilar Elias
 Paul Duplessis            Pete Patterson             Plezena Radford
 Paul Gorvin               Peter Cerda                Pola Olkha
 Paul Hammond              Peter Dagalea              Polina Gusakova
 Paul Harris               Peter Delatorre            Porchea Whitmore
 Paul Jimenez              Peter Edward'S             Pornchai
 Paul Johnson              Peter Eich                 Chungsawat
 Paul Limones              Peter Meno                 Porsche Frazier
 Paul Lucero               Peter Shenouda             Porsha Garcia
 Paul Maxwell              Petra Polinkova            Portia Bartley

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 Portia Lee                Quin Thompson              Rachelle Young
 Pravesh Nepal             Quincy Freeman             Raelisha Scott
 Preben Nissen             Quincy Hunter              Raelynn Kelly
 Precious Coleman          Quinnell Wright            Raevan Savery
 Precious Daniels          Quinshon Moreland          Raevyn Stallworth
 Precious Esparza          Quintana Celeste           Rafael Garcia
 Precious Jerusalem        Quinteis Jones             Rafael Gil
 Precious                  Quintin Mcfadden           Rafael Guerrero
 Kimbrough                 Qutin Vinznat              Rafael Jacobo
 Precious Lewis            Rabecca Miller             Rafael Moreno
 Predrag Filipovic         Rachael Corcoran           Rafael Torres
 Presha Anaya              Rachael Rich               Rafaelito Russell
 Preshae                   Rachel Avila               Rahamon Smith
 Bryantanner               Rachel Beattie             Rahman Sabir
 Preston Maxie             Rachel Boller              Rahnay Bingley
 Princess Sloan            Rachel Chambon             Rahomon Savage
 Priscila Gomes            Rachel De La Cruz          Raina Crawford
 Priscilla Arteaga         Rachel De Luz              Raina Hernandez
 Priscilla Felix           Rachel Edwards             Rajshree Dean
 Priscilla Frias           Rachel Faamafi             Ralph Beserra Iii
 Priscilla Olguin          Rachel Fedden              Ralph F Sanchez Jr
 Priscilla Sanchez         Rachel Hogan               Ralph Malonda
 Gomez                     Rachel Hudson              Ralph Weber
 Priya Lacombe             Rachel Kessler             Rama Abdel-Hadi
 Pulot Usmonov             Rachel Kolyer              Ramadon Furgan
 Punahele Kaahanui         Rachel Kuhn                Ramez Nouri
 Purushottam Kc            Rachel Lee                 Ramiro Ayala
 Qais Sediqi               Rachel Rouzan              Ramiro Guerra
 Quanda Salery             Rachel Rudolph             Ramiro Magana
 Quandell Bryant           Rachel Schloss             Ramiro Sanchez-
 Quatina Burt              Rachel Silva               Avila
 Quest Williams            Rachel Waller              Ramiro Zetina
 Quiana Pearson            Rachel Zeigler             Ramon Alcazar
 Quiana Stallworth         Rachelle Bargamian         Ramon Grageda
 Quiezahn Gantt            Rachelle Howell            Ramon Jones

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 Ramon Lozano              Rashanique Rodell          Raymond
 Ramon Ramirez             Rashard Decatur            Hernandez
 Ramon Rodriguez           Rashard Luckett            Raymond Hollis
 Ramon Santiago            Rashaun Bailey             Raymond Lopez
 Ramona Robinson           Rasheed Smith              Raymond Mcgeisey
 Ramona Villanueva         Rasheeda Maximo            Raymond Ramirez
 Rance Dvorak              Rashid Mayers              Raymond Sidhu
 Rancen Collins            Rashida Knox               Raymond Zamora
 Randal Robinson           Raul Castro                Raymundo Torres
 Randall Taylor            Raul Flores                Rayna Gomez
 Randall Vidaurri          Raul Lopez                 Raynal Watts
 Randolfo Pereira          Raul Mendez                Raynold
 Randy Bagby               Raul Pedraza               Kwesijones
 Randy Becton              Raul Rodriguez             Rayven Caldwell
 Randy Gonzales            Raul Sanchez               Rayvon Bell
 Randy Mitchell            Raul Torres                Reagan Bouchillon
 Randy Padron              Raushon Chapman            Reathany Eang
 Randy Paz                 Raven Bogar                Rebecca Armour
 Randy Ramos               Raven Cervantez            Rebecca Delgado
 Randy Sandoval            Raven Johnson              Rebecca Duran
 Randy Villa               Raven Reynolds             Rebecca Gonzales
 Randy Villegas            Ray Myrie                  Rebecca Gutierrez
 Ranita Prasad             Rayan Alnasir              Rebecca Ituah
 Raphael Doelker           Raychael Bennett           Rebecca Kissinger
 Raquel Axelrod            Raychell Coleman           Rebecca Lasko
 Raquel Jachetta           Raylene Balderama          Rebecca Millien
 Raquel Knight             Raylene Martinez           Rebecca Taylor
 Raquel Llanes             Raylynn Wasson             Rebecca Valane
 Raquel Morales            Raymond                    Rebecca Yonas
 Raquel Olivares           Alexander                  Rebekka Walker
 Raquel Rupple             Raymond Brunson            Rebel Murphy
 Raquel Villanueva         Raymond Cervantes          Reece Stovall
 Rashaad Marshall          Raymond Gonzales           Regan Haggerty
 Rashad Humphrey           Raymond Hampton            Regan Looser
 Rashad Todd                                          Reggie Mccoy

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 Reggie Paredes            Renika Williams            Ricardo King
 Reggie Watkins            Renissa Robinson           Ricardo Leon
 Regina Austin             Renita Austin              Ricardo Luna
 Regina Eubank             Renita Pettus              Ricardo Magana
 Regina Pytel              Renita Traore              Ricardo Montalvan
 Reginald Mcelroy          Reniya Davis               Ricardo Padilla
 Reginald Villanueva       Repinder Kaur              Ricardo Realzola
 Reginald Vincent          Reyana Coleman             Ricardo Saenz
 Reginald Yarbrough        Reymundo Rosas             Ricardo Sanchez
 Regine Dela Cruz          Reyna Camacho              Ricardo Soto
 Regine Newton             Reyna Razo                 Ricardo Uriostegui
 Reid Guidry               Reyna Sullwold             Ricci Riveron
 Reid Peck                 Reyna Washington           Richard Acker
 Reina Lee                 Reynaldo Valdez            Richard Burch
 Reina Ripley              Rhashied Robinson          Richard Cobb
 Reina Vito                Rhea Devlugt               Richard Contreras
 Reinhardt Duchow          Rhea Shannon               Richard Cruz
 Remy Barg                 Rhiannon Alvarado          Richard Cuellar
 Renato Tapia              Rhiauna Gilbert            Richard Dean
 Renay Johnson             Rhoderick Salmasan         Richard Delgado
 Rene Marshall             Rhodesa Bahl               Richard Dimassa
 Rene Martinez             Rhonda Cody                Richard Earvin
 Rene Ponce                Rhonda Kates               Richard Gaines
 Rene Reyna                Rhonda Kinnard             Richard Gallardo
 Rene S Longoria           Rhonda Smith               Richard Garcia
 Rene Veloz                Rhonda Stidum              Richard Gonzales
 Reneaja Norris            Rhonekia Parker            Richard Hatfield
 Renee Baker               Rianda Parnell             Richard Jones
 Renee Desaire             Ricardo Aguilar            Richard Korber
 Renee Green               Ricardo Alcaraz            Richard Laws
 Renee Jenkins             Ricardo Colmenero          Richard Lee
 Renee Marquez             Ricardo De Melo            Richard Miller
 Renee Plotnik             Matos                      Richard Najarro
 Renetta Artmont           Ricardo Gutierrez          Richard Ochoa
 Renika Gravette           Ricardo Herrera            Richard Olivarez

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 Richard Raygoza           Riley O’Malley             Robert Felix
 Richard Rodriguez         Riley Rather               Robert Forcadilla
 Richard Salvador          Riley Silverman            Robert Fuller
 Richard Sanjenis          Rini Singh                 Robert Gerace
 Richard Scordato          Rinisa Brown               Robert Goodson
 Richard Severns           Ripsime Pogosyan           Robert Guzman
 Richard Seymour           Rishy Maharaj              Robert Hayes
 Richard Symonds           Rita Karaverdian           Robert Hines
 Richard Thompson          Rita Masinsin              Robert Hromadik
 Richard Ulloa             Ritaj Kafi                 Robert Johnson
 Richard Vales             Rizwaan Ali                Robert Jones
 Richard Villanueva        Rob Skinner                Robert Jordan
 Richard Woods             Robbie Cabaong             Robert Knutilla
 Richetta Flemmings        Robby Grisanti             Robert Lawton
 Richie Pan                Robert Agazaryan           Robert Lebeda
 Rick Blibaum              Robert Andrade             Robert Leyva
 Rick Guillen              Robert Andrews             Robert Luke
 Rickelle Goyt             Robert Auclair             Robert Lyman
 Rickelle Robinson         Robert Avina               Robert Magiary
 Rickey Garcia             Robert Bales               Robert Mcclendon
 Rickie Estrada            Robert Baskin              Robert Mirzoyan
 Rickieda Wright           Robert Belk                Robert Mitchell
 Ricky Acosta              Robert Carnera             Robert Morgan
 Ricky Caldwell            Robert Carroll             Robert Murphy
 Ricky Hackett             Robert Castro              Robert Ornelas
 Ricky Moody               Robert Chappell            Robert Paul Taylor
 Ricky Moore               Robert Cline               Robert Ramirez
 Ricky Smith               Robert Coe                 Robert Reese
 Rico Love                 Robert Coy                 Robert Robinson
 Rigoberto Guzman          Robert Crawford            Robert Robles
 Riki Smith                Robert De La Cruz          Robert Ross
 Rikka Fulton-             Robert Diaz                Robert Sewell
 Tramondo                  Robert Dollison            Robert Shumate
 Riley Blosser             Robert Escarcega           Robert Shuster
 Riley Martin              Robert Farquar             Robert Siegel

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 Robert Spears             Rockeara                   Rolfe Jones
 Robert Spencer            Henderson                  Rolinda Young
 Robert Suraci             Rockisha Smith             Rollin Wilkerson
 Robert Tremble            Roderica Spiller           Roman Baldwin
 Robert Wheeler            Roderick Ashford           Roman Barrett
 Robert Williams           Roderick Gatlin            Roman Goddard
 Roberto Carpio            Roderick Waller            Roman Starzak
 Roberto Castaneda         Rodney Drake               Romario Martinez
 Roberto Ceja              Rodney Hansford            Romela Hidalgo
 Roberto De La             Rodney Harps               Romelia Banuelos
 Maza                      Rodney Hoggro              Rivas
 Roberto Escobar           Rodney Malone              Romelle Ward
 Roberto Hernandez         Rodney Moore               Romelo Jackson
 Roberto Hubbell           Rodolfo Araujo             Romen Fuentes
 Roberto Rivas             Rodolfo Barthelemy         Romone Prescotte
 Roberto Valencia          Rodolfo Garcia             Romualdo Anaya
 Roberto Vargas            Rodrigo Dominguez          Ron Berry
 Robertson Jover           Rodrigo Ferrarini          Ron Carpenter
 Robin Birdsong            Rodrigo Henriques          Ron Gibson
 Vincent                   Duarte Silva               Rona Neloms-Smi3
 Robin Robinson            Rodrigo Mendoza            Ronald Anderson
 Robyn Cromer              Rodrigo Salguero           Ronald Autry
 Robyn Horrell             Rogelio Cervantes          Ronald Bonoan
 Robyne Jones              Roger Goff                 Ronald Booker
 Rochelle Bunn             Roger Lopez                Ronald Gatewood
 Rochelle                  Roger Lundy                Ronald Guerrero
 Concepcion                Roger Pena                 Ronald Hardgrove
 Rochelle Conley           Rohan Mcgeachy             Ronald Harris
 Rochelle Johnson          Rojae Amos                 Ronald King
 Rochelle Ketchum          Rojahnae Miller            Ronald Luscinski
 Rochun Bailey             Roland Baxter              Ronald Rhames
 Rocio Medina              Rolando Antunez            Rondell Johnson
 Rocio Morales             Rolando Arguillo           Ronee Fullylove
 Rock Washburn             Rolando Hernandez          Ronesha Matthews
                           Rolando Medina             Ronesha Ryland

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 Roni Mcgilberry           Roshon Barker              Ruben Naranjo
 Ronique Howsrd            Rosie Bishop               Ruben Nunez
 Ronnie Allen              Rosie Garcia               Ruben Saabedra
 Ronnie Davis              Rosleen Harrid             Ruben Solorio
 Ronnie Hernandez-         Rosney Mauger              Ruben Stella
 Cruz                      Rosonda Brown              Ruben Zelaya
 Ronnie Peterson           Ross Emhoff                Rubisela Ruiz
 Ronnie Simon              Ross Perry                 Ruby Amin
 Ronny Montoya             Rotteinia Freeman          Ruby Reyes Estrada
 Rony Avalos               Roumduol Borath            Rudy Damiano
 Rood Blanc                Roxana Contreras           Rudy Ruvalcaba
 Roriscilla Nowden-        Roxanne Garcia             Rudy Simon
 Wright                    Roxanne Ortiz              Rueben Boyd
 Rory Holmes               Roxanne Rivera             Ruel Deleon
 Rory Newman               Roxanne Romero             Rueswann Batun
 Rosa Gonzalez             Roxette Garcia             Rufina Barrow
 Rosa Medina               Roy Clary Jr               Ruslan Bulguchev
 Rosa Penate               Roy Iratagotia             Russell Coker
 Rosa Ruiz                 Roy Jackson                Russell Haylock
 Rosalba Flores            Roy Jones                  Russell Peterson
 Rosalie Andrade           Roy Richard                Russell Repp
 Rosalina Ysais            Roy Sugihara               Russell Roots
 Rosalinda Beckham         Royanna Sexton             Ruta Vaesau Len
 Rosalva Navarro           Rozzanne Perera            Wai
 Rosalyn Johnson           Ruben Alonzo               Ruth Abelar
 Rosalyn Santiago          Ruben Andrade              Ruth Christmas
 Rosana Hanna              Ruben Benitez              Ruth Montiel
 Rose Garibay              Ruben Castillo             Ruthann Clawson
 Rose Nao                  Ruben Corral               Ryan Aguilar
 Rose Nunez                Ruben Flores               Ryan Arthur
 Roseanna Murphy           Ruben Gomez                Ryan Becker
 Rosee Laster              Ruben Gonzalez             Ryan Blas
 Roshan Thank              Ruben Hoyos                Ryan Bonet
 Roshanae Edwards          Ruben Martinez             Ryan Brophy
 Roshea Penn               Ruben Moreno               Ryan Burke

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 Ryan Cusick               Sabrina Correa             Sam Narvell
 Ryan Davidson             Sabrina Hambrick           Samantha Andrews
 Ryan Davis Cade           Sabrina Jamerson           Samantha Ball
 Ryan Duffy                Sabrina Kimble             Samantha Barbic
 Ryan Dye                  Sabrina Miller             Samantha Berry
 Ryan Flannery             Sabrina Sanchez            Samantha Bowen
 Ryan Holloway             Sabrina Smith-Lark         Samantha Bun
 Ryan Jua                  Sabrina Zavala             Samantha Camaioni
 Ryan Kelly                Sacha Bolton               Samantha Cano
 Ryan Lane                 Sacred Averill             Samantha Dawson
 Ryan Mayfield             Sade Allen                 Samantha Defazio
 Ryan Mcgee                Sadiha Ramirez             Samantha Delgado
 Ryan Moffett              Safiya Cash                Samantha Foster
 Ryan Quinten              Sage Morimoto              Samantha Garcia
 Ryan Ramos                Sage Richardson            Samantha Garduno
 Ryan Roberts              Sahara Antrim              Samantha Hobbs
 Ryan Rodriguez            Sahida Hernandez           Samantha Johnson
 Ryan Schuler              Saida Jones                Samantha Juarez
 Ryan Schutter             Sajak Sherchan             Samantha Kaminski
 Ryan Sellers              Salbador Barajas           Samantha Moore
 Ryan Smerber              Salina Far Ia              Samantha Mousser
 Ryan Stanley              Sallie Reach               Samantha Ramirez
 Ryan Stewart              Sally Coronado             Samantha Riva
 Gabriel                   Salmaan Ahmed              Samantha Vasquez
 Ryan Tashiro-Evans        Salvador                   Samantha White
 Ryan Thaxter              Castellanos                Samari Nelson
 Ryan Villanueva           Salvador Coria Jr          Sameh Elmallakh
 Ryan Wade                 Salvador Herrera           Sameisha Young
 Ryan Wendel-Smith         Salvador Panameno          Samellia Singleton
 Ryan Wicklacz             Salvador Rivera            Sami Nash
 Ryane Binmahfooz          Salvador Rodriguez         Samir Cal
 Ryann Everett             Salviano Vieira            Samir Younes
 Rynol Hylton              Sam Mao                    Sammy Sahyouni
 Saber Abuzahra            Sam Mcreynolds             Sammy Teofilo
 Sabrina Bensimon          Sam Nalezny                Samone Sorensen

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 Samuel Clark              Sandra Thorson             Sarah Bellah
 Samuel Dwight             Sandro Valencia            Sarah Cervantes
 Samuel Edache             Sandtonya Majors           Sarah
 Samuel Estrada            Sandy Biddle               Cheesebourough
 Samuel Freeman            Sandy Garcia               Sarah Conard
 Samuel Halfmann           Sandy Hancock              Sarah Downs
 Samuel Harrison           Sandy Limeta               Sarah Dutton
 Samuel Maeshack           Sandy Lopez                Sarah Enriquez
 Samuel Maxwell            Sandy Oceguera             Sarah Gilliland
 Samuel Olodun             Sanedow Neeley             Sarah Gomez
 Samuel Pauling            Sanford Jones              Sarah Hernandez
 Samuel Paulos             Sangsak                    Sarah Lambert Or
 Samuel Perez              Kenrungrote                Anderson
 Samuel Pichardo           Sanicka Cummings           Sarah Leath
 Samuel Ponce              Sanjay Schaller            Sarah Lucas
 Samuel Robert             Sanquina Smith             Sarah Madrigal
 Samuel Rosenfield         Santana Omar               Sarah Newby
 Samuel Santos             Santiago Gutierrez         Sarah Novak
 Samuel Schroeder          Santiago Romero            Sarah Pew
 Samuel Sewell             Santina Carrolli           Sarah Prescott
 Samuel Tays               Santrice Davis             Sarah Santos
 Samuel Tyo                Saphira Rasti              Sarah Townsend-
 Sana Khalifeh             Sara Aguilera              Handley
 Sanaz                     Sara Carrion               Sarah Villegas
 Khademideljoo             Sara Garrett               Sarah Watts
 Sandeep Kumar             Sara Hancock               Sarah Ybarra-
 Sandra Bailey             Sara Mazur                 Hernandez
 Sandra Corbett            Sara Morgan                Sarina Roby
 Jones                     Sara Powis                 Sarina Taylor
 Sandra Harris             Sara Soderling             Sariy Jaradat
 Sandra Heftman            Sara Thorsteinson          Sarkhan Nabiyev
 Sandra Ignacio            Sara Vivo                  Sarkis Khanishian
 Sandra Meschke            Sara Zepeda                Sasha Burger
 Sandra Nunez              Sarah Arce                 Sasha Onoh
 Sandra Sutton             Sarah Beck                 Sasha Seward

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 Sasha Thomas              Sean Pritchett             Sergey Garnaga
 Sasha Walls Smith         Sean Renner                Sergio Alvarez
 Sassan Rahnavardi         Sean Rezendes              Sergio Andrade
 Satia Ward                Sean Rippa                 Sergio Cano
 Satish Gauchan            Sean Scudellari            Sergio Ceballos
 Sativa Tucker             Sean Trimble               Sergio Flores
 Satyanah Tuazon           Sean Waggoner              Sergio Kramer
 Saul Arriaga              Sean Weerasinghe           Sergio Lopez
 Saul Pelayo               Seantrece Henson           Sergio Mendiola
 Saul Perez                Sebastian Dunne            Sergio Oseguera
 Saul Vargas               Sebastian Posada           Sergio Rocha
 Saul Villanueva Jr        Sebastian Prince           Sergio Rojas
 Savanah Holloway          Sebastian Schug            Sergio Vazquez
 Savannah Le Moine         Seberiano Lopez            Sergio Villalobos
 Schuyler Myvette          Sedrick Johnson            Serina Ayala
 Scot Free                 Sefik Bulad                Serj Nalbandian
 Scott Bernave             Sela Wang                  Sermsak
 Scott Bourke              Selena Alatorre            Panichchanon
 Scott Brough              Selena Huntley             Serog Haghverdi
 Scott Bryant              Selena Sykes               Seth Bender
 Scott Cox                 Selena Walters             Seth Claycomb
 Scott Hartley             Seliat Adams               Seth Godwin
 Scott Mcdade              Selina Grant               Seth Plummer
 Scott Meyer               Selina Nnadede             Seth Seneca
 Scott Myers               Selket Lucas               Seth Willwerth
 Scott Pacheco             Selma Greg                 Seyed Ali Sepehr
 Scott Riches              Semaj Hughes               Sha Simms
 Scott Schiller            Semaj Tolbert              Shachrista Caldwell
 Sea Slajer                Seneca Beverly             Shaci Brown
 Sean Almeida              Sequoia Todd               Shadene Womack
 Sean Bowden               Sequoia Walker             Shadonna Bell
 Sean Bowe                 Sequoiya Lawrence          Shah Kera Clark
 Sean Carpenter            Serena Macgreggor          Shahde Jones
 Sean Christenson          Serena Sims                Shahen Petoyan
 Sean Lee                  Serena Stuck               Shaina Nubia

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 Shainu Bala               Shanesha Johnson           Sharazodia Oneal
 Shake Moskavian           Shani Howard               Sharde Collins
 Shakeenah Herbert         Shanice Mccorvey           Sharde Robinson
 Shakela Salaam            Shanice Roberson           Sharee Stroman
 Shakila Taylor            Shanice Sims               Sharese Bates
 Shakira Martin            Shaniece Gaddis            Sharhonda Stewart
 Shakyma Conway            Shanielle Gentry-          Shari Parrish-
 Shala Fullmore            Trotter                    Russell
 Shalasia Bridges          Shanika Booten             Sharifa Candelaria
 Shalawn Richardson        Shanika Starks             Sharina Caple
 Shaleigha Brooks          Shannah Ybarra             Sharlene Deo
 Shalexus Lee              Shannon Alfaro             Sharlene Petrovich
 Shalicia Porter           Shannon Bushee             Sharlene Salcedo
 Shalinda Hogains          Shannon Colquitt           Sharlynn Anabo
 Shalisha Samuels          Shannon Flynn              Sharmayne Lane
 Shamarry Williams         Shannon Henderson          Sharnel Jones
 Shamis Shaw               Shannon Klopp              Sharnetta Soils
 Shamon Benn               Shannon Lowry              Sharon Blake
 Shana Ruiz                Shannon Pitts              Sharon Casanova
 Shanae Anderson           Shannon Raymond            Sharon Contreras
 Shandie Hoskins           Shannon Slankard           Sharon Geyer
 Shane Billings            Shannon Vote               Sharon Goodwin
 Shane Duncan              Shannon Watts              Sharon Miller
 Shane Lackman             Shanon Rifkin              Sharon Shepard
 Shane Liles               Shanon Singh               Sharon Szabo
 Shane Rutter              Shant Abounayan            Sharonda Liner
 Shane Sandoval            Shantay Brea               Sharonne Bowers
 Shane Soares              Shante Kelley              Sharrod Richard
 Shane Van Rickley         Shante Simpson             Sharwanna
 Shane Werner              Shantea Conners            Williams
 Shaneka Butler            Shaparell Rayson           Shasawn Holt
 Shaneka Clark             Shaquan Butler             Shatarah Sharpe
 Shaneqwa Jasper           Shaquan Ferguson           Shatiera Jones
 Shanera Campbell          Shaquille Howard           Shatiqua Domingo
 Shanese Houston           Sharay Traylor             Shatodda Simpson

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 Shatori Douglas           Shayne Griffin             Sherida Tuller
 Shaun Anastascio          Shayprea Moore             Sherika Moore
 Shaun Fawson              Jefferson                  Sheronya Simmons
 Shaun Romo                Shea                       Sherri Moore
 Shaundie Jackson          Floresespindola            Sherri Walker
 Shaundra Hudson           Shebette Lewis             Sherrie Jones
 Shauntice Randolph        Sheena Horton              Sherron Blackstone
 Shauntina Thorbs          Sheena Santos              Sherry Jones
 Shavon Anderson           Sheidon Ward               Sherry Moore
 Shavonda Braxton          Sheila Carr                Sherry Paredes
 Shavonda Yoakum           Sheila Chenault            Sherry Prall
 Shavonna Oliver           Sheila Hawkins             Sheryl Farmbry
 Shawa6 Askew              Sheila Prostek             Sheryl Pearsall
 Shawn Aguilar             Sheilia Lewiel             Sheryl Prince
 Shawn Anderson            Shekinah Hoyt              Sheyron Cobb
 Shawn Boyles              Shelby Marlow              Shianne Black
 Shawn Escobar             Shelby Milteer             Shidarius Barrett
 Shawn Fleming             Shelby Phillips            Shiela Gurrola
 Shawn Hoodye              Sheldon Alexander          Shilvondra Taylor
 Shawn Jace                Sheleen Stroman            Shireare West
 Shawn Laramie             Shellene Johnson           Shirin Alizadjahani
 Shawn Saunders            Shelley Gant               Shirley Garcia
 Shawn Schmitt             Shelley Winn               Shirley Servin
 Shawn Thomas              Shelly Steinborn           Shiyana Hodges
 Shawn Waterhouse          Sheltina Perry             Shkeia Watson
 Shawn Williams            Shelton Inabinet           Shon Davis
 Shawna Geiger             Shelyse Knox               Shona Navas
 Shawna Navarro            Shemica Thomas             Shonkia Dunbar
 Shawna Price              Shenika Hope               Shonte Battle
 Shawniece                 Sheran Gill                Shontia Franklin
 Donaldson                 Sheri Cohen                Shontina Hawk
 Shawshona Monge           Sherica Mitchell           Shontinique
 Shayla Bryant             Sherice Lane-Mc            Coleman
 Shayla Jamerson           Elvane                     Shontique Blanche
 Shayla Skoglund           Shericka Pinchback         Shoshanna Wiley

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 Shullum                   Sir Thomas                 Sonja Sanchez
 Cunningham                Bradford                   Sonja Williams
 Shurishaddai              Sitofa Faiivae             Sonya Dannels
 Cardwell                  Sk F Ahmed                 Sonya Pinkard
 Shurryl Sherman           Skie Seigo                 Sopheak Chhoy
 Shushik Mcconnon          Skylah Berger-             Sophia Amodia
 Shyla Worley              Garcia                     Sophia Baker
 Shynneonmei               Skylar Combs               Sophia Burnham
 Barron                    Skylar Swindle             Sophia Hirano
 Shyona Parker             Skyler Funkhouser          Sophia Mendez
 Siannah Hudson            Skylyr Lord                Sophia Sinzun
 Siddharth Suri            Skynesha Ellis             Sounarin Kim
 Sidney Crosswell          Smail Velic                Sourivanh Sakdarak
 Sienna Monczunski         Socorro Garcia             Special Fleming-
 Sierra Gaffney            Socrates Garcia            Patterson
 Sierra Maxwell            Sofia Gafoor               Spencer Alarcon
 Sierra Mckie              Sofia Garcia               Spencer Ford
 Silver Hunt               Sofia Moreno               Spencer Garibay
 Silvia Gomez              Sofia Musquiz              Spencer Gunkel
 Silvia Innocent           Sofiane Hassani            Spencer Rakela
 Silvia Johnson            Solmarie Santiago          Stacey Flowers -
 Sima Bess                 Somayeh                    Brackens
 Simina Anca               Fattahalhosseini           Stacey Ford
                           Sonam Chomphel             Stacey Gaines
 Simon Ho                  Sonam Lama                 Stacey
 Simon Ross                Sonda Reed                 Hickenbottom
 Simone Anderson           Songwen Cui                Stacey Morgan
 Simone Isiguzo            Sonia Alvarez              Stacey Sikes
 Simone James              Sonia Castaneda            Staci
 Simone Marie Sohk         Sonia Davidson             Calhounrichardson
 Simone Ross               Sonia Manriquez            Staci Murray
 Sin No                    Sonia Mcdade               Stacy Alarcon
 Siobhan Heard             Sonia Ortega               Stacy Flowers
 Siquinton Brown           Sonia Prasad               Stacy Moore
                           Sonia Salcedo              Stacy Torres

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 Stacy Villamar            Stephanie                  Stephanie
 Stanacia                  Dominguez                  Wordekemper
 Christopher               Stephanie Douglas          Stephanie Zavala
 Stanicia Boatner          Stephanie Galicia          Stephann Durr
 Stanislav Orekhov         Stephanie Gonzales         Stephany Lunasco
 Star Hollis               Stephanie Graves           Stephen Adler
 Starlia Hartfield         Stephanie Kurth            Stephen Arroyave
 Starr Amos                Stephanie Laff-Hunt        Stephen Ashby
 Starr Thomas              Stephanie                  Stephen Dennis
 Stefan Hulce              Landreaux                  Stephen Egert
 Stefanie Amado            Stephanie Long             Stephen Ha
 Stefanie Guzman           Stephanie Marquez          Stephen Henny
 Stefanie Paez             Stephanie Mathis           Stephen Hughes
 Stefanie Powell           Stephanie Mayo             Stephen Johnson
 Stefanie Ramsey           Stephanie Nelson           Stephen Keshi
 Stefanie Villalobos       Stephanie Ortiz            Stephen Lowe
 Stefanny Claros           Stephanie O’Connor         Stephen Ma
 Stefen Beltran            Stephanie Pelletier        Stephen Magyar
 Stefhani Godinez          Stephanie Piske            Stephen Mason
 Stefsnie Asher            Stephanie Powers           Stephen
 Stelanie Chirgott         Stephanie Pressman         Mcdonough
 Stella Wilson             Stephanie Price            Stephen Mullin
 Stephan Friedland         Stephanie Priddy           Stephen Nippert
 Stephane Roch             Stephanie Reyes            Stephen Rangel
 Stephanie Aguilar         Stephanie Sanchez          Stephen Smiley
 Stephanie Ashley          Stephanie Stephens         Stephen Smith
 Stephanie Azcunaga        Stephanie Thomas           Stephen Staedler Ii
 Stephanie Balasia         Stephanie                  Stephen Whelan
 Stephanie Brock           Velazquez                  Stephen Zuniga
 Stephanie Cayme           Stephanie Villa            Stephnie Davison
 Stephanie Cosio           Stephanie                  Stevan Ordaz
 Stephanie Cossio          Villasenor                 Steve Banegas
 Stephanie Costa           Stephanie Villicana        Steve Barbosa
 Stephanie Diaz            Stephanie Watkins          Steve Contreras
                           Stephanie Winchell         Steve Hunnicutt

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 Steve Mason               Sue Becker                 Syed Hussain
 Steven Acosta             Summer Cox                 Sylvia Castillo
 Steven Arena              Summer Peace               Sylvia Fink
 Steven Artiga             Sumon Bagui                Sylvia Henck
 Steven Assef              Sungho Yang                Sylvia Lopez
 Steven Bavin              Sunnerica Sinohui          Sylvia Lovelace
 Steven Bell               Sunszeray Cheeks           Sylvia Perfecto
 Steven Carroll            Susan Feher                Sylvia Roldan
 Steven Castillo           Susan Holmstrom            Sylvia Vigil
 Steven Castro             Susan Houfek               Synchro Bull
 Steven Chatman            Susan Killens              Synthia Correa
 Steven Elias              Susan Kordan               Syreeta Allan
 Steven Gaither            Susan Poe                  Tabitha Allen
 Steven Gallegos           Susan Speed                Tabitha Lacey
 Steven Hernandez          Susan Sudduth              Tabitha Lecue
 Steven Hickerson          Susan Williams             Tacara Reed
 Steven Jackson            Susana Gomez               Tai Le
 Steven Jefferson          Susana Guzman              Taieast Washington
 Steven Jimenez            Susana Rojas               Taisa Fernandez
 Steven Langford           Susana Soriano             Taiyanna Boatman
 Steven Lim                Susannah Williams          Tajai Thomas
 Steven Mauric             Susanne Denton             Tajanay Hampton
 Steven Moran              Susie Chanpheng            Tajeana Jackson
 Steven Nicoloro           Suzannah Ventura           Tajenay Webster
 Steven Rodriguez          Suzanne Atrat              Takara Bushnell
 Steven Sandoe             Suzanne Smith              Takashi Onoe
 Steven Sevier             Suzette Salvador           Takehiro Taniguchi
 Steven Smith              Svetlana Moroz             Diaz
 Steven Stewart            Sydnee Appel               Takeisha Anderson
 Steven Suarez             Sydnee Colgan              Talea Lay-
 Steven Walker             Sydnee Drust               Mckannon
 Sthata Welsh              Sydney Counihan            Talisha Weicks
 Storm Carfangnia          Sydney Hill                Taliya Skinner
 Storm Freeman             Sydney Horowitz            Tamara Ferguson
 Suatiama Laulu            Sydney Wesson              Tamara Gilmore

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 Tamara Herron             Tanisha White              Tashawna Mack
 Tamara Hood               Tanner Harless             Tashia Hibbitt
 Tamara Kuzubovs           Tanya Archuleta            Tatanisha Crockett
 Tamara Perry              Tanya Cantu                Tate Chen
 Tamara Phillips           Tanya Danko                Tatiana Alvarado
 Tamara Thompson           Tanya Fegel                Tatiana Fuaau
 Tameka Clemons            Tanya Filer                Tatiana Griego
 Tameka Samilton           Tanya Frazier              Tatiana Smith
 Tamekia Brantley          Tanya Gabbey               Tatiana Willcot
 Tamera Henson             Tanya Garay                Tatyana Mitchell
 Tamesha Maynard           Tanya Garcia               Tatyana Spears
 Tamica Brewster           Tanya Gaylor               Tatyanya Ware
 Tamicka Williams          Tanya Martinez             Taualee Lepolo
 Tamie Villa               Tanya Thomas               Taurean Johnson
 Tamika Brown              Taquicia Hodges            Taveon Hurd
 Tamika Smith              Tara Cooper                Tawana
 Tamika Wince              Tara Demarco               Bridgewater
 Tammie Perry              Tara Hale                  Tawny Peterson
 Tammy Arroyo              Tara Leone                 Taya Jackson
 Tammy Draper              Tara Markland              Taya Webb
 Tammy Spears              Tara Peaks                 Tayah White
 Tamyra White              Tara Robinson              Taylor Arburua
 Taneika Clark             Tara Saycocie              Taylor Atkins
 Taneisha Merritt          Tara Young                 Taylor Bandel
 Tangela Terry             Taren Alexander            Taylor Brim
 Tania Clay                Tarik Myles                Taylor Carlile
 Tania Martinez            Tarniesha Stimage          Taylor Dillon
 Tania Molina              Tarra Campbell             Taylor Garrett
 Tania Ramirez             Taryn Dunn                 Taylor Gibson
 Tania Ramos               Tasha Cole                 Taylor Hartman
 Tania Valenzuela          Tasha Michael              Taylor Hoffman
 Tanika Davis              Tasha Sparby               Taylor Huynh
 Tanisha Freeman           Tasha Turner               Taylor Johnson
 Tanisha Lottie            Tasharra Scott             Taylor Jones
 Tanisha Rodgers           Tashawna King              Taylor Marsteller

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 Taylor Mattingly          Terrance Leota             Thanh Ramp
 Taylor Ransaw             Terrance Pyron             Thao Ngo
 Taylor Rivera             Terranika Adams            Thea Eskey
 Taylor Sanders            Terrell Abrams             Theodore Steele
 Taylor Slavin             Terrell Crump              Therea Harris
 Taylor Steed              Terrell Lawrence           Theresa Alcala
 Taylor Vaughn             Terrell Richardson         Theresa Barrios
 Taylor White              Terrell Sistrunk           Theresa Carboh
 Taylor Woodward           Terrelle Scott             Theresa Hambrick
 Taylur Denning            Terren Williams            Theresa Maxey
 Teala Holmes              Terrence Castille          Theresa Perez
 Teara Spain               Terrence Charles           Theresa Pina
 Tearoha Franklin          Terrence Simmons           Theresa Shipley
 Teawonna Turner           Terri Bowie                Theresa Smith
 Ted Walker                Terri Tocco                Thessalonia Logan
 Telavuth Chou             Terricka Franklin          Thomas Bagshaw
 Temeterius                Terrie Gibson              Thomas Bradley
 Obannon                   Terry Hemphill             Thomas Castro
 Temonthe Hicks            Terry Holloway             Thomas Cho
 Tempass Hill-Jones        Terry Moore                Thomas Dale
 Tenecia Archie            Terry Robinson             Thomas Duffy
 Tenecia Thomas            Terry Toler                Thomas Jones
 Tenicia Bennett           Terry Webster              Thomas Lambert
 Teniqua Myasia            Teshan Everett             Thomas Lutge
 Lewis                     Teshawna                   Thomas Miller
 Tera Davis                Levingston                 Thomas Ogle
 Tera Larson               Teshkia Coleman-           Thomas Phillips
 Terence Franklin          Pierce                     Thomas Puls
 Terence Green             Tesla Byrd                 Thomas Reilly
 Terence Twillie           Tessa Lowe                 Thomas Risner
 Terenna Rivera            Tessa Scholl               Thomas Schneiders
 Teresa Jusino             Tessie Nightwalker         Thomas Shim
 Teresa Lee                Thadius Prescott           Thomas Tran
 Teresa Remington          Thais Ferlante             Thomas Waltman
 Teri Marquez              Thalia Meza                Thomas Warner

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 Thomas Wilson             Tiffany Davis              Timothy Heckman
 Thomasina Gross           Tiffany De Jesus           Timothy Jones
 Thun R Aniff              Tiffany Fountain           Timothy Konsoulas
 Tia Williams              Tiffany Gregg              Timothy M
 Tiajayne Daniels          Tiffany Henderson          Lourenco
 Tiana Davis               Tiffany Herauf             Timothy Modugu
 Tiana Garner              Tiffany Hicks              Timothy Moore
 Tiana Hunt                Tiffany Holloway           Timothy Pittman
 Tiana Lawrence            Tiffany Hruby              Timothy Schmitz
 Tiana Waters              Tiffany Nguyen             Timothy Seely
 Tiana Williams            Tiffany Olson              Timothy Slater
 Tianca Madden             Tiffany Orta               Timothy Souza
 Tianna Thomas             Tiffany Rainey             Timothy White
 Tianna Turner             Tiffany Stout              Timothy Winthers
 Tiara Billups-Larkin      Tiffany Stowers            Timur Muravev
 Tiara Lewis               Tiffany Ware               Tina Bryant
 Tiara Williams            Tiffiany Bumpers           Tina Dang
 Tiauna Skaggs             Tiffinie Johnson           Tina Galles
 Tiera Croom               Tim Charity                Tina Hurley
 Tierra Andrews            Tim Gough                  Tina Mathews
 Tierra Faulkner           Tim Lynch                  Tina Muela
 Tierra Frazier            Tim Peugh                  Tina Orosco
 Tierra Gordon             Tim Smith                  Tina Walker
 Tiesia Harris             Tim Woods                  Tina Wess
 Tifani-Rose               Tim Yancy                  Tinisha Striplin
 Escarpeta                 Timberlie Laramie          Tiphani Anderson
 Tiffanee Nungaray         Timia Jones                Tisgar Haroun
 Tiffani Neely             Timmy Huynh                Tisha Edwards
 Tiffani Smith-            Timoteo Silva              Titaniesha Hunt
 Warrior                   Timothy Bullock            Titianna Sanchez
 Tiffany Blackwell         Timothy Butz               Titiera Tucker
 Tiffany Brown             Timothy Coleman            Tlaloc Garcia
 Tiffany Cooley            Timothy Duncan             Tobias Ezra
 Tiffany Cruzan            Timothy Gardner            Toby Pindus
 Tiffany Da Silva          Timothy Hayn               Todd Mccoy

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 Todd Perdee               Torie Henry                Trayneshia West
 Todd Prestenback          Torrey Reed                Trayshon Thenarse
 Tom Conlon                Torrey Richardson          Treasure Thomas
 Tom Isom                  Torrie Pierre              Treasure Williams
 Tom Suzuki                Torrie Taylor
 Tomas Gonzalez            Torryeona Beckwith         Trelanda Lowe
 Tomeeka Grizzell          Tosca Bradford             Tremon Paschal
 Tomesha Fowler            Toshiba Jefflo             Trenale Belton
 Tommy Gan                 Toufik Alloush             Trent Lopez
 Tommy Giles               Towana Palacio             Trenton Jones
 Tommy Gonzales            Toya Center                Trenton Pouncy
 Tommy Johnson             Toylice Riley              Tressa Tingle
 Tomorrow Dickson          Tracey Cooper              Treva Edwards
 Toneisha Simms            Tracey Wheeler             Trevell Thompson
 Tonema Hossain            Traci Elzie                Trevin Tatar
 Toni Bravo                Tracie Richardson          Trevon Courtney
 Toni Hull                 Tracy Brumm                Trevon Hayes
 Toni Laspada              Tracy Heddens              Trevor Alkazian
 Toni Perez                Tracy Morales              Trevor Cook
 Toniesha White            Tracy Rymenams             Trevor Daniels
 Tonisha Cutno             Tracy Terrell              Trevor Giles
 Tony Ballard              Tracy Washington           Trevor Hasser
 Tony Chavez               Tracy Wheeler              Trevor Kelly
 Tony Desean               Trajon Griffis             Trevor Knowles
 Tony Jojan                Tralyia Dillon             Trevor Schwartz
 Tony Liu                  Trashawn Johnson           Trevor Willson
 Tony Lonh                 Travis Boyer               Trica Mcintyre
 Tony Smith                Travis Curry               Tricia Matz
 Tony Trieu                Travis Feldman             Trina Mccarthy
 Tony Williams             Travis Griffin             Trineil Roberson
 Tonya Jackson             Travis Hill                Trinidad Sotello
 Tonya Phillips            Travis Mccarthy            Trinity Hahn
 Tonya Wilson              Travis Ripley              Trisha Merriott
 Torahn Bell               Travis Sanders             Tristan Friend
 Tori Jacobs               Travis Seal                Tristan Hudson

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 Tristan Rudell             Tyler Scott                Umendra Singh
 Tristian Hardy             Tyler Simms-               Unika Smith
 Troy Bond                  Hamilton                   Unique Porter
 Troy Meske                 Tyler Smith                Unique Wallace
 Troy Sweazie               Tyler Stouff               Uriah Campos
 Trrri Holub                Tyler Vancas               Uriah Shaw
 Trystin Sims               Tyler Wilkens              Urich Robateau
 Tuan Le                    Tylia Nelson               Uriel Caraballo
 Tuesday Desvignes          Tyller Mahoney             Ursula Mack
 Tui Iu                     Tylor Dooley               Ursula Riley
 Tung Tran                  Tylor Lyles                Uylanda Dennis
 Turquoise Milsap           Tylre Roberson             Vachan Summerise
 Turquoise Tatum            Tymisha Gray               Vadaly Robles
 Twakelia George            Tyoni Carter-              Vadim Milmeyster
 Twyla Kukuk                Newell                     Vadzim Rayinchick
 Ty Barrett                 Tyra Newton                Vaheh Mikayelyan
 Tyana Macias               Tyrell Millard             Valdane Levias
 Tyesa Harvey               Tyrena Benson              Valeie Leano
 Tyesha Hallman             Tyrin Williams             Valentin Valentin
 Tyesha Spells              Tyrisha Edwards            Valentina Mabika
 Tyffane Gustafson          Tyrone Kurtz               Valentyna Rudzko
 Tyler Ayala                Tyrone Mcbryde             Valeria Bartlow
 Tyler Baker                Tyrone Mcclure             Valeria Munguia
 Tyler Gray                 Tyrone Stafford            Valerie Aiken
 Tyler Hebert               Tyrone Wilmington          Valerie Bugarin
 Tyler Kirk                 Tyrus Rowland              Valerie Daughtery
 Tyler Lavally              Tyson Cotner               Valerie Del Cid
 Tyler Lowe                 Ty’Ler Clayton             Valerie Jones
 Tyler Moore                Ublanca Adams              Valerie Lewis
 Tyler Morris               Uchechukwu                 Valerie Lopez
 Tyler Nunley               Godwin                     Valerie
 Tyler Padgett              Ulises Picazo              Ogorodnikov
 Tyler Quintana             Ulises Zazueta             Valissa Lewis
 Tyler Riemersma            Ulysses Villa              Valorie Grover
 Tyler Sales                Umair Shoukat              Valyncia Brown

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 Valynncia Gregory          Vanessa Sanchez            Veronica Saenz
 Van Mckenzie               Vanessa Santos             Veronica Teran
 Vanaya Banks               Vanessa Torres             Veronica Trejo
 Vance Aburto               Vanessa Vidrio             Veronica Tucker
 Vaneh Hartonian            Vanessa Walker             Veronica Villalobos
 Vanesa Ruiz                Vannessa Allen             Veronique Spence
 Vanessa Alvarez            Vannessa Rayford           Vial Olude
 Vanessa Barba              Vannessa Williams          Vicente Guerrero
 Vanessa Betancourt         Vanyel Lawrence            Vicente Jimenez
 Vanessa Borquez            Vashon Jackson             Vicky Silva
 Vanessa Chacon             Vaughn Byers               Victor Bannerman
 Vanessa Chester            Vavontee Hampton           Victor Bobadilla
 Vanessa Coleman            Velma Ross                 Victor Calderon
 Vanessa Diaz               Venessa Gomez              Victor Chappale
 Vanessa Dominguez          Venita                     Victor Colon
 Vanessa Duarte             Higginbotham               Victor Dandrade
 Vanessa Earnest            Ventura Banuelos           Victor Elliott Jr
 Vanessa Ford               Venus Thomas               Victor Galdamez
 Vanessa                    Vermyttya Miller           Victor Gonzalez
 Giovacchini                Vernell Thomas             Victor Gutierrez
 Vanessa Green              Veronica Bianqui           Victor Martinez
 Vanessa Gross              Veronica Cardenas          Victor Molina
 Vanessa Hawkins            Veronica Cropper           Victor Moreno
 Vanessa Henderson          Veronica Diaz              Victor Onuigbo
 Vanessa Kamekona           Veronica Erazo             Victor Patino
 Vanessa Liendo             Veronica Irwin             Victor Wright
 Vanessa Lilak              Veronica Keichline         Victor Ybarra
 Vanessa Martinez           Veronica Lewis             Victor Zanoni
 Vanessa Mompeller          Veronica Mendoza           Victoria Alvarez
 Vanessa Moreno             Veronica Monroy            Gonzales
 Vanessa Munoz              Veronica Ochoa             Victoria Fairbanks
 Vanessa Neibert            Veronica Panossian         Victoria Granger
 Vanessa Ott                Veronica Parker            Victoria Hernandez
 Vanessa Rivera             Veronica Penagos           Victoria Herrick
 Vanessa Salazar            Veronica Rojas

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 Victoria                   Virgil Sanders             Wendell Mcdaniels
 Hutcherson-Friend          Virginia Jones             Wendell Thompson
 Victoria Keossian          Virginia Lemus             Wendi Dallas
 Victoria                   Viridiana Gutierrez        Wendy Garcia
 Kunnaragthai               Vitor Lima                 Wendy Holbert
 Victoria Lewis             Vitty Mcclung              Wendy Machen-
 Victoria Martelli          Vitu Chea                  Wong
 Victoria Paredes           Vivian Gibbons             Wendy Napolitan
 Victoria Santa Cruz        Vivian Sandoval            Wendy Newbury
 Victoria Solomon           Vivian Sorrow              Wendy Phillippe
 Victoria Street            Vivien Guenther            Wendy Polanco
 Victoria Wise              Vladimir Amaraut           Wendy Ramirez
 Vielka Macia-              Vladimir Felix             Wendy Sandoval
 Williams                   Vladislav                  Wendy Sedano
 Vilma Sandoval             Sandulyak                  Wendy Silva
 Vincent Aguilar            Vyvon Steele               Wendy Valentin
 Vincent Atkins             Wahesha                    Werner Godoy
 Vincent Charkhian          Rutherford                 Wes Papike
 Vincent Gonzales           Wakeeia Fitzgerald         Wesley Horn
 Vincent Ho                 Walelign Belay             Weston Pollock
 Vincent Jimenez            Waleska Gonzales           Whitney Frising
 Vincent Knox               Wallace Brumfield          Whitney Irving
 Vincent Lacey              Wallly Nunez               Whitney Mackenzie
 Vincent Legrow             Walter Cunhs               Whitney Ragas
 Vincent Lo                 Walter Henderson           Whitney Ross
 Vincent Molo               Walter Herrera Jr          Widad Aziz
 Vincent Ramirez            Walter Lee                 Wilber Hernandez
 Vincent Salinas            Walter Morales             Wilber Velazquez
 Vincent Swayne             Walter Saavedra            Wilbert Castro
 Vinita Kumar               Walter Scott               Wiletta Burgie
 Vinnie Garcia              Wanda Martin               Wilfredo Ortega
 Vins Ramirez               Wanda Wheaton              Wilicia Dorsey
 Violet Dawson              Wanda Woods                Wilingna Wallace
 Violeta Garcia             Wayne Gall Ii              William Alvarado
 Virgel Allen               Wayne Levinson             William Brad Ii

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 William Carr               Willy Rosalez              Yasmeen Bey
 William Castillo           Zuleta                     Yasmine Anderson
 William Cordero            Wilmer Virula              Yassa Crawford
 William Cromwell           Winnette Williams          Yazan Sbitani
 William Daugherty          Winston Caver              Yazmin Escalera
 William Davies             Winter Mendoza             Yehuda Pinson
 William Deans              Wittie Hughes              Yeliana Martinez
 William Flores             Won Cho                    Yelizavet
 William Grubbs             Worin Mcneel               Skibinskaya
 William Harvey             Wyatt Lanford              Yeni Aravia
 William Howard             Wyatt Weir                 Yeprem Bagumyan
 William Jenkins            Wyneelee Fore              Yesenia Acosta
 William Jennings           Xavier Akanmu              Yesenia Gamboa
 William King               Xavier Crawford            Velasco
 William Mcclain            Xavier Ford                Yessenia Simpi
 William Mendez             Xavier Owens               Yessica Navarro
 William Parks              Xiomara Perez              Yiesha Edmond-
 William Pham               Xlisha Laurent             Silburn
 William Roques             Xophia Guillen             Yilkal Assefa
 William Rose               Xueyou Wang                Yitzhak Nahmani
 William Rosenthal          Xynne Jordan               Yoaxi Trenado
 William Rumball            Yaeisha                    Yolanda Buckhalter
 William Rupert             Shamburger                 Yolanda Hardy
 William Towner             Yahana Stephens            Yolanda Mathis
 William Wilkins            Yajaira Contreras          Yolanda Mccree
 Williams Williams          Yamilette Duarte           Yolanda Menjivar
 Willie Lee                 Yamina Carlisle            Yolanda Porter
 Willie Mayora              Yamonie Demarrco           Yolanda Roseli
 Willie Moore               Yan Yavorski               Yolanda Taylor
 Willie Velasco-            Yana Bouyakzan             Yonah Hendin
 Lewis                      Yanick Clay                Yongqiang Zhou
 Willieearl Harris          Yanique Tullous            Yosef Kidane
 Williephine Mohead         Yao Saeteurn               Youceff Kabal
 Willis Stork               Yareli Padilla             Yousef Fayad
 Willow Muir                Yaroslav Dukal             Yousif Hermiz

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 Yousuf Martinez            Zachary Westmore           Zitlaly Ortiz
 Yuri Lozada                Zackary Lewine             Zixela Castillo
 Yuridia Luna               Zahra Garosi               Zjaleece Boone
 Yusuf Ali                  Zahrya Geban               Zoe Saenz
 Yvette Borges              Zainab Alfarouk            Zoe Schanuth
 Yvette Perez               Zaine Wofford              Zoe Wong
 Yvonne Borja               Zaira Castillo             Zoey Wheeler
 Yvonne Gooden              Zakiyya King               Zohaib Syed
 Yvonne Gutierrez           Zakovia Shehee             Zoila Aguilar
 Yvonne Martinez            Zalika Sapp-Weaver         Zuleika Dixon
 Yvonne Moreno              Zamar Wilson               Zuleima Hernandez
 Yvonne Rosaz               Zanah Cunningham
 Yvonne Vargas              Zane Christopher
 Zabeth Sheppard            Zane Robertson
 Zabrina Cooper             Zaona Reed
 Zach Fontanilla            Zareh Bandarian
 Zach Walker                Zaria Adams
 Zach Wilkins               Zaria Saunders
 Zach Zivnuska              Zaundria Dodds
 Zacharia Chouikh           Zavion Vineyard
 Zachary Bower              Zechariah Nelson
 Zachary Calderon           Zeev Goldreich
 Zachary Carson             Zelashia Outley
 Zachary Coleman            Zenia Bereket
 Zachary Culbertson         Zenobia Sanders
 Zachary Elianow            Zerlena Cloud
 Zachary Farmer             Zhané Mcnally
 Zachary Jaquez             Zhatia Aurby
 Zachary Mical              Zhilin Wang
 Zachary Nalezny            Zhiyuan Tian
 Zachary Reyes              Zhyrine Alfonso
 Zachary Samuels            Ziara Cannady
 Zachary Santos             Zimuzo Duru
 Zachary Simon              Zina Jalajel
 Zachary Solomons           Zinthia Romero

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